       Case 22-19361-MBK                           Doc 2033 BlockFi
                                                             FiledObjection
                                                                    01/08/24       Entered 01/08/24 15:34:17
                                                                            Response Portal
                                                                                                                                                            Desc Main
                                                          Document         Page 1 of 233
 BlockFi Objection Response Portal
 Introduction

  On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, "BlockFi") each filed a voluntary pe ition for relief under Chapter 11 of the United States Bankruptcy
  Code in the United States Bankruptcy Court for the District of New Jersey (the “Court”). Thereafter, the Bankruptcy Court set March 31, 2023, at 5:00 p m., as the deadline
  for all persons and entities that assert a claim against BlockFi, arising prior to November 28, 2022, to imely file a proof of claim.


  You previously filed a claim against BlockFi Wallet LLC for the return of funds held in your Wallet Account (“Wallet Proof of Claim”). Funds that you may have in your
  Wallet Account are available for withdrawal by you. For additional information on withdrawing your BlockFi Wallet funds, please click here.


  On November 14, 2023, BlockFi filed an objection (the “Objection”) to the claim you filed against BlockFi Wallet LLC. The purpose of the Objection is to expunge the claims
  register of this proof of claim. Neither the Objection nor the relief sought therein will affect your right to withdraw wallet funds. Moreover, any claim you have for
  funds related to BIA or retail loan collateral is not affected by the Objection, and the proposed expungement of your Wallet Proof of Claim does not affect the
  allowance of or distribution upon non-Wallet claims properly filed against the BlockFi estates or scheduled by BlockFi.


  In order to assist he Court with collecting responses to the Objection, Kroll Restructuring Administration LLC is collecting responses electronically through this portal or by
  hard copy at the address below. For your response to be timely, it must be received by Kroll on or before January 4, 2024 at 4:00 p.m. prevailing Eastern Time.




                                      First Class Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      Grand Central Station, PO Box 4850
                                      New York, NY 10163-4850


                                      Overnight Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      850 Third Avenue, Suite 412
                                      Brooklyn, NY 11232


  Please follow the steps below to logon to this portal and to submit your response to he Objection. If you have any questions on this portal please feel free to reach out to
  Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Authorization

  On November 20, 2023, Kroll sent you an email regarding BlockFi’s objection to your BlockFi proof of claim. This email contains a 16-digit Unique ID number. Please enter
  the Unique ID number in the field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used only once.


  Please enter your Unique ID here

   219R-463I-379O-385X


      Where can I find my Unique ID?

  Please review the bottom left side of the correspondence you received from Kroll to locate your 16 digit Unique ID.




BlockFi Objection Response Portal                                                         1/4
Case 22-19361-MBK   Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17   Desc Main
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          Case 22-19361-MBK                  Doc 2033 BlockFi
                                                       FiledObjection
                                                              01/08/24       Entered 01/08/24 15:34:17
                                                                      Response Portal
                                                                                                                                            Desc Main
                                                    Document         Page 3 of 233
  To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
  settle, or otherwise resolve the Objection on your behalf.
  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




 Document Upload

  Please upload your response to the Objection in the box below. You may upload up to 3 documents in either .PDF or .DOC format. Each document may be up to
  20 MBs or 30 MBs across all documents.
  Upload Here

        BlockFi.pdf                                                                                                                                        58 KB




BlockFi Objection Response Portal                                               3/4
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Case 22-19361-MBK         Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17                      Desc Main
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 For the short period of 2-3 years that BlockFi was in service to the Public, I’ve Deposited more than $10k
 in Crypto, Earned approx $500 in staking and have even signed up for its credit card.

 It is not fair for a company to simply take the hard earned money from retail investors like me when it
 never belonged to them in the first place. Please return my money by allowing me to withdraw from my
 BlockFi Interest account

 Thank you
       Case 22-19361-MBK                           Doc 2033 BlockFi
                                                             FiledObjection
                                                                    01/08/24       Entered 01/08/24 15:34:17
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                                                                                                                                                            Desc Main
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 BlockFi Objection Response Portal
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                                      c/o Kroll Restructuring Administration LLC
                                      Grand Central Station, PO Box 4850
                                      New York, NY 10163-4850


                                      Overnight Mail


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                                      850 Third Avenue, Suite 412
                                      Brooklyn, NY 11232


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  Please enter your Unique ID here

   245L-362V-994J-579N


      Where can I find my Unique ID?

  Please review the bottom left side of the correspondence you received from Kroll to locate your 16 digit Unique ID.




BlockFi Objection Response Portal                                                         1/4
Case 22-19361-MBK   Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17   Desc Main
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          Case 22-19361-MBK                  Doc 2033 BlockFi
                                                       FiledObjection
                                                              01/08/24       Entered 01/08/24 15:34:17
                                                                      Response Portal
                                                                                                                                            Desc Main
                                                    Document         Page 8 of 233
  To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
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  Name:




  Street1




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  City




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  Zip




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 Document Upload

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  Upload Here

        Monthly_Statement.pdf                                                                                                                              23 KB

        BlockFi-Statement.doc                                                                                                                              12 KB




BlockFi Objection Response Portal                                               3/4
Case 22-19361-MBK   Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17   Desc Main
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  Case 22-19361-MBK               Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17   Desc Main
                                         Document    Page 10 of 233



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Case 22-19361-MBK         Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17                    Desc Main
                                 Document    Page 12 of 233



 Dear Whomever This Concern,



 I have attached a separate PDF statement that shows my last balance in my Block-Fi wallet prior to the
 bankruptcy.



 I’ am still currently unable to withdraw any of the money from my Block-Fi wallet and it currently shows
 a balance of 0.00 in my account.



 How will I be able to withdraw my money if the case is won?




                                                                                                 Regards,
       Case 22-19361-MBK                           Doc 2033 BlockFi
                                                             FiledObjection
                                                                    01/08/24       Entered 01/08/24 15:34:17
                                                                            Response Portal
                                                                                                                                                            Desc Main
                                                          Document        Page 13 of 233
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  Please enter your Unique ID here

   915K-326R-556V-714K


      Where can I find my Unique ID?




 Claim Information

  Claim Number

   6527

  Claim Name

                          .

  Claimant Address on File




BlockFi Objection Response Portal                                                         1/3
          Case 22-19361-MBK                  Doc 2033 BlockFi
                                                       FiledObjection
                                                              01/08/24       Entered 01/08/24 15:34:17
                                                                      Response Portal
                                                                                                                                            Desc Main
                                                    Document        Page 14 of 233
  To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
  where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.

  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




  To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
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BlockFi Objection Response Portal                                               2/3
Case 22-19361-MBK   Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17   Desc Main
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       Case 22-19361-MBK                           Doc 2033        Filed 01/08/24 Entered 01/08/24 15:34:17
                                                        BlockFi Inc. Wallet Account Holder Proof of Claim Form
                                                                                                                                                      Desc Main
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 BlockFi Inc. Wallet Account Holder Proof of Claim Form
 Instructions

  Read the instructions before filling out this form. This form is for making a claim based on assets held in account of the Debtors. Do not use this form to assert
  any other pre-petition claims. Do not use this form to make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.


  Filers must leave out or redact information that is en itled to privacy on this form or on any attached documents. Attach redacted copies of any documents that support the
  claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages, and security agreements. Do not
  send original documents; they may be destroyed after scanning. If he documents are not available, explain in an attachment.


  A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.


  Fill in all the information about the claim as of the date the case was filed (November 28, 2022).

      Check here to see further instructions on completing your claim form:




 Debtor Selection

  If you have one or more BlockFi Wallet account(s), fill in this information to identify the case:
      U.S. client
      Non-U.S. client

      BlockFi Wallet LLC (Case No. 22-19366)
      Other




 Claim Information

  1. Who is the current creditor?




  O her names he creditor used with the debtor




  Customer Identification Number(s):




  Email Address Used to Sign Up for your BlockFi Account(s):




  2. Has this claim been acquired from someone else?
      No
      Yes

  3. Where should notices and payments to the creditor be sent?
  [Federal Rule of Bankruptcy Procedure (FRBP) 2002(g)]

  Where should notices to the creditor be sent?

  Name:




  Address 1 (Street address, “Care of:”, or “Attention To:”):




  Address 2:




  Address 3:




BlockFi Inc. Wallet Account Holder Proof of Claim Form                                1 / 10
          Case 22-19361-MBK                       Doc 2033        Filed 01/08/24 Entered 01/08/24 15:34:17
                                                       BlockFi Inc. Wallet Account Holder Proof of Claim Form
                                                                                                                                                 Desc Main
                                                           Document              Page 17 of 233
  Address 4:




  City:




  State or Province (use 2-letter abbreviation if US or Canada):




  Zip Code | Postal Code:




  Is the creditor address outside of the US?
          No
          Yes

  Contact phone:




  Contact email:




  Should payments go to a different address?
          No
          Yes

  Would you like to add any additional noticing addresses?
          No
          Yes

  4. Does this claim amend one already filed?
          No
          Yes




  5. Do you know if anyone else has filed a proof of claim for this claim?
          No
          Yes

  6. Do you have any number you use to identify the debtor?
          No
          Yes




 Claim Amount

  * 7a. To the extent that you assert a claim that is denominated in US Dollars, list the value of the claim in US Dollars as of the date the case was filed (November
  28, 2022)

  BlockFi Wallet LLC (Case No. 22-19366)

   12000


  * 7b. List the number of each type of coin held in your Wallet account(s) as of the date the case was filed (November 28, 2022) (i.e., list the IN KIND COIN
  BALANCE in your Wallet account(s) as of the date the case was filed).


  Please use only numerals and decimals in he Wallet field, up to a maximum of 21 digits or 20 digits and 1 decimal.

  Coin                                         Price as of November 28, 2022, at 11:59                                 Wallet
                                               p.m. UTC

   Bitcoin (BTC)                                $ 16,206.3000                             0.22623677




BlockFi Inc. Wallet Account Holder Proof of Claim Form                               2 / 10
         Case 22-19361-MBK                 Doc 2033        Filed 01/08/24 Entered 01/08/24 15:34:17
                                                BlockFi Inc. Wallet Account Holder Proof of Claim Form
                                                                                                           Desc Main
                                                    Document              Page 18 of 233
  Coin                                  Price as of November 28, 2022, at 11:59                   Wallet
                                        p.m. UTC

   Ethereum (ETH)                        $ 1,167.2400                             3.79569396


  Coin                                  Price as of November 28, 2022, at 11:59                   Wallet
                                        p.m. UTC

   Gemini Dollar (GUSD)                  $ 1.0000                                 28.05


  Coin                                  Price as of November 28, 2022, at 11:59                   Wallet
                                        p.m. UTC

   USD Coin (USDC)                       $ 1.0000


  Coin                                  Price as of November 28, 2022, at 11:59                   Wallet
                                        p.m. UTC

   1inch Network1 (INCH)                 $ 0.5170


  Coin                                  Price as of November 28, 2022, at 11:59                   Wallet
                                        p.m. UTC

   Aave (AAVE)                           $ 60.1500


  Coin                                  Price as of November 28, 2022, at 11:59                   Wallet
                                        p.m. UTC

   Algorand (ALGO)                       $ 0.2359


  Coin                                  Price as of November 28, 2022, at 11:59                   Wallet
                                        p.m. UTC

   Avalanche (AVAX)                      $ 12.4500


  Coin                                  Price as of November 28, 2022, at 11:59                   Wallet
                                        p.m. UTC

   Axie Infinity (AXS)                   $ 6.5600


  Coin                                  Price as of November 28, 2022, at 11:59                   Wallet
                                        p.m. UTC

   Basic Attention Token (BAT)           $ 0.22322                                756.658595564


  Coin                                  Price as of November 28, 2022, at 11:59                   Wallet
                                        p.m. UTC

   Binance Coin (BNB)                    $ 292.7865


  Coin                                  Price as of November 28, 2022, at 11:59                   Wallet
                                        p.m. UTC

   Bitcoin Cash (BCH)                    $ 109.9100


  Coin                                  Price as of November 28, 2022, at 11:59                   Wallet
                                        p.m. UTC

   Binance USD (BUSD)                    $ 1.0000


  Coin                                  Price as of November 28, 2022, at 11:59                   Wallet
                                        p.m. UTC

   Cardano (ADA)                         $ 0.3064


  Coin                                  Price as of November 28, 2022, at 11:59                   Wallet
                                        p.m. UTC

   Chainlink (LINK)                      $ 7.1940                                 48.21717013




BlockFi Inc. Wallet Account Holder Proof of Claim Form                        3 / 10
         Case 22-19361-MBK                 Doc 2033        Filed 01/08/24 Entered 01/08/24 15:34:17
                                                BlockFi Inc. Wallet Account Holder Proof of Claim Form
                                                                                                         Desc Main
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  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Celo (CELO)                           $ 0.6170


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Chiliz (CHZ)                          $ 0.1642


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Compound (COMP)                       $ 37.1600


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Cosmos (ATOM)                         $ 9.8590


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Curve DAO Token (CRV)                 $ 0.6450


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Decentraland (MANA)                   $ 0.3862


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   DogeCoin (DOGE)                       $ 0.09506


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   dYdX (DYDX)                           $ 1.6660


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Elrond (EGLD)                         $ 42.1390


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Enjin Coin (ENJ)                      $ 0.2960


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   EOS (EOS)                             $ 0.9034


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Fantom (FTM)                          $ 0.2049


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Filecoin (FIL)                        $ 4.2530


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   FTX Token (FTT)                       $ 1.2923535




BlockFi Inc. Wallet Account Holder Proof of Claim Form                        4 / 10
         Case 22-19361-MBK                 Doc 2033        Filed 01/08/24 Entered 01/08/24 15:34:17
                                                BlockFi Inc. Wallet Account Holder Proof of Claim Form
                                                                                                         Desc Main
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  Coin                                  Price as of November 28, 2022, at 11:59                Wallet
                                        p.m. UTC

   Gala (GALA)                           $ 0.02478


  Coin                                  Price as of November 28, 2022, at 11:59                Wallet
                                        p.m. UTC

   Hedera Hashgraph (HBAR)               $ 0.0486


  Coin                                  Price as of November 28, 2022, at 11:59                Wallet
                                        p.m. UTC

   Kusama (KSM)                          $ 25 5900


  Coin                                  Price as of November 28, 2022, at 11:59                Wallet
                                        p.m. UTC

   Litecoin (LTC)                        $ 73 8500                                6.57434533


  Coin                                  Price as of November 28, 2022, at 11:59                Wallet
                                        p.m. UTC

   Loopring (LRC)                        $ 0.2368


  Coin                                  Price as of November 28, 2022, at 11:59                Wallet
                                        p.m. UTC

   Maker (MKR)                           $ 645.4100


  Coin                                  Price as of November 28, 2022, at 11:59                Wallet
                                        p.m. UTC

   Multi Collateral Dai (DAI)            $ 0.9997


  Coin                                  Price as of November 28, 2022, at 11:59                Wallet
                                        p.m. UTC

   Near (NEAR)                           $ 1.5900


  Coin                                  Price as of November 28, 2022, at 11:59                Wallet
                                        p.m. UTC

   OMG Network (OMG)                     $ 1.1605


  Coin                                  Price as of November 28, 2022, at 11:59                Wallet
                                        p.m. UTC

   One Coin (ONE)                        $ 0.0137


  Coin                                  Price as of November 28, 2022, at 11:59                Wallet
                                        p.m. UTC

   PAX Gold (PAXG)                       $ 1,740.6400


  Coin                                  Price as of November 28, 2022, at 11:59                Wallet
                                        p.m. UTC

   Paxos Standard Token (PAX)            $ 1.0000


  Coin                                  Price as of November 28, 2022, at 11:59                Wallet
                                        p.m. UTC

   Polkadot (DOT)                        $ 5.1340


  Coin                                  Price as of November 28, 2022, at 11:59                Wallet
                                        p.m. UTC

   Polygon (MATIC)                       $ 0.8209




BlockFi Inc. Wallet Account Holder Proof of Claim Form                        5 / 10
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                                                BlockFi Inc. Wallet Account Holder Proof of Claim Form
                                                                                                         Desc Main
                                                    Document              Page 21 of 233
  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Quant (QNT)                           $ 112.4100


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Render Token (RNDR)                   $ 0.4672


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Serum (SRM)                           $ 0.2330


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Solana (SOL)                          $ 13 3200


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Stellar (XLM)                         $ 0.087183


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   SushiSwap (SUSHI)                     $ 1.3348


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Synthetix (SNX)                       $ 1.6620


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Terra 2.0 (LUNA)                      $ 0.0001552


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Tether (USDT)                         $ 0.9995


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Tezos (XTZ)                           $ 0.9750


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   The Graph (GRT)                       $ 0.0622


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   The Sandbox (SAND)                    $ 0.5531


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   THORchain (RUNE)                      $ 1.1670


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Tron (TRX)                            $ 0.052973




BlockFi Inc. Wallet Account Holder Proof of Claim Form                        6 / 10
         Case 22-19361-MBK                       Doc 2033        Filed 01/08/24 Entered 01/08/24 15:34:17
                                                      BlockFi Inc. Wallet Account Holder Proof of Claim Form
                                                                                                                                       Desc Main
                                                          Document              Page 22 of 233
  Coin                                       Price as of November 28, 2022, at 11:59                            Wallet
                                             p.m. UTC

   TrueUSD (TUSD)                              $ 0.9997


  Coin                                       Price as of November 28, 2022, at 11:59                            Wallet
                                             p.m. UTC

   Uniswap (UNI)                               $ 5.2830                                 54.8687813


  Coin                                       Price as of November 28, 2022, at 11:59                            Wallet
                                             p.m. UTC

   Waves (WAVES)                               $ 2.3300


  Coin                                       Price as of November 28, 2022, at 11:59                            Wallet
                                             p.m. UTC

   Yearn.Finance (YFI)                         $ 6,266.5000


  Do you hold additional coins in your account not listed above?
      No
      Yes




 Additional Claim Information

  8. What is the basis of the claim? (limited to 100 characters)

   Clientwalletaccount


  9. Is all or part of the claim secured?
      No
      Yes. The claim is secured by a lien on property.

  Nature of property:

     Real estate.

     Motor vehicle

     Other.

  Basis for perfection:




  Value of property (all amounts in US $ dollars):




  Amount of the claim that is secured (all amounts in US $ dollars):




  Amount of the claim that is unsecured (all amounts in US $ dollars):




  Amount necessary to cure any default as of the date of the petition (all
  amounts in US $ dollars):




  Interest Rate Type:                                                                  Annual Interest Rate (when case was filed) %:


      Fixed
      Variable

  10. Is this claim based on a lease?
      No
      Yes


BlockFi Inc. Wallet Account Holder Proof of Claim Form                             7 / 10
        Case 22-19361-MBK                           Doc 2033        Filed 01/08/24 Entered 01/08/24 15:34:17
                                                         BlockFi Inc. Wallet Account Holder Proof of Claim Form
                                                                                                                                                      Desc Main
                                                             Document              Page 23 of 233
  Amount necessary to cure any default as of the date of the petition (all amounts in US $ dollars).




  11. Is this claim subject to a right of setoff?
      No
      Yes

  Iden ify the property:




  12. Is all or part of the claim entitled to priority under 11 U.S.C. § 507(a)?
      No
      Yes


      Domes ic support obligations (including alimony and child support) under 11 U.
   S.C. § 507(a)(1)(A) or (a)(1)(B).

      Up to $3,350 of deposits toward purchase, lease, or rental of property or
   services for personal, family, or household use. 11 U.S.C. § 507(a)(7).

      Wages, salaries, or commissions (up to $15,150*) earned within 180 days
   before the bankruptcy petition is filed or the debtor’s business ends, whichever is
   earlier. 11 U.S.C. § 507(a)(4).

      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).

      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).

      Other




 E-Sign

  The person completing this proof of claim must sign and date it. FRBP 9011(b).


  If you file this claim electronically, FRBP 5005(a)(2) authorizes courts to establish local rules specifying what a signature is.


  A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

  Check the appropriate box:
      I am the creditor.
      I am the creditor’s attorney or authorized agent.
      I am the trustee, or the debtor, or heir authorized agent. Bankruptcy Rule 3004.
      I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.

  I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the amount of the claim, the creditor gave the debtor
  credit for any payments received toward the debt.


  I have examined the information in this Proof of Claim and have a reasonable belief that the information is true and correct.


  I declare under penalty of perjury that the foregoing is true and correct.


  Executed on date (Calculated in UTC)

   02/15/2023




BlockFi Inc. Wallet Account Holder Proof of Claim Form                                    8 / 10
Case 22-19361-MBK   Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17   Desc Main
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           Case 22-19361-MBK                       Doc 2033        Filed 01/08/24 Entered 01/08/24 15:34:17
                                                        BlockFi Inc. Wallet Account Holder Proof of Claim Form
                                                                                                                                                        Desc Main
                                                            Document              Page 25 of 233
  City:




  State or Province (use 2-letter abbreviation if US or Canada):




  Zip Code | Postal Code:




  Is the address outside of the US?
          No
          Yes

  Contact phone:




  Contact email:




 Attachments

  Attach Support Documentation (limited to a single PDF attachment that is less than 5 megabytes in size):
          I have supporting documentation
          I do not have supporting documentation




 Confirmation of Submission

  Your Form has been successfully submitted...
  DOCUMENT ID                                                                            Submitted Date Time

   728ee93971502c3357cc8f622e403b020f62a058                                                2023-02-15T15:01:28.079Z

  Status                                                                                 CONFIRMATION ID

   Submitted                                                                               3275-50-OSSZC-871071254

  Submission Email Address




 Submission Information

  When you press "Submit" you will receive an email from "noreply.efiling@ra.kroll.com." Please add this email to your allowed senders list. This email will have a PDF copy of
  your claim filing (with your supporting documents as a separate attachment), as well as your Confirmation ID.




BlockFi Inc. Wallet Account Holder Proof of Claim Form                               10 / 10
    Case 22-19361-MBK            Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17                          Desc Main
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     To: The Honorable Bankruptcy Court From:                Date: 12-28-2023 Re: Request for Return of
     Funds Moved From BlockFi Wallet Account and Deposited in BlockFi BIA without my authorization.

     Case Name: BlockFi Inc., Case No. [Case Number]

     I,                respectfully request that the Court order Block Fi to return the following crypto currency
     assets to my wallet account:

x    0.22623677 Bitcoin (BTC)
x    3.79569396 Ethereum (ETH)
x    6.57434533 Litecoin (LTC)
x    48.21717013 Chainlink (LINK)
x    54.86878130 Uniswap (UNI)
x    756.65859564 Basic Attention Token (BAT)
x    28.05171278 Gemini USD (GUSD)

     These funds were transferred from my wallet account to a BlockFi Interest Account (BIA) without my knowledge
     or consent on or around June 21, 2023 without my consent or authorization. BlockFi is now objecting to my
     claim for these funds because it was filed as a wallet claim rather than a BIA claim.

     Statement of Facts

     On June 21, 2023, the aforementioned cryptocurrency assets were transferred from my wallet account to a BIA
     To: The Honorable Bankruptcy Court From: [Your Name] Date: [Date] Re: Request for Return of Funds Held in
     Wallet Account

     Case Name: BlockFi Inc., Case No. [Case Number]

     Introduction

     I, [Your Name], respectfully request that the Court order BlockFi to return the following cryptocurrency assets to
     my wallet account:

x    0.22623677 Bitcoin (BTC)
x    3.79569396 Ethereum (ETH)
x    6.57434533 Litecoin (LTC)
x    48.21717013 Chainlink (LINK)
x    54.86878130 Uniswap (UNI)
x    756.65859564 Basic Attention Token (BAT)
x    28.05171278 Gemini USD (GUSD)

     These funds were transferred from my wallet account to a BlockFi Interest Account (BIA) without my knowledge
     or consent on June 21, 2023. BlockFi is now objecting to my claim for these funds because it was filed as a
     wallet claim rather than a BIA claim.

     Statement of Facts
 Case 22-19361-MBK                 Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17                         Desc Main
                                          Document    Page 27 of 233


1.   I opened a wallet account with BlockFi on [Date].
2.   On June 21, 2023, the aforementioned cryptocurrency assets were transferred from my wallet account to a BIA
     without my authorization.
3.   I did not initiate, authorize, or consent to this transfer.
4.   I filed a claim with the Bankruptcy Court for the return of these funds as part of the wallet claims process.
5.   BlockFi is objecting to my claim, stating that it should have been filed as a BIA claim.

     Argument

1.   The funds in question were rightfully held in my wallet account, which is distinct from a BIA.
2.   I never agreed to transfer these funds to a BIA, nor did I accept the terms and conditions associated with BIAs.
3.   BlockFi's unilateral transfer of my assets to a BIA without my consent constitutes a breach of its fiduciary duty
     to me as a customer.
4.   The Bankruptcy Court has recognized the distinction between wallet claims and BIA claims, and has ordered
     the return of funds to wallet claimants.
5.   Justice and equity demand that I be granted the same relief as other wallet claimants.

     Conclusion

     For the foregoing reasons, I respectfully request that the Court:

1.   Order BlockFi to return the aforementioned cryptocurrency assets to my wallet account.
2.   Grant any other relief that the Court deems just and equitable.

     I declare under penalty of perjury that the foregoing is true and correct.

     Dated: [Date] Signed: [Your Name]

     Contact Information: [Your Name] [Your Address] [Your Phone Number] [Your Email Address]

     without my authorization.

1.   I did not initiate, authorize, or consent to this transfer.
2.   I filed a claim with the Bankruptcy Court for the return of these funds as part of the wallet claims process.
3.   BlockFi is objecting to my claim, stating that it should have been filed as a BIA claim.

     Argument

1.   The funds in question were rightfully held in my wallet account, which is distinct from a BIA.
2.   I never agreed to transfer these funds to a BIA, nor did I accept the terms and conditions associated with BIAs.
3.   BlockFi's unilateral transfer of my assets to a BIA without my consent constitutes a breach of its fiduciary duty
     to me as a customer.
4.   The Bankruptcy Court has recognized the distinction between wallet claims and BIA claims, and has ordered
     the return of funds to wallet claimants.
5.   Justice and equity demand that I be granted the same relief as other wallet claimants.
 Case 22-19361-MBK              Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17             Desc Main
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     Conclusion

     For the foregoing reasons, I respectfully request that the Court:

1.   Order BlockFi to return the aforementioned cryptocurrency assets to my wallet account.
2.   Grant any other relief that the Court deems just and equitable.
       Case 22-19361-MBK                           Doc 2033 BlockFi
                                                             FiledObjection
                                                                    01/08/24       Entered 01/08/24 15:34:17
                                                                            Response Portal
                                                                                                                                                            Desc Main
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 BlockFi Objection Response Portal
 Introduction

  On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, "BlockFi") each filed a voluntary pe ition for relief under Chapter 11 of the United States Bankruptcy
  Code in the United States Bankruptcy Court for the District of New Jersey (the “Court”). Thereafter, the Bankruptcy Court set March 31, 2023, at 5:00 p m., as the deadline
  for all persons and entities that assert a claim against BlockFi, arising prior to November 28, 2022, to imely file a proof of claim.


  You previously filed a claim against BlockFi Wallet LLC for the return of funds held in your Wallet Account (“Wallet Proof of Claim”). Funds that you may have in your
  Wallet Account are available for withdrawal by you. For additional information on withdrawing your BlockFi Wallet funds, please click here.


  On November 14, 2023, BlockFi filed an objection (the “Objection”) to the claim you filed against BlockFi Wallet LLC. The purpose of the Objection is to expunge the claims
  register of this proof of claim. Neither the Objection nor the relief sought therein will affect your right to withdraw wallet funds. Moreover, any claim you have for
  funds related to BIA or retail loan collateral is not affected by the Objection, and the proposed expungement of your Wallet Proof of Claim does not affect the
  allowance of or distribution upon non-Wallet claims properly filed against the BlockFi estates or scheduled by BlockFi.


  In order to assist he Court with collecting responses to the Objection, Kroll Restructuring Administration LLC is collecting responses electronically through this portal or by
  hard copy at the address below. For your response to be timely, it must be received by Kroll on or before January 4, 2024 at 4:00 p.m. prevailing Eastern Time.




                                      First Class Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      Grand Central Station, PO Box 4850
                                      New York, NY 10163-4850


                                      Overnight Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      850 Third Avenue, Suite 412
                                      Brooklyn, NY 11232


  Please follow the steps below to logon to this portal and to submit your response to he Objection. If you have any questions on this portal please feel free to reach out to
  Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Authorization

  On November 20, 2023, Kroll sent you an email regarding BlockFi’s objection to your BlockFi proof of claim. This email contains a 16-digit Unique ID number. Please enter
  the Unique ID number in the field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used only once.


  Please enter your Unique ID here

   422Z-338P-455C-902S


      Where can I find my Unique ID?




 Claim Information

  Claim Number

   6541

  Claim Name




  Claimant Address on File




BlockFi Objection Response Portal                                                         1/3
          Case 22-19361-MBK                  Doc 2033 BlockFi
                                                       FiledObjection
                                                              01/08/24       Entered 01/08/24 15:34:17
                                                                      Response Portal
                                                                                                                                            Desc Main
                                                    Document        Page 30 of 233
  To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
  where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.

  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




  To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
  settle, or otherwise resolve the Objection on your behalf.
  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




BlockFi Objection Response Portal                                               2/3
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 I transferred my Crypto out of the BIA to my wallet on Nov. 11, 2022. My account value was below
 $250,000 in value. I do not know why my balances were transferred back to my BIA without
 authorization.



 According to the Wallet Withdrawals FAQs https://blockfi.com/wallet-withdrawal-faqs/ I am eligible to
 withdraw my balances.



 “Which clients are eligible to withdraw digital assets from their BlockFi Wallet accounts?

 UPDATE: As authorized by the Court in the Wallet Order, at this time, eligible clients include BlockFi
 Wallet account holders who did not withdraw or transfer more than $250,000 worth of digital assets
 from their BlockFi Interest Account (BIA) or BlockFi Private Client (BPC) during the 90 days prior to
 November 28, 2022.”



 Transaction history:
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                                                             FiledObjection
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                                                                                                                                                            Desc Main
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 BlockFi Objection Response Portal
 Introduction

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  In order to assist he Court with collecting responses to the Objection, Kroll Restructuring Administration LLC is collecting responses electronically through this portal or by
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                                      First Class Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      Grand Central Station, PO Box 4850
                                      New York, NY 10163-4850


                                      Overnight Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      850 Third Avenue, Suite 412
                                      Brooklyn, NY 11232


  Please follow the steps below to logon to this portal and to submit your response to he Objection. If you have any questions on this portal please feel free to reach out to
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 Authorization

  On November 20, 2023, Kroll sent you an email regarding BlockFi’s objection to your BlockFi proof of claim. This email contains a 16-digit Unique ID number. Please enter
  the Unique ID number in the field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used only once.


  Please enter your Unique ID here

   841E-853S-413U-222U


      Where can I find my Unique ID?




 Claim Information

  Claim Number

   6812

  Claim Name




  Claimant Address on File




BlockFi Objection Response Portal                                                         1/3
          Case 22-19361-MBK                  Doc 2033 BlockFi
                                                       FiledObjection
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                                                    Document        Page 34 of 233
  To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
  where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.

  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




  To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
  settle, or otherwise resolve the Objection on your behalf.
  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




BlockFi Objection Response Portal                                               2/3
Case 22-19361-MBK   Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17   Desc Main
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          Case 22-19361-MBK                  Doc 2033 BlockFi
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 BlockFi Objection Response Portal
 Introduction



 Claim Information

  Claim Number

   7810

  Claim Name




  Claimant Address on File




  To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
  where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.

  Name:




  Street1




  Street2




  City




  State




  Zip




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  Telephone Number




  Email Address




  To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
  settle, or otherwise resolve the Objection on your behalf.
  Name:




  Street1




  Street2




  City




BlockFi Objection Response Portal                                               1/3
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       Case 22-19361-MBK                          Doc 2033 BlockFi
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                                                         Document        Page 39 of 233
      I certify that I have completed my E-registra ion form on the Kroll Restructuring Administration Forms Portal. I hereby agree that my electronic signature herein complies
   with the U.S. federal ESIGN Act of 2000, and accordingly shall have he same legal effect as my original signature.
  If you have any questions on this portal please feel free to reach out to Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at
  blockfiinfo@ra kroll.com.




BlockFi Objection Response Portal                                                        3/3
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 -0%#4+0/0(4*'!+/&07/'$4023:3'26+%'#&&2'33+3%0 #24/'23 20#&7#9 4*-002'7
 "02,"  
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 &"&"!"$ #!'!&%&&%!$'#&*

 '

         H;:?JEH                  J>;H;:?JEH >;H;8O<?B;IJ>?I  

 S,;IFEDI;T   !          

       )8@;9J?ED #DIKFFEHJE<J>;,;IFEDI; J>;H;:?JEHIK8C?JIJ>;<EBBEM?D=

 C;CEH7D:KCE<FE?DJI7D:7KJ>EH?J?;I 

       !&$"'&"!
          (EED;>7I8;;D:;<H7K:;:CEH;J>7D9H;:?JEHIB?A;                        M>EC7:;J>;

 C?IJ7A;E<8;B?;L?D=J>;DKC;HEKI<7BI;>EE:IJEB:JE>;H8OBE9A ? #D:;;: ?DEH78EKJ

   H;:?JEH                     7 I;D?EH 9?J?P;D 7D: M?:EM  :;FEI?J;: :?=?J7B H;J?H;C;DJ

 7II;JI?DJ>;<EHCE<?J9E?D7D:&?J;9E?D?DJE>;HBE9A ?799EKDJKD:;HJ>;8;B?;<J>7J?J

 M7II7<;JE:EIE EJ>?J9E?D7D:&?J;9E?D7H;FHEE<E<MEHA9E?DI7D:7H;B?C?J;:?D

 DKC8;H  FHEL?:?D= I97H9?JO R 7I EFFEI;: JE IOIJ;CI IK9> 7I FHEE< E< IJ7A; IOIJ;CI 

 ,;IKBJ7DJBO :?=?J7B7II;JIB?A;?J9E?D7D:&?J;9E?D7H; 8OJ>;?HL;HOD7JKH; :;I?=D;:JE

 8;IJEH;IE<L7BK;J>7JEF;H7J;7I7>;:=;7=7?DIJ?D<B7J?ED ?DF7HJ?9KB7H 

          #DB7J; ;7HBO               EF;D;:JME799EKDJI ED;7BE9A ?#DJ;H;IJ

 99EKDJS#T7D:7BE9A ?17BB;J799EKDJ (EJKD:;HIJ7D:?D=J>;H?IAI7IJ>;OM;H;

 DEJFHEF;HBO:?I9BEI;:7D:?DIJ;7:8;B?;L?D=BE9A ?UI<7BI;H;FH;I;DJ7J?EDIJ>7J7#

 799EKDJ<KD9J?ED;:B?A;7S>?=> O?;B:9>;9A?D=799EKDJT7D:J>7JCED;O9EKB:8;CEL;:

 ?DIJ7DJ7D;EKIBO8;JM;;D>;HS9>;9A?D=T7D:SI7L?D=IT799EKDJI7JBE9A ?                            

 >;B: J>; 8KBA E< >;H 7II;JI ?D >;H # 799EKDJ  ? ;    &?J;9E?D 7D:

  ?J9E?D EDL;HI;BO                     >;B:>;HH;C7?D?D=7II;JI?D>;HBE9A ?

 17BB;J799EKDJ? ;  &?J;9E?D7D: ?J9E?D 

          ;IF?J; H;F;7J;: 9ECC;DJ7HO 8O BE9A ? 7IIKH?D=                     J>7J ;L;HOJ>?D=

 M7I<?D;:KH?D=(EL;C8;H ED(EL;C8;H                             9>EI;JECEL;7BB

 >;H&?J;9E?D8KJDEJ>;H?J9E?D<HEC>;H#799EKDJJE>;H17BB;J799EKDJ .>7JI7C;

 :7O                   H;9;?L?D=79ED<?HC?D=;C7?BI>EHJBOJ>;H;7<J;HJ>7JIJ7J;:C*8>;+<</=<


                                                                                                   
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 2+?/,//7<>--/<<0>55B=;+7<0/;;/.0;86B8>;58-437=/;/<=--8>7=37=8B8>;

 58-43)+55/=D;CF>7I?I7::;: 'EH;EL;H J>;?DJ;HD7B799EKDJ?DJ;H<79;:?IFB7O;:

 J>7JIK9>>7:E99KHH;: 7BED=M?J>7H;=?IJ;H;DJHO?DJ>;BE9A ?9KIJEC;H799EKDJJ>7J

 I>EM;:J>7JIK9>>7:E99KHH;: "EM;L;H 7BBE<J>7JM7I7<H7K:F;HF;JH7J;:8OBE9A ? 

 8;97KI; KD8;ADEMDIJ JE                      BE9A ? >7: JH7DI<;HH;: >;H 7II;JI R 7D: J>;

 7II;JI E< EJ>;H 9H;:?JEHI R JE .2 7D: EH EJ>;H J>?H: F7HJ?;I M?J>EKJ >;H ADEMB;:=; EH

 9EDI;DJ                EDBOB;7HD;:E<BE9A ?UIJH;79>;HO?D<7?B?D= H;<KI?D=JEJH7DI<;H

 >;H:?=?J7B7II;JI7D:JEI;HL;7I7FHEF;H9KIJE:?7DE<J>;C:KH?D=J>;9EKHI;E<J>?I

 87DAHKFJ9O M>;DBE9A ?M7IH;GK?H;:JEH;L;7B?J 

          .>;9KHH;DJL7BK;E<J>;:?=?J7B7II;JI>;B:8OBE9A ?H;=7H:?D=                        ?D

 8EJ>>;H#7D:17BB;J799EKDJI 87I;:ED9KHH;DJC7HA;J9ED:?J?EDI ?I   

   ?J9E?D  &?J;9E?D IFEJFH?9;   

                FHEF;HBO<?B;:FHEE<E<9B7?C<EHCI7IJE8EJ>>;H#7D:17BB;J799EKDJI 

 :;IF?J;BE9A ?7JJ;CFJ?D=JEC?IB;7:>;H?DJEDEJFHEF;HBO<?B?D=IK9><EHCI                        

 M7IIK99;II<KBBO78B;JEH;CEL;:?=?J7B7II;JI<HEC>;H17BB;J799EKDJ 8KJ>;H#:?=?J7B

 7II;JIH;C7?DKD7L7?B78B;JE>;H 

          (EM >7L?D= <7?B;: JE :;<H7K:                 ?D 9EDD;9J?ED M?J> J>; 9B7?C <EHCI 

 BE9A ? I;;AI JE :;<H7K:                  8O 7IA?D= J>?I EKHJ JE ?CFHEF;HBO 8EEJIJH7F ?JI
 <H7K:?DDEJJH7DI<;HH?D=:?=?J7B7II;JIFHEF;HBO8;JM;;D                       #799EKDJ7D:

 17BB;J799EKDJED(EL;C8;H  M;;AIFH?EHJEJ>;87DAHKFJ9O  EHJ>;H;7IEDI
 ?D9BK:;:>;H;?D BE9A ?UIH;GK;IJI>EKB:8;:;D?;:?D?JI;DJ?H;JO 

      $(!&&'%&"$*

              3<=8;B80=2/5+36

          #DEH78EKJ)9JE8;H BE9A ? #D9 SBE9A ?TM7I<EKD:;:8O479*H?D9;7D:

     BEH?'7HGK;PM?J>7FKHFEHJ;:C?II?EDE<FHEL?:?D=9H;:?JI;HL?9;JEJ>;9HOFJE9KHH;D9O

 C7HA;J  99EH:?D= JE BE9A ?  ?J 9B7?C;: JE <EBBEM <EKH 9EH; L7BK;I  JME E< M>?9> M;H;

 SB?;DJIDEJKIJEC;HIT7D:S.H7DIF7H;D9OK?B:I.HKIJ T


                                                                                                    
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        #D$7DK7HO BE9A ?B7KD9>;:?JI<?HIJE<<;H?D=BE7DIE</ - :EBB7HI879A;:8O

 9HOFJE9KHH;D9?;I   -?CFBO FKJ  9B?;DJI 9EKB: :;FEI?J :?=?J7B 7II;JI IK9> 7I ?J9E?D 

 J>;H;KC7D: EH&?J;9E?D 7D:J>;DJ7A;EKJBE7DI?D<?7J7=7?DIJJ>;9HOFJE9EBB7J;H7B 

        BE9A<?UI H;FH;I;DJ7J?EDI M;H; IK99;II<KB  7I ?J E8J7?D;: CKBJ?FB; HEKD:I E<

 <?D7D9?D= 7BBE<M>?9>=7L;J>;7FF;7H7D9;BE9A ?M7I7B;=?J?C7J;;DJ?JO

           7  #D ;8HK7HO BE9A ?H7?I;: C?BB?ED?DI;;:CED;OB;:8O

               EDI;D-OI0;DJKH;I

           8  #D$KBO BE9A ?H7?I;:7DEJ>;H C?BB?ED?D7<KD:?D=HEKD:B;:

               8O!7B7NO?=?J7B7D:

           9  (;7H;D:E< BE9A ?H7?I;:7D7::?J?ED7BC?BB?EDM?J>AKD7

               7F?J7B 

        #D EH 78EKJ '7H9>   BE9A ? B7KD9>;: 7 9HOFJE :;FEI?J 799EKDJ J>7J MEKB:

 H;?DL;IJ ;7HD?D=I <HEC 8?J9E?D EH ;J>;H :;FEI?JI 7D: FHEL?:; 7D EFFEHJKD?JO JE ;7HD

 9ECFEKD:?DJ;H;IJ .>;I;799EKDJIM;H;ADEMD7IBE9A ?#DJ;H;IJ99EKDJIS#IT 

 #IM;H;E<<;H;:7D:IEB:JE78HE7:I;=C;DJE<J>;=;D;H7BFK8B?9 ?D9BK:?D=JEH;:?JEH 

 BE9A ?FHECEJ;:#I7I7D?DL;IJC;DJ IF;9?<?97BBO7I7M7OJE;7HD79EDI?IJ;DJH;JKHD

 ED9HOFJE7II;JI7D:<EH?DL;IJEHIJES8K?B:J>;?HM;7BJ> T.>;H;7<J;H BE9A ??DJ;DJ?ED7BBO

 :EMDFB7O;:J>;H?IAE<IK9>?DJ;H;IJ 8;7H?D=799EKDJI 
        BE9A ?:?:DEJ:?I9BEI;JEH;:?JEH J>7J;<<;9J?L;BOBE9A ?JH;7J;:#99EKDJ

 >EB:;HI7I?<J>;OM;H;S;GK?JOT>EB:;HI?DBE9A ??JI;B< I>7H?D=?DJ>;H?IAI M>?B;I>7H?D=

 ?DDED;E<J>;KFI?:;<HEC>EB:?D=79JK7B;GK?JO 

        #D:;;: 9E <EKD:;H7D:))'7HGK;PH;F;7J;:BOC7:;IJ7J;C;DJI ?D9BK:?D=?D

  J>7JIK9>799EKDJIM;H;I7<; ?D9BK:?D=8KJDEJB?C?J;:JE

           7  S#J?IJ>;I7C;7IEF;D?D=787DA799EKDJT

           8  S3EK97D?D?J?7J;7M?J>:H7M7B7J7DOJ?C;T

           9  S#J?I;II;DJ?7BBO7>?=>O?;B:I7L?D=I799EKDJT7D:

           :  S#JUII?C?B7HJE8EHHEM?D=7=7?DIJOEKH>EC;EH8EHHEM?D=7=7?DIJ7F?;9;


                                                                                             
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                  E<7HJT 

             KHJ>;H ?D?DJ;HL?;MI '7HGK;P9B7?C;:J>7JBE9A ?9EKB:F7O>?=>?DJ;H;IJ:K;JE

 ?JI IK8IJ7DJ?7B B;=7B 7D: H;=KB7JEHO <H7C;MEHA  7D: J>7J H?IAI M;H; C7D7=;: 9EHH;9JBO 

 '7HGK;P7BIEIJH;II;:J>7J7II;JIM;H;8;?D=>;B:?D9EB:IJEH7=;M?J>!;C?D? 7D:J>7J

 !;C?D?>7:?DIKH7D9;FHEJ;9J?D=J>;:?=?J7B7II;JI #D:;;: '7HGK;P7:L?I;:J>7JIK9>

 ?DIKH7D9;S6+4/<8>;-><=86/;<0//5<+0/; T

         1>?B;IK9>IJ7J;C;DJI:?:C7A;9KIJEC;HIS<;;BI7<;HT J>;IJ7J;C;DJIC7:;8O

 BE9A ? '7HGK;PM;H;<7BI; 7D:?DJ;DJ?ED7BBOIE #HH;IF;9J?L;E<J>;?H<7BI?JO BE9A ? 

 '7HGK;PUI <7BI; IJ7J;C;DJI >7: 97KI;: HE8KIJ :;C7D: <EH BE9A ?UI FHE:K9JI 

 IK99;II<KBBO?D:K9;:J;DIE<J>EKI7D:IE<F;EFB;JE:;FEI?JJ>;?H:?=?J7B7II;JIM?J>J>;

 9ECF7DO?D9BK:?D=H;:?JEH 

         #DEH78EKJ BE9A ?H;79>;:7C?B;IJED;E<>7L?D=EL;HC?BB?ED:;FEI?J;:

 ?D?JI#99EKDJI #DK=KIJ BE9A ?H7?I;: C?BB?ED?D-;H?;I<KD:?D=B;:

 8O 07B7H 0;DJKH;I  @E?D;: 8O 1?DAB;LEII 7F?J7B  !7B7NO ?=?J7B  EDI;D-OI  AKD7

 7F?J7B7D:EJ>;HI 

         #D ;8HK7HO   BE9A ? E8J7?D;:  C?BB?ED ?D -;H?;I  <KD:?D= <HEC 07B7H

 0;DJKH;I 7D: AKD7 7F?J7B 7I M;BB 7I D;M ?DL;IJEHI ?D9BK:?D= "7I>A;O 7F?J7B  #D

 K=KIJ BE9A ?I;9KH;:C?BB?ED?D-;H?;I<KD:?D=B;:8O'EH=7DH;;A?=?J7B 
         #D K=KIJ  ) *H?D9; IJ7J;: J>7J BE9A ? >;B:   8?BB?ED ?D 7II;JI  7D: M7I

 =;D;H7J?D= 7 B?JJB; KD:;H  C?BB?ED 7 CEDJ> ?D H;L;DK;  "EM;L;H  ?D )9JE8;H  

 BE9A ?C7:;7D?DL;IJC;DJ?D!H7OI97B;UI?J9E?D.HKIJ J7A?D=7IJ7A;?DJ>; 

 ?BB?ED<KD:  KHJ>;H BE9A ?9EDJ?DK;:JE?DL;IJ?DJ>;JHKIJ H7?I?D=?JI?DL;IJC;DJJE 

 8?BB?ED 

         #D EH 78EKJ ;9;C8;H  R $7DK7HO  7D: ?D H;B?7D9; KFED BE9A ?UI

 H;F;7J;: C;II7=?D= 78EKJ J>; I7<;JO E< J>;?H 799EKDJI 7D: >EM J>;O <KD9J?ED;: B?A;

 S9>;9A?D=T7D:SI7L?D=IT799EKDJI 9H;:?JEH:;FEI?J;:>;HH7H;:?=?J7B7II;JIM?J>BE9A ? 

         "EM;L;H 7HEKD:J>7JJ?C;B7J;7D:;7HBO BE9A ?;NF;H?;D9;:BEII;I


                                                                                                 
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 7IIE9?7J;: M?J> ?DL;IJC;DJI 7D: BE7DI 9EBB7J;H7B?P;: 8O !H7OI97B; I>7H;I 7I IFH;7:I

 M?:;D;: 7=7?DIJ J>; FH?9; E< J>; KD:;HBO?D= ?J9E?D  ,;9E=D?P?D= J>; D;;: <EH 8;JJ;H

 9ECFB?7D9; 9EDJHEBI 7I ?JI 9EDJHEBI M;H; ?D7:;GK7J;  BE9A ? H;IJHK9JKH;: ?JI H?IA

 =EL;HD7D9; >?H;:7D;MH?IAE<<?9;H7D:H?IAC7D7=;C;DJIJ7<< ;IF?J;IK<<;H?D=IK9>

 BEII;IJ>7J:H7C7J?97BBO?CF7?H;:BE9A ?UIEF;H7J?D=97F79?JO 58-43.3.78=;/?/+5

 =2/6=8=2/3;-><=86/;< #DIJ;7: BE9A ?FH;J;D:;:J>7JDEJ>?D=M7IMHED= <7?B?D=

 7D:H;<KI?D=JEH;L;7BH?IAJE?JI9KIJEC;HI .>;H;7IED?II?CFB; ?DJ>7JBE9A? ?M7I

 7BH;7:O?DIEBL;DJ 7D::?:DEJ>EB:FHEF;H9B?;DJH;I;HL;7II;JIJEF7O:;C7D:I?<J>;H;

 M7I7SHKDEDJ>;87DA T#D:;;: 7JJ>;J?C;9H;:?JEH:;FEI?J;:>;HH7H;:?=?J7B7II;JI 

 BE9A ?M7IB?A;BO?DIEBL;DJ O;J:?:DEJFK8B?9BO:?I9BEI;IK9> 7IJ>;OM;H;7JJ;CFJ?D=

 JE =;D;H7J; CEH; 9E?D :;FEI?JI JE 9EL;H ?DJ;H;IJ F7OC;DJI 8;?D= C7:; JE ;N?IJ?D=

 9KIJEC;HI #D:;;: 7IE<J>7JFE?DJ?DJ?C; BE9A ?B?A;BOM7IEF;H7J?D=DE:?<<;H;DJBOJ>7D

 7 JH7:?J?ED7B *EDP? I9>;C;  M>;H; D;M 7II;JI CKIJ 9EDIJ7DJBO 8; E8J7?D;: JE <;;:

 ;N?IJ?D=:?L?:;D:E8B?=7J?EDI 

        #D$7DK7HO BE9A ?H;=?IJ;H;:?JIEMD?J9E?DJHKIJM?J>J>;/ - -;9KH?J?;I

 7D:N9>7D=;ECC?II?ED E<<;H?D=BEM;H<;;IJ>7D!H7OI97B;UI?J9E?D.HKIJ JJ>7J

 J?C; BE9A ?:?:DEJH;L;7BJE?JI9KIJEC;HIJ>;C7II?L;BEII;I?J>7:?D9KHH;: 8KJM7I

 >?:?D= 
        #D'7H9> BE9A ?H7?I;:C?BB?ED FHEL?:?D=J>;9ECF7DOM?J>7L7BK7J?ED

 E<8?BB?ED 99EH:?D=JEBE9A ? ?J>;B:8?BB?ED?D7II;JI7D:>7: 9KIJEC;HI 

 KF<HEC ?DB7J; =7?D BE9A ?FHECEJ;:J>;9ED9;FJJ>7J?JM7II;9KH; 

 M>;D?JM7IDEJ 

        #DEH78EKJ$KBO BE9A ?97C;KD:;HH;=KB7JEHOI9HKJ?DO<HECCKBJ?FB;IJ7J;

 H;=KB7JEHI 9B7?C?D= J>7J BE9A ?UI # 799EKDJI 7CEKDJ;: JE I7B;I E< SKDH;=?IJ;H;:

 I;9KH?J?;IT (;M$;HI;O87DD;:J>;9H;7J?EDE<D;M799EKDJI M?J>EJ>;HIJ7J;I@E?D?D=?D

 H;=KB7JEHOI9HKJ?DOE<BE9A ? ?D9BK:?D=B787C7 %;DJK9AO .;N7I7D:0;HCEDJ 

        IE<;9;C8;H  BE9A ?UI<7BI;H;FH;I;DJ7J?EDI78EKJ#99EKDJI 7D:


                                                                                              
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 EJ>;H <7BI; H;FH;I;DJ7J?EDI >7: 8;;D ;DEHCEKIBO IK99;II<KB  #D:;;:  BE9A ? >7:

  #799EKDJI 7IM;BB7I 8?BB?ED?D?DL;IJEH7II;JI 

        #D ;8HK7HO   BE9A ? I;JJB;: M?J> J>; - <EH  C?BB?ED EL;H J>; #

 799EKDJI  HECJ>7JFE?DJ<EHM7H: BE9A ?H;J7?D;:;N?IJ?D=9KIJEC;H#799EKDJI 8KJ

 FHE>?8?J;:D;M799EKDJI<HEC8;?D=EF;D;: 7IM;BB7IFHE>?8?J;:CED;OJ7A;DEKJE<J>;

 ?DJ;H;IJ 8;7H?D=799EKDJ<HEC8;?D=FB79;:879A?DJE?J JJ>7JJ?C; BE9A ?7BIECEL;:

 7BB#7II;JI<HECBE9A ?&;D:?D=JEBE9A ? #D9 

        IJ>;-<EKD: BE9A ?EF;H7J;:7I7DKDH;=?IJ;H;:I;9KH?JO9ECF7DO M>?B;

 7BIEC?IH;FH;I;DJ?D=J>;B;L;BE<H?IA?DJ>;#799EKDJI "EM;L;H :;IF?J;8;?D=<?D;:

 C?BB?ED7D:8;?D=I7D9J?ED;:H;B7J;:JEJ>;#799EKDJI BE9A ?IJ?BB:?:DEJC7A;

 :?I9BEIKH;IH;=7H:?D=?JII?=D?<?97DJKD:;H97F?J7B?P7J?EDE<L?HJK7B7II;JIH;B7J?L;JE7II;JI

 >;B:?D#799EKDJI #D:;;: M>?B;BE9A ?>7:7:KJOJEH;L;7BJ>7J?<?JI#799EKDJ

 >EB:;HI7BBIEK=>JJECEL;CED;O<HECJ>;?H#799EKDJII?CFBO?DJEJ>;?HBE9A ?17BB;J

 799EKDJI J>7JBE9A ?MEKB:8;KD78B;JEC;;JIK9>H;GK;IJI 7D::;IF?J;ADEM?D=IK9>

 JE8;JHK; BE9A ?.3.78=C7A;IK9>:?I9BEIKH;I 
        #J?I<KHJ>;H8;B?;L;:J>7J:;IF?J;J>;-?DL;IJ?=7J?ED J>7JBE9A ?IK99;II<KBBO

 >?: <HEC J>; - J>7J ?JI # 99EKDJI M;H; =HEIIBO KD:;H97F?J7B?P;: 7D: J>7J  ?< ?JI

 9KIJEC;HI9EBB;9J?L;BO7JJ;CFJ;:JECEL;CED;O8;JM;;DJ>;?HBE9A ?#7D:17BB;J

 799EKDJI J>7JIK9>MEKB:97KI;J>;87DAJE8;?DIEBL;DJ?CC;:?7J;BO #D:;;: >7:?J

 8;;D H;L;7B;: JE J>; - 7J J>; J?C;  BE9A ? MEKB: >7L; B?A;BO 8;;D FB79;: ?DJE 7D

 ?CC;:?7J;H;9;?L;HI>?F 

        ;JM;;D7D:'7H9> BE9A ?>7:;NF;H?;D9;:H7F?:=HEMJ> =HEM?D=

 JH7:?D= LEBKC; <HEC  C?BB?ED JE CEH; J>7D  8?BB?ED  #D $KD;   BE9A ? H7?I;:

 7::?J?ED7B <KD:I ?D 7 S:EMD HEKD:T J>7J L7BK;: J>; 9ECF7DO 7J  8?BB?ED  J J>; J?C; 

 BE9A ?9B7?C;:J>7JIK9>M7IH;B7J;:JE79H7I>?DJ>;9HOFJEC7HA;JI 7IEFFEI;:JEJ>;

 <79JJ>7J?JM7IB?A;BO7BH;7:O?BB?GK?: >7L?D=?CFHEF;HBO:?II?F7J;:9KIJEC;H<KD:I>;B:?D

 JHKIJ8OJ>;IKFFEI;:87DA (EJBED=7<J;H ?D$KD; BE9A ?B?GK7J;:7B7H=;9B?;DJ 


                                                                                                   
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 .>H;;HHEMI7F?J7BM>;D?J<7?B;:JEC;;JC7H=?D97BBI #D9EDD;9J?EDJ>;H;M?J> )

 479*H?D9;JM;;J;:J>7JS1;<KBBO799;B;H7J;:J>;BE7D7D:<KBBOB?GK?:7J;:EH>;:=;:7BB

 J>; 7IIE9?7J;: 9EBB7J;H7B T ) *H?D9; 7BIE JM;;J;: SBE9A ?UI H?IA C7D7=;C;DJ

 FH79J?9;I7D:IOIJ;CI7BBEMKIJE79J:;9?I?L;BOJEC?J?=7J;H?IA?D799EH:7D9;M?J>EKH

 9EDJH79JI  .>;I; 79J?EDI C7O ?D9BK:; C7H=?D 97BBI 7D: 7II;J B?GK?:7J?ED M>;D

 7FFHEFH?7J; T=7?D IK9>IJ7J;C;DJIM;H;C?IB;7:?D= 

         )DEH78EKJ$KD;  BE9A ?DEJ;:J>7J?J>7:7 8?BB?EDBE7DFEHJ<EB?E 

 8KJJ>7J?J>7:;NFEIKH;E<C?BB?ED BE9A ?IJ7J;:S1;H;GK?H;C7DO 8KJDEJ7BB 

 8EHHEM;HIJEFEIJL7HO?D=B;L;BIE<9EBB7J;H7B:;F;D:?D=EDJ>;8EHHEM;HUI9H;:?JFHE<?B; T

 BJ>EK=>IK9>IJ7J;C;DJIM;H;C7:; BE9A ?:?:DEJC7A;7DOIJ7J;C;DJIJ>7JIK9>

 BE7DI?CF79J;:#799EKDJIRDEHJ>7JIK9>BEII;IM;H;EH9EKB:8;J?;:JE#799EKDJI 

 EHJ>7JIK9>BE7D;NFEIKH;H;B7J;:JE9KIJEC;HUI:?=?J7B7II;JI 

         #DB7J;$KD; BE9A ?JKHD;:JE .2<EH7C?BB?ED9H;:?J<79?B?JO BJ>EK=>

 BE9A ?D;;:;: .2UI9H;:?J<79?B?JOJEIKHL?L; BE9A ?C?IB;7:9KIJEC;HIJE8;B?;L;J>7J

 ?J :?: DEJ 7D: :?: DEJ FHEL?:; 7 9B;7H ;NFB7D7J?ED  7J J>; J?C;  <EH E8J7?D?D= J>; B?D; E<

 9H;:?J )D$KD;  )*H?D9;IJ7J;:?D7JM;;JJ>7JBE9A ?>7:I?=D;:7J;HC

 I>;;JM?J> .SJEI;9KH;7C?BB?EDH;LEBL?D=9H;:?J<79?B?JOFHEL?:?D=KIM?J>799;II

 JE97F?J7BJ>7J0>;=2/;,85<=/;<8>;,+5+7-/<2//=+7.95+=08;6<=;/71=2 T;CF>7I?I
 7::;:";7::;:J>7JSJ>;FHE9;;:IE<J>;9H;:?J<79?B?JO7H;?DJ;D:;:JE8;-87=;+-=>+55B

 <>,8;.37+=/ =8 +55 -53/7= ,+5+7-/< +-;8<< +55 +--8>7= =B9/<  #*  58+7

 -855+=/;+5+7.@355,/></.+<7//./.T;CF>7I?I7::;: "EM;L;H J>;IJ7J;C;DJI

 M;H;DEJJHK; 7IBE9A ?JH7DI<;HH;:9B?;DJ7II;JIJE .2 ?D9BK:?D=J>EI;H;B7J;:JE#

 799EKDJI 

         #D$KD;  BE9A ?7:L?I;:J>7J?J>7: 8?BB?ED?D9EC8?D;:7II;JI ?D9BK:?D=

 ?JIM7BB;J7D:#799EKDJI )D$KBO BE9A ?)*H?D9;IJ7J;:J>7JBE9A ?>7:DEJ

 :H7MDEDJ>;9H;:?JB?D;7D:J>7JEF;H7J?EDIM;H;9EDJ?DK?D=7IDEHC7B "EM;L;H BE9A ?

 ?D9H;7I;: ?JI 9H;:?J B?D; M?J> .2 JE  C?BB?ED  #D K=KIJ   :;7B J;HCI B;7A;:


                                                                                                         
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 IK==;IJ?D=J>7J .29EKB:8KOBE9A ?<EHEDBOC?BB?ED )*H?D9;J>;DJM;;J;:S#

 97D9ED<?HCJ>7JM;7H;DEJ8;?D=IEB:<EH' T

        )D(EL;C8;H  E?D:;IAFK8B?I>;:7D7HJ?9B;87I;:KFEDFH?L7J;<?D7D9?7B

 :E9KC;DJI J>7J FEA;: >EB;I ?D J>; 87B7D9; I>;;J E< .2UI I?IJ;H 9ECF7DO  B7C;:7

 ,;I;7H9>  #D:;;:  7BJ>EK=> DEJ H;L;7B;: JE 9KIJEC;HI  ?D ;7HBO (EL;C8;H  BE9A ?

 7JJ;CFJ;:JEC7A;78EHHEM?D=H;GK;IJED?JIBE7D7=H;;C;DJM?J> .2 M>?9>M7IDEJ

 >EDEH;: 

        )D(EL;C8;H  BE9A ?9E <EKD:;H7D:))'7HGK;PIJ7J;:?D7JM;;J

 M>?9>M7IH; JM;;J;:8OBE9A ?S.>;H;UI7BEJE<79J?ED?DJ>;9OFJEC7HA;JIJE:7OR

 IEC;J>?D= M; >7L; I;;D 8;<EH; 7D: 7H; KI;: JE C7D7=?D=  /98<3=< @3=2.;+@+5<

 =;+.371+7.5/7.371+;/+55>9+7.;>77371D;CF>7I?I7::;: ))'7HGK;P7BIE

 9B7?C;: J>7J S55 58-43 9;8.>-=< +;/ 0>55B 89/;+=387+5T 7D: J>7J BE9A ? MEKB:

 H;C7?D 7D ?D:;F;D:;DJ ;DJ?JO KDJ?B 7J B;7IJ $KBO   'EH;EL;H  '7HGK;P IJ7J;: J>7J

 BE9A ?M7IS9;8-/<<371+55@3=2.;+@+5<37537/@3=28>;&/;6<80%/;?3-/&8.+=/

 58-432+<+36/.=8./53?/;+55-53/7=@3=2.;+@+5<0+<=/;=2+78>;78;6+5&/;6<80

 %/;?3-/ T ;CF>7I?I 7::;:  KHJ>;H  '7HGK;P IJ7J;: J>7J BE9A ? M7I SEF;H7J?D= EKH

 8KI?D;II ?D B?D; M?J> EKH H?IA C7D7=;C;DJ <H7C;MEHA    1; HKD 7 FH7=C7J?9 7D:

 :?L;HI?<?;: B;D:?D= 8KI?D;II 7D: 285. ;3<4 -+93=+5 ;/</;?/< =8 2/59 9;8=/-= +1+37<=
 98=/7=3+558+7./0+>5=< T;CF>7I?I7::;:  ?D7BBO ED(EL;C8;H  '7HGK;P7BIE

 IJ7J;:S1;H;C7?D9ECC?JJ;:JEJH7DIF7H;D9O7D:I;HL?D=EKH9B?;DJI TBBE<'7HGK;PUI

 IJ7J;C;DJI M;H; C7J;H?7BBO 7D: M?BB<KBBO <7BI; :;IF?J; 8;?D= C7:; 7I )) E< BE9A ? 

 #D:;;: 7JJ>;J?D;'7HGK;PC7:;>;HIJ7J;C;DJI BE9A ?M7I7BH;7:O?BB?GK?: 

        )D(EL;C8;H 7JEH78EKJ7 C  BE9A ?JM;;J;:J>7J?JI/-87I;:

 87DA?D=F7HJD;H-?BL;H=7J;MEKB:8;E8I;HL?D=J>;0;J;H7DUI7O>EB?:7OED(EL;C8;H

   7D: J>7J H;IKBJ7DJBO  M?H; JH7DI<;HI MEKB: DEJ FHE9;II KDJ?B (EL;C8;H   #D
 9EDD;9J?EDJ>;H;M?J> BE9A ?7BIEJM;;J;:J>7JSHOFJEM?J>:H7M7BI7H;>7+00/-=/. BB

 9HOFJE M?J>:H7M7BI 9EDJ?DK; JE 8; FHE9;II;: ?D B?D; M?J> EKH J;HCI 7D: 9ED:?J?EDI T


                                                                                              
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 ;CF>7I?I?DJ>;EH?=?D7B BE9A ?7BIEJM;;J;:7JJ>7JJ?C;S1;H;9E=D?P; =?L;DJ>;

 9KHH;DJ C7HA;J 9ED:?J?EDI  J>7J J>?I :;B7O ?I B;II J>7D ?:;7B  58-43 @355 ;/6+37 0>55B

 89/;+=38787         +7.+55-;B9=8=;+7<+-=387<37-5>.371@3=2.;+@+5<@355-87=37>/

 +<78;6+5 T;CF>7I?I7::;: "EM;L;H B7J;ED(EL;C8;H 7JEH78EKJ

 *'-. BE9A ?7DDEKD9;:L?7JM;;JJ>7JS!?L;DJ>;B79AE<9B7H?JOEDJ>;IJ7JKI

 E< .2   M;7H;DEJ78B;JEEF;H7J;8KI?D;II7IKIK7B )KHFH?EH?JO>7I8;;D7D:M?BB

 9EDJ?DK; JE 8; JE FHEJ;9J EKH 9B?;DJI 7D: J>;?H ?DJ;H;IJI T KHJ>;H  BE9A ? IJ7J;: S/DJ?B

 J>;H; ?I <KHJ>;H 9B7H?JO  M; 7H; 5363=371 EKH FB7J<EHC 79J?L?JO  ?D9BK:?D= F7KI?D= 9B?;DJ

 M?J>:H7M7BI   1;H;GK;IJJ>7J9B?;DJIDEJ:;FEI?JJEBE9A ?17BB;JEH#DJ;H;IJ99EKDJI

 7JJ>?IJ?C; T;CF>7I?I7::;: (EIJ7J;C;DJM7IC7:;DEH7DOFHE>?8?J?ED?CFB;C;DJ;:

 J>7JFH;L;DJ;:9H;:?JEHI 9KIJEC;HI<HECJH7DI<;HH?D=J>;?HH7H;:?=?J7B7II;JI8;JM;;D

 J>;?H#S9>;9A?D=T799EKDJ7D:J>;?H17BB;J99EKDJSI7L?D=IT799EKDJ 

        BJ>EK=>?JM7IC7:;9B;7HJ>7JBE9A ?M7IDEJ>EDEH?D=M?J>:H7M7BIEKJE<J>;

 87DAEH799;FJ?D=CED;O?DJEJ>;87DA M>7JBE9A ?9EDJ?DK;:JEF;HC?JM7I37=/;7+5

 JH7DI<;HI <HEC ?JI # 799EKDJI ?DJE BE9A ? 17BB;J 799EKDJI  #D:;;:  87I;: KFED

 BE9A ?UI ?DIJ7DJ <?B?D=  ?J ?I 8;B?;L;: J>7J EL;H   9KIJEC;HI 7JJ;CFJ;: JE C7A;

 JH7DI<;HI<HEC#799EKDJIJEJ>;?H17BB;J99EKDJIEDEH78EKJ(EL;C8;H   

 J EH 78EKJ J>7J J?C;  BE9A ? 8;=7D FH;F7H?D= <EH 87DAHKFJ9O  BJ>EK=> ?J M7I DEJ
 :?I9BEI;:7JJ>;J?C; B7C;:7,;I;7H9>>7::;<7KBJ;:EDC?BB?EDMEHJ>E<BE7DIJE

 BE9A ?  #D:;;:  7I E< J>7J J?C;  BE9A ? 7BIE >;B: 7FFHEN?C7J;BO  C?BB?ED E<

 9KIJEC;HUI:?=?J7B7II;JI7J .2 7=7?DIJIEC;J>?D=J>7JM7IDEJFHEF;HBO:?I9BEI;: 

        ;97KI;BE9A ?>7:BEIJC?BB?EDEHCEH;JE .27D:EJ>;HI ?JM7I79JK7BBO

 KD78B;JE>EDEHJ>;J>EKI7D:IE<799EKDJJH7DI<;HH;GK;IJIED(EL;C8;H   

 O;JJ>;I;<79JIM;H;DEJH;L;7B;:JE?JI9KIJEC;HI #DIJ;7: BE9A ?9EDJ?DK;:JEC?IB;7: 

 #D:;;:  M>7J BE9A ? H;L;7B;: JE J>; 87DAHKFJ9O 9EKHJ <EH J>; <?HIJ J?C; ED EH 78EKJ

 ;9;C8;H     M7I J>7J ED (EL;C8;H   M>;D BE9A ? >7: F7KI;: ;NJ;HD7B

 M?J>:H7M7BI 7J  *'  J>7J M>7J ?J >7: 7BIE :ED; M7I FH;L;DJ ?JI 9KIJEC;HI <HEC


                                                                                                    
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 JH7DI<;HH?D=8;JM;;DJ>;?H#7D:17BB;J99EKDJI BE9A ?H;<;HIJEJ>?I<H7K:7IJ>;

 S*B7J<EHC *7KI;T  #D ?JI ;9;C8;H  87DAHKFJ9O <?B?D=  BE9A ? :;I9H?8;: IK9> 7I
 <EBBEMIM>?9>M7IKD:?I9BEI;:JE9KIJEC;HI7JJ>;J?C;

        
               .>; *B7J<EHC *7KI; JEEA ;<<;9J J>; CEC;DJ E< J>; *B7J<EHC
               *7KI;.?C;-J7CF .>;H;7<J;H 79B?;DJUI78?B?JOJE;<<;9JK7B7
               M?J>:H7M7B JH7DI<;H EHJH7:;EDJ>;FB7J<EHCM7IJ;HC?D7J;:
               ?D 7D ;<<EHJ JE C7?DJ7?D J>; IJ7JKI GKE <EH 7BB 9B?;DJIU :?=?J7B
               7II;JI >;B: ED J>; FB7J<EHC 7I E< J>; *B7J<EHC *7KI; .?C;
               -J7CF #D799EH:7D9;M?J>J>;*B7J<EHC*7KI; J>;;8JEHI
               ?CC;:?7J;BO 7 9;7I;: JE H;9EH: JH7DI79J?EDI ?D J>; / - 
               17BB;J &;:=;H 7D: #DJ;HD7J?ED7B 17BB;J &;:=;H 7D: 8
               :?I9EDJ?DK;: J>; ED=E?D= :7?BO JHK; KFI E< J>; 1&& )
               17BB;JI  J>; #DJ;HD7J?ED7B 07KBJ 17BB;JI  J>; / -  17BB;J
               &;:=;H 7D:J>;#DJ;HD7J?ED7B17BB;J&;:=;H;79>7I:;<?D;:
               8;BEM  7D: 9;7I;: C7A?D= :?=?J7B 7II;J JH7DI<;HI ?D
               9EDD;9J?ED J>;H;M?J>  -?CFBO FKJ  J>; ;8JEHIU 9B?;DJI M;H;
               KD78B; JE  7D: :?: DEJ  ;<<;9JK7J; 7DO JH7DI79J?EDI ED J>;
               BE9A ? FB7J<EHCI J>; CEC;DJ E< J>; *B7J<EHC *7KI; .?C;
               -J7CF 
               
        (EJ EDBO M7I IK9> DEJ :?I9BEI;: JE 9KIJEC;HI 7J J>; J?C;  8KJ JE J>; 9EDJH7HO 

 BE9A ?H;FH;I;DJ;:J>7J?JIM;8I?J;7D:7FFIM;H;EF;H7J?D=9EHH;9JBO7D:H;<B;9J?D=JHK;

 7D:799KH7J;799EKDJL7BK;I 

        II;J<EHJ>78EL; ED(EL;C8;H  9B7?C7DJ E8@;9JEHCEL;::?=?J7B7II;JI

 &?J;9E?D :;I9H?8;: 78EL; <HEC BE9A ?UI # 799EKDJ JE BE9A ?UI 17BB;J 799EKDJ 

 H;9;?L?D= 7 9ED<?HC?D= ;C7?B I>EHJBO J>;H;7<J;H J>7J IJ7J;: C*8>; +<</=< 2+?/ ,//7

 <>--/<<0>55B =;+7<0/;;/. 0;86 B8>; 58-43 7=/;/<= --8>7= 37=8 B8>; 58-43

 )+55/=D;CF>7I?I7::;: 'EH;EL;H J>;?DJ;HD7B799EKDJ?DJ;H<79;:?IFB7O;:J>7JIK9>

 >7:E99KHH;: 7BED=M?J>7H;=?IJ;H;DJHO?DJ>;BE9A ?9KIJEC;H799EKDJJ>7JI>EM;:
 J>7JIK9>>7:E99KHH;: .>KI                      8;B?;L;:J>7J>;H;DJ?H;&?J;9E?D87B7D9;E<

  >7:8;;DI7<;JOCEL;:JE>;H17BB;J99EKDJ 3;J 7I78EL; J>7JM7I7BB 

 799EH:?D=JEBE9A ? 79ECFB;J;<7BI;>EE: 

        )D(EL;C8;H  BE9A ?:;D?;:HKCEHIJ>7J7C7@EH?JOE<?JI7II;JIM;H;


                                                                                                  
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 8;?D= 9KIJE:?;: 7J 9EBB7FI;: ;N9>7D=; .2  8KJ <?D7BBO H;L;7B;: FK8B?9BO J>7J ?J >7:

 SI?=D?<?97DJ;NFEIKH;JE .2T?D9BK:?D=J>7JL7H?EKI7II;JIM;H;S>;B:7J .2 9EC T)D

 (EL;C8;H BE9A ?<KHJ>;HIJ7J;:SJJ>?IJ?C; M?J>:H7M7BI<HECBE9A ?9EDJ?DK;JE

 8;F7KI;: )/+5<8-87=37>/=8+<4-53/7=<78==8<>,63=+7B./98<3=<=858-43

 )+55/=8;7=/;/<=--8>7=<D;CF>7I?I?DJ>;EH?=?D7B 

          #D:;;:  MEHA?D= JE FH;F7H; 7 87DAHKFJ9O <?B?D=  BE9A ? 9EDJ?DK;: JE C?IB;7: 

 9B7?C?D=
                 .>;H;7H;7DKC8;HE<I9;D7H?EIJ>7JC7O8;7L7?B78B;JEKI 
                 7D: M; 7H; :E?D= J>; MEHA DEM JE :;J;HC?D; J>; 8;IJ F7J>
                 <EHM7H:  BE9A ? >7I J>; D;9;II7HO B?GK?:?JO JE ;NFBEH; 7BB
                 EFJ?EDI7D:M;>7L;;D=7=;:;NF;HJEKJI?:;7:L?IEHIJ>7J7H;
                 >;BF?D=KID7L?=7J;BE9A ?UID;NJIJ;FI "7OD;I7D:EED;
                 9EDJ?DK;IJEI;HL;7IEKHFH?C7HOEKJI?:;9EKDI;B 7D:,!
                 >7I8;;D;D=7=;:7IEKH<?D7D9?7B7:L?IEH 
                 
          ;IF?J;ADEM?D=J>7J?J>7:DEJC7:;9B?;DJJH7DI<;HI7IH;GK;IJ;:ED(EL;C8;H

   8;JM;;D # 7D: 17BB;J 799EKDJI  BE9A ? 9EDJ?DK;: DEJ JE H;L;7B IK9> JE ?JI
 9KIJEC;HI 

          )D (EL;C8;H     BE9A ? H;L;7B;: <EH J>; <?HIJ J?C; FK8B?9BO J>7J ?J M7I

 FH;F7H?D=7FEJ;DJ?7B87DAHKFJ9O<?B?D=8;97KI;E<?JISI?=D?<?97DJ;NFEIKH;TJE87DAHKFJ

     .2 L;DJ>;D BE9A ?I7?:DEJ>?D=78EKJ>7L?D=DEJC7:;?DJ;HD7BJH7DI<;HI8;JM;;D
 #7D:17BB;J799EKDJI 7IC7DOE<IK9>7II;JI>7:8;;DJH7DI<;HH;:8OBE9A ?JE

     .2M?J>EKJFHEF;H:?I9BEIKH;I )D(EL;C8;H 0#-I;DJBE9A ?7B;JJ;HJ;HC?D7J?D=

 ?JIH;B7J?EDI>?FM?J>J>;87DA 7D:;<<;9J?L;BO;D:?D=        KI;E<J>;BE9A ?9HOFJE

 H;M7H:I9H;:?J97H: 

          )D(EL;C8;H  BE9A ?C7:;7D;MFEIJL?7.M?JJ;H7BED=M?J>7 +

 S1;ADEMJ>7JEKH9B?;DJ9ECCKD?JO>7I7BEJE<GK;IJ?EDI 1;7H;<E9KI;:ED:E?D=J>;

 KJCEIJJE8;JH7DIF7H;DJ7HEKD::;9?I?EDIH;B7J;:JEEKHF7KI; FHE:K9JI 7D:FB7J<EHC

 79J?L?JO T .>;H;?D  BE9A ? IJ7J;: J>7J ?J >7: F7KI;: S6+7B E< EKH FB7J<EHC 79J?L?J?;I T

 "EM;L;H 7IJE9KIJEC;H799EKDJI BE9A ?:?:DEJH;L;7BJE9KIJEC;HIJ>7J?J>7:DEJ



                                                                                                 
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 JH7DI<;HH;: 7II;JI ?DJ;HD7BBO 8;JM;;D # 7D: 17BB;J 799EKDJI  #D:;;:  BE9A ? M7I

 >?:?D= J>; <79J J>7J ?J M7I =HEIIBO KD:;H97F?J7B?P;: ?D9BK:?D= 8O JH7DI<;HH?D= 7II;JI JE

     .2 B;7:?D=JE?JI?D78?B?JOJE>EDEHJH7DI<;HI JH7DI<;H7II;JI8;JM;;D#7D:17BB;J

 799EKDJI  KHJ>;H  BE9A ? 7:L?I;: J>7J ?JI 9KIJEC;HI 9EKB: C-87=37>/ =8 -2/-4 =2/

 58-43 +99 08; +-->;+=/ 3708;6+=387 +,8>= B8>; +--8>7= ,+5+7-/D ;CF>7I?I
 7::;: 

          )D (EL;C8;H     7J  7 C  BE9A ? C7:; CKBJ?FB; JM;;JI ?D<EHC?D=

 J>7J ?J >7: <?B;: <EH 87DAHKFJ9O  D:  ?D 7DEJ>;H +  IJ7J;: J>7J ?J >7: F7KI;: SCEIJ

 79J?L?J?;IEDEKHFB7J<EHC TL;D7<J;H<?B?D=<EH87DAHKFJ9O BE9A ?9EDJ?DK;:JEC?IB;7:

 7D: 8; :;9;FJ?L; 7D: DEJ H;L;7B JE ?JI 9KIJEC;HI J>7J ?J >7: DEJ 8;;D 78B; JE >EDEH

 JH7DI<;H H;GK;IJI 8;JM;;D (EL;C8;H   8;JM;;D # 7D: 17BB;J 799EKDJI  )D

 (EL;C8;H  BE9A ?<?B;:<EH87DAHKFJ9O?DJ>?I9EKHJ 

          )D EH 78EKJ ;8HK7HO     BE9A ? 7JJ;CFJ;: JE C?IB;7: 9KIJEC;HI ?DJE

 ?CFHEF;HBO IK8C?JJ?D= 9B7?C <EHCI 7:EFJ?D= ?JI S*B7J<EHC *7KI;T :7J; 7I J>; :7J; E<

 L7BK?D=79KIJEC;HUI:?=?J7B7II;JI  ?HIJ BE9A ?<?BB;:EKJ?D9EHH;9J9B7?C<EHCI87I;:

 KFED?JII;B;9J;:S*B7J<EHC*7KI;T ? ; J>;ED;?J>7:D;L;H:?I9BEI;:?CF79J;:?DJ;H

 87DA799EKDJJH7DI<;HI8;JM;;D#7D:17BB;J799EKDJI 

          -;9ED:  BE9A ? ;D9EKH7=;: 9KIJEC;HI JE KJ?B?P; J>; *B7J<EHC *7KI; :7J; E<

 (EL;C8;H  JE L7BK; J>;?H :?=?J7B 7II;JI ED J>;?H 9B7?C <EHCI  "EM;L;H  ?D EJ>;H

 C7J;H?7BIDEJFH;F7H;:8OBE9A ? ?D9BK:?D=J>;9B7?C<EHCIJ>;CI;BL;I 9KIJEC;HIM;H;

 7IA;:JE?:;DJ?<OJ>;?H9B7?CI87I;:KFEDJ>;?H# 17BB;J799EKDJ87B7D9;I7IE<J>;

 :7J;E<BE9A ?UI87DAHKFJ9OED(EL;C8;H  

          ,;IKBJ7DJBO  H;:?JEH FHEF;HBO C7:; 9B7?CI 7=7?DIJ BE9A ? 17BB;J && <EH J>;?H

 7II;JI?D<KBB799EH:M?J>J>;9B7?C<EHC DEJ7IE<J>;:7J;I;B;9J;:8OBE9A ? ? ; ?JI

 KD?B7J;H7BBO9>EI;DS*B7J<EHC*7KI;TJ?C; 

          )D '7O     7D EH:;H M7I I;9KH;: <HEC J>; 87DAHKFJ9O 9EKHJ DEJ EDBO

 7KJ>EH?P?D= KD9EDJ;IJ;: M?J>:H7M7BI E< M7BB;J <KD:I  8KJ 7BIE F;HC?JJ?D= BE9A ? JE


                                                                                                  
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 SKF:7J;J>;KI;H?DJ;H<79; T#D9EDD;9J?EDJ>;H;M?J> J>;9EKHJC7:;?J9B;7HJ>7J?JM7IDEJ

 C7A?D= S7 :;J;HC?D7J?ED  ?CFB?97J?ED  EH 7:C?II?ED 7I JE J>; IJ7JKI E< FHEF;HJO E< J>;

 ;IJ7J;E<7DO7II;JI>;B:?D#    T

         )D $KD;     BE9A ? H;L;7B;:  <EH J>; <?HIJ J?C; :?H;9JBO JE 9KIJEC;HI  J>;

 H;7IED?J>7:7JJ;CFJ;:JE8;IE:;9;FJ?L;M?J>H;=7H:JEJ>;9B7?C<EHCI IJ7J?D=?D7D

 ;C7?BJ>7J
                 )D(EL;C8;H  7J* ' .? ; (EL;C8;H 
                  7J  /.  BE9A ? ?D?J?7J;: 7 F7KI; ED FB7J<EHC
                 79J?L?JO J>; S*B7J<EHC *7KI;T  ?D9BK:?D= JH7DI<;HI 7D:
                 M?J>:H7M7BI JEFHEJ;9J9B?;DJIU?DJ;H;IJI7D:;DIKH;;GK7B?JO
                 E< JH;7JC;DJ 7CED= I?C?B7HBO I?JK7J;: 9B?;DJI  EBBEM?D= J>;
                 *B7J<EHC*7KI; ?JJEEABE9A ?7F;H?E:E<J?C;JE:?I78B;7
                 9B?;DJUI78?B?JOJEH;GK;IJJH7DI<;HI JH7:;I 7D:M?J>:H7M7BIED
                 J>; BE9A ? FB7J<EHC  0 + -53/7= ;/:>/<=/. 87/ 8; 68;/
                 =;+7<+-=387< 87 =2/ 58-43 95+=08;6 +0=/; =2/ #5+=08;6
                 #+></<>-2=;+7<+-=387<@/;/369;89/;5B.3<95+B/.87
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                 ,//7 -8695/=/. /?/7 =28>12 =2/B @/;/ 78= +-=>+55B
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        <J;H J>; 9EKHJ F;HC?JJ;: KD9EDJ;IJ;: 17BB;J :?=?J7B 7II;JI JE 8; M?J>:H7MD 

 BE9A ? J>HEK=>J>;*B7D:C?D?IJH7JEH 9EDJ?DK;:JE79J<H7K:KB;DJBO )D(EL;C8;H 

   J>HEK=> ?JI 9EKDI;B  J>; *B7D :C?D?IJH7JEH <?B;: S(EJ?9; E< 1?D: EMD ;8JEHIU
 .M;B<J> )CD?8KI )8@;9J?ED JE B7?CI ?B;: =7?DIJ BE9A ? 17BB;J &&  DEJ?9?D= 7

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                  HKB;II>7BB9EDIJ?JKJ;FH?C7<79?;;L?:;D9;E<J>;L7B?:?JOE<J>;
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 ?D799EKDJIJ>7JM;H;KI;:JE;II;DJ?7BBO=7C8B;J>;H;:?JEHUI<KD:IH7J>;HJ>7D>;B:?D

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          .>;H;:?JEHI 9KIJEC;HICEIJ?CF79J;:8OJ>;<H7K:7D:EJ>;HJEHJI9ECC?JJ;:

 8OBE9A ?7H;J>EI;IK9>7I                    M>E7JJ;CFJ;:JEJH7DI<;H7II;JI8;JM;;DJ>;?H

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 9ED:K9JJ>7J?I?D9EDI?IJ;DJM?J>?JIFK8B?9H;FH;I;DJ7J?EDI #D:;;: FHEC?IIEHO;IJEFF;B

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 17BB;J799EKDJI .>?I?I79EDJH79JK7BM7?L;H7D: EH=?L;IH?I;JEJ>;:E9JH?D;E<B79>;I 

          ::?J?ED7BBO JEJ>;;NJ;DJJ>7JBE9A ?7H=K;IJ>7J?JM7IF;HC?JJ;:8O?JIS.;HCI




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 E< -;HL?9;T JE 9ECC?J <H7K:  9EC?D=B; 7D: EH 78I9ED: M?J> 9H;:?JEHIU 7II;JI  IK9> 7D

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 EH:?D7HO 9EDJH79J FH?D9?F5B;6I  JH7DI79J?EDI ;DJ;H;: ?DJE ?D H;B?7D9; KFED C7J;H?7B

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                <7?BKH;JE:?I9BEI;J>7J:?=?J7B7II;JI:?:DEJEH9EKB:DEJCEL;8;JM;;D



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              #7D:17BB;J799EKDJIED(EL;C8;H  7D: 
           :  .>7JBE9A ?8;I7D9J?ED;:<EH7JJ;CFJ?D=JEKJ?B?P;J>;EKHJJE9ECC?J

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          Case 22-19361-MBK                  Doc 2033 BlockFi
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                                                              01/08/24       Entered 01/08/24 15:34:17
                                                                      Response Portal
                                                                                                                                            Desc Main
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 BlockFi Objection Response Portal
 Introduction



 Claim Information

  Claim Number

   8162

  Claim Name




  Claimant Address on File




  To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
  where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.

  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




  To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
  settle, or otherwise resolve the Objection on your behalf.
  Name:




  Street1




  Street2




  City




BlockFi Objection Response Portal                                               1/3
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       Case 22-19361-MBK                          Doc 2033 BlockFi
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                                                                   01/08/24       Entered 01/08/24 15:34:17
                                                                           Response Portal
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      I certify that I have completed my E-registra ion form on the Kroll Restructuring Administration Forms Portal. I hereby agree that my electronic signature herein complies
   with the U.S. federal ESIGN Act of 2000, and accordingly shall have he same legal effect as my original signature.
  If you have any questions on this portal please feel free to reach out to Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at
  blockfiinfo@ra kroll.com.




BlockFi Objection Response Portal                                                        3/3
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 /6'34.'/420&5%43         -0%,+'26+%'3/%  #/&-0%,+'/&+/)       *'
 -0%#4+0/0(4*'!+/&07/'$4023:3'26+%'#&&2'33+3%0 #24/'23 20#&7#9 4*-002'7
 "02,"  
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 &"&"!"$ #!'!&%&&%!$'#&*

 '

         H;:?JEH                   J>;H;:?JEH >;H;8O<?B;IJ>?I  

 S,;IFEDI;T   !          

       )8@;9J?ED #DIKFFEHJE<J>;,;IFEDI; J>;H;:?JEHIK8C?JIJ>;<EBBEM?D=

 C;CEH7D:KCE<FE?DJI7D:7KJ>EH?J?;I 

       !&$"'&"!
          (EED;>7I8;;D:;<H7K:;:CEH;J>7D9H;:?JEHIB?A;                           M>EC7:;

 J>;C?IJ7A;E<8;B?;L?D=J>;DKC;HEKI<7BI;>EE:IJEB:JE>;H8OBE9A ? #D:;;: ?DEH

 78EKJ H;:?JEH                       :;FEI?J;::?=?J7BH;J?H;C;DJ7II;JI?DJ>;<EHCE<

 ?J9E?D7D:&?J;9E?D?DJE>;HBE9A ?799EKDJKD:;HJ>;8;B?;<J>7J?JM7II7<;JE:EIE 

 EJ> ?J9E?D 7D: &?J;9E?D 7H; FHEE< E< MEHA 9E?DI 7D: 7H; B?C?J;: ?D DKC8;H  FHEL?:?D=

 I97H9?JO R 7I EFFEI;: JE IOIJ;CI IK9> 7I FHEE< E< IJ7A; IOIJ;CI  ,;IKBJ7DJBO  :?=?J7B

 7II;JIB?A;?J9E?D7D:&?J;9E?D7H; 8OJ>;?HL;HOD7JKH; :;I?=D;:JE8;IJEH;IE<L7BK;

 J>7JEF;H7J;7I7>;:=;7=7?DIJ?D<B7J?ED ?DF7HJ?9KB7H 

          #D B7J;   ;7HBO                   EF;D;: JME 799EKDJI  ED; 7 BE9A ?

 #DJ;H;IJ99EKDJS#T7D:7BE9A ?17BB;J799EKDJ (EJKD:;HIJ7D:?D=J>;H?IAI7I

 J>;OM;H;DEJFHEF;HBO:?I9BEI;:7D:?DIJ;7:8;B?;L?D=BE9A ?UI<7BI;H;FH;I;DJ7J?EDI

 J>7J7#799EKDJ<KD9J?ED;:B?A;7S>?=> O?;B:9>;9A?D=799EKDJT7D:J>7JCED;O9EKB:

 8; CEL;: ?DIJ7DJ7D;EKIBO 8;JM;;D >;H S9>;9A?D=T 7D: SI7L?D=IT 799EKDJI 7J BE9A ? 

                   >;B:IEC;E<>;H7II;JI?D>;H#799EKDJ ? ;  &?J;9E?D

 7D:   ?J9E?D  EDL;HI;BO                        >;B: EJ>;H 7II;JI ?D >;H BE9A ?

 17BB;J799EKDJ? ; &?J;9E?D7D: ?J9E?D 

          ;IF?J;H;F;7J;:9ECC;DJ7HO8OBE9A ?7IIKH?D=                         J>7J;L;HOJ>?D=

 M7I<?D;:KH?D=(EL;C8;H ED(EL;C8;H                               9>EI;JECEL;

 7BB>;H:?=?J7B7II;JI<HEC>;H#799EKDJJE>;H17BB;J799EKDJ .>7JI7C;:7O                   

             H;9;?L;:79ED<?HC?D=;C7?BI>EHJBOJ>;H;7<J;HJ>7JIJ7J;:C*8>;+<</=<2+?/


                                                                                                  
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 ,//7<>--/<<0>55B=;+7<0/;;/.0;86B8>;58-437=/;/<=--8>7=37=8B8>;58-43

 )+55/=D;CF>7I?I7::;: 'EH;EL;H J>;?DJ;HD7B799EKDJ?DJ;H<79;:?IFB7O;:J>7JIK9>

 >7:E99KHH;: 7BED=M?J>7H;=?IJ;H;DJHO?DJ>;BE9A ?9KIJEC;H799EKDJJ>7JI>EM;:

 J>7JIK9>>7:E99KHH;: "EM;L;H 7BBE<J>7JM7I7<H7K:F;HF;JH7J;:8OBE9A ? 8;97KI;

 KD8;ADEMDIJJE                       BE9A ?>7:JH7DI<;HH;:>;H7II;JIR7D:J>;7II;JIE<

 EJ>;H9H;:?JEHIRJE .27D: EHEJ>;HJ>?H: F7HJ?;IM?J>EKJ>;HADEMB;:=;EH9EDI;DJ               

                EDBOB;7HD;:E<BE9A ?UIJH;79>;HO?D<7?B?D= H;<KI?D=JEJH7DI<;H>;H:?=?J7B

 7II;JI7D:JEI;HL;7I7FHEF;H9KIJE:?7DE<J>;C:KH?D=J>;9EKHI;E<J>?I87DAHKFJ9O 

 M>;DBE9A ?M7IH;GK?H;:JEH;L;7B?J 

          .>;9KHH;DJL7BK;E<J>;:?=?J7B7II;JI>;B:8OBE9A ?H;=7H:?D=                      ?D

 >;H # 799EKDJ  87I;: ED 9KHH;DJ C7HA;J 9ED:?J?EDI  ?I       

  ?J9E?D  &?J;9E?D IFEJFH?9;                               

 FHEF;HBO<?B;:FHEE<E<9B7?C<EHCI7IJE8EJ>>;H#7D:17BB;J799EKDJI :;IF?J;BE9A ?

 7JJ;CFJ?D= JE C?IB;7: >;H ?DJE DEJ FHEF;HBO <?B?D= IK9> <EHCI                        M7I

 IK99;II<KBBO 78B; JE H;CEL; :?=?J7B 7II;JI <HEC >;H 17BB;J 799EKDJ  8KJ >;H # :?=?J7B

 7II;JIH;C7?DKD7L7?B78B;JE>;H 

          (EM>7L?D=<7?B;:JE:;<H7K:                     ?D9EDD;9J?EDM?J>J>;9B7?C<EHCI 

 BE9A ?I;;AIJE:;<H7K:                      8O7IA?D=J>?IEKHJJE?CFHEF;HBO8EEJIJH7F?JI
 <H7K:?DDEJJH7DI<;HH?D=:?=?J7B7II;JIFHEF;HBO8;JM;;D                       #799EKDJ7D:

 17BB;J799EKDJED(EL;C8;H  M;;AIFH?EHJEJ>;87DAHKFJ9O  EHJ>;H;7IEDI
 ?D9BK:;:>;H;?D BE9A ?UIH;GK;IJI>EKB:8;:;D?;:?D?JI;DJ?H;JO 

      $(!&&'%&"$*

                3<=8;B80=2/5+36

          #DEH78EKJ)9JE8;H BE9A ? #D9 SBE9A ?TM7I<EKD:;:8O479*H?D9;7D:

     BEH?'7HGK;PM?J>7FKHFEHJ;:C?II?EDE<FHEL?:?D=9H;:?JI;HL?9;JEJ>;9HOFJE9KHH;D9O

 C7HA;J  99EH:?D= JE BE9A ?  ?J 9B7?C;: JE <EBBEM <EKH 9EH; L7BK;I  JME E< M>?9> M;H;

 SB?;DJIDEJKIJEC;HIT7D:S.H7DIF7H;D9OK?B:I.HKIJ T


                                                                                                  
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        #D$7DK7HO BE9A ?B7KD9>;:?JI<?HIJE<<;H?D=BE7DIE</ - :EBB7HI879A;:8O

 9HOFJE9KHH;D9?;I   -?CFBO FKJ  9B?;DJI 9EKB: :;FEI?J :?=?J7B 7II;JI IK9> 7I ?J9E?D 

 J>;H;KC7D: EH&?J;9E?D 7D:J>;DJ7A;EKJBE7DI?D<?7J7=7?DIJJ>;9HOFJE9EBB7J;H7B 

        BE9A ?UI H;FH;I;DJ7J?EDI M;H; IK99;II<KB  7I ?J E8J7?D;: CKBJ?FB; HEKD:I E<

 <?D7D9?D= 7BBE<M>?9>=7L;J>;7FF;7H7D9;BE9A ?M7I7B;=?J?C7J;;DJ?JO

           7  #D ;8HK7HO BE9A ?H7?I;: C?BB?ED?DI;;:CED;OB;:8O

               EDI;D-OI0;DJKH;I

           8  #D$KBO BE9A ?H7?I;:7DEJ>;H C?BB?ED?D7<KD:?D=HEKD:B;:

               8O!7B7NO?=?J7B7D:

           9  (;7H;D:E< BE9A ?H7?I;:7D7::?J?ED7BC?BB?EDM?J>AKD7

               7F?J7B 

        #D EH 78EKJ '7H9>   BE9A ? B7KD9>;: 7 9HOFJE :;FEI?J 799EKDJ J>7J MEKB:

 H;?DL;IJ ;7HD?D=I <HEC 8?J9E?D EH ;J>;H :;FEI?JI 7D: FHEL?:; 7D EFFEHJKD?JO JE ;7HD

 9ECFEKD:?DJ;H;IJ .>;I;799EKDJIM;H;ADEMD7IBE9A ?#DJ;H;IJ99EKDJIS#IT 

 #IM;H;E<<;H;:7D:IEB:JE78HE7:I;=C;DJE<J>;=;D;H7BFK8B?9 ?D9BK:?D=JEH;:?JEH 

 BE9A ?FHECEJ;:#I7I7D?DL;IJC;DJ IF;9?<?97BBO7I7M7OJE;7HD79EDI?IJ;DJH;JKHD

 ED9HOFJE7II;JI7D:<EH?DL;IJEHIJES8K?B:J>;?HM;7BJ> T.>;H;7<J;H BE9A ??DJ;DJ?ED7BBO

 :EMDFB7O;:J>;H?IAE<IK9>?DJ;H;IJ 8;7H?D=799EKDJI 
        BE9A ?:?:DEJ:?I9BEI;JEH;:?JEH J>7J;<<;9J?L;BOBE9A ?JH;7J;:#99EKDJ

 >EB:;HI7I?<J>;OM;H;S;GK?JOT>EB:;HI?DBE9A ??JI;B< I>7H?D=?DJ>;H?IAI M>?B;I>7H?D=

 ?DDED;E<J>;KFI?:;<HEC>EB:?D=79JK7B;GK?JO 

        #D:;;: 9E <EKD:;H7D:))'7HGK;PH;F;7J;:BOC7:;IJ7J;C;DJI ?D9BK:?D=?D

  J>7JIK9>799EKDJIM;H;I7<; ?D9BK:?D=8KJDEJB?C?J;:JE

           7  S#J?IJ>;I7C;7IEF;D?D=787DA799EKDJT

           8  S3EK97D?D?J?7J;7M?J>:H7M7B7J7DOJ?C;T

           9  S#J?I;II;DJ?7BBO7>?=>O?;B:I7L?D=I799EKDJT7D:

           :  S#JUII?C?B7HJE8EHHEM?D=7=7?DIJOEKH>EC;EH8EHHEM?D=7=7?DIJ7F?;9;


                                                                                             
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                  E<7HJT 

             KHJ>;H ?D?DJ;HL?;MI '7HGK;P9B7?C;:J>7JBE9A ?9EKB:F7O>?=>?DJ;H;IJ:K;JE

 ?JI IK8IJ7DJ?7B B;=7B 7D: H;=KB7JEHO <H7C;MEHA  7D: J>7J H?IAI M;H; C7D7=;: 9EHH;9JBO 

 '7HGK;P7BIEIJH;II;:J>7J7II;JIM;H;8;?D=>;B:?D9EB:IJEH7=;M?J>!;C?D? 7D:J>7J

 !;C?D?>7:?DIKH7D9;FHEJ;9J?D=J>;:?=?J7B7II;JI #D:;;: '7HGK;P7:L?I;:J>7JIK9>

 ?DIKH7D9;S6+4/<8>;-><=86/;<0//5<+0/; T

         1>?B;IK9>IJ7J;C;DJI:?:C7A;9KIJEC;HIS<;;BI7<;HT J>;IJ7J;C;DJIC7:;8O

 BE9A ? '7HGK;PM;H;<7BI; 7D:?DJ;DJ?ED7BBOIE #HH;IF;9J?L;E<J>;?H<7BI?JO BE9A ? 

 '7HGK;PUI <7BI; IJ7J;C;DJI >7: 97KI;: HE8KIJ :;C7D: <EH BE9A ?UI FHE:K9JI 

 IK99;II<KBBO?D:K9;:J;DIE<J>EKI7D:IE<F;EFB;JE:;FEI?JJ>;?H:?=?J7B7II;JIM?J>J>;

 9ECF7DO?D9BK:?D=H;:?JEH 

         #DEH78EKJ BE9A ?H;79>;:7C?B;IJED;E<>7L?D=EL;HC?BB?ED:;FEI?J;:

 ?D?JI#99EKDJI #DK=KIJ BE9A ?H7?I;: C?BB?ED?D-;H?;I<KD:?D=B;:

 8O 07B7H 0;DJKH;I  @E?D;: 8O 1?DAB;LEII 7F?J7B  !7B7NO ?=?J7B  EDI;D-OI  AKD7

 7F?J7B7D:EJ>;HI 

         #D ;8HK7HO   BE9A ? E8J7?D;:  C?BB?ED ?D -;H?;I  <KD:?D= <HEC 07B7H

 0;DJKH;I 7D: AKD7 7F?J7B 7I M;BB 7I D;M ?DL;IJEHI ?D9BK:?D= "7I>A;O 7F?J7B  #D

 K=KIJ BE9A ?I;9KH;:C?BB?ED?D-;H?;I<KD:?D=B;:8O'EH=7DH;;A?=?J7B 
         #D K=KIJ  ) *H?D9; IJ7J;: J>7J BE9A ? >;B:   8?BB?ED ?D 7II;JI  7D: M7I

 =;D;H7J?D= 7 B?JJB; KD:;H  C?BB?ED 7 CEDJ> ?D H;L;DK;  "EM;L;H  ?D )9JE8;H  

 BE9A ?C7:;7D?DL;IJC;DJ?D!H7OI97B;UI?J9E?D.HKIJ J7A?D=7IJ7A;?DJ>; 

 ?BB?ED<KD:  KHJ>;H BE9A ?9EDJ?DK;:JE?DL;IJ?DJ>;JHKIJ H7?I?D=?JI?DL;IJC;DJJE 

 8?BB?ED 

         #D EH 78EKJ ;9;C8;H  R $7DK7HO  7D: ?D H;B?7D9; KFED BE9A ?UI

 H;F;7J;: C;II7=?D= 78EKJ J>; I7<;JO E< J>;?H 799EKDJI 7D: >EM J>;O <KD9J?ED;: B?A;

 S9>;9A?D=T7D:SI7L?D=IT799EKDJI 9H;:?JEH:;FEI?J;:>;HH7H;:?=?J7B7II;JIM?J>BE9A ? 

         "EM;L;H 7HEKD:J>7JJ?C;B7J;7D:;7HBO BE9A ?;NF;H?;D9;:BEII;I


                                                                                                 
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 7IIE9?7J;: M?J> ?DL;IJC;DJI 7D: BE7DI 9EBB7J;H7B?P;: 8O !H7OI97B; I>7H;I 7I IFH;7:I

 M?:;D;: 7=7?DIJ J>; FH?9; E< J>; KD:;HBO?D= ?J9E?D  ,;9E=D?P?D= J>; D;;: <EH 8;JJ;H

 9ECFB?7D9; 9EDJHEBI 7I ?JI 9EDJHEBI M;H; ?D7:;GK7J;  BE9A ? H;IJHK9JKH;: ?JI H?IA

 =EL;HD7D9; >?H;:7D;MH?IAE<<?9;H7D:H?IAC7D7=;C;DJIJ7<< ;IF?J;IK<<;H?D=IK9>

 BEII;IJ>7J:H7C7J?97BBO?CF7?H;:BE9A ?UIEF;H7J?D=97F79?JO 58-43.3.78=;/?/+5

 =2/6=8=2/3;-><=86/;< #DIJ;7: BE9A ?FH;J;D:;:J>7JDEJ>?D=M7IMHED= <7?B?D=

 7D:H;<KI?D=JEH;L;7BH?IAJE?JI9KIJEC;HI .>;H;7IED?II?CFB; ?DJ>7JBE9A? ?M7I

 7BH;7:O?DIEBL;DJ 7D::?:DEJ>EB:FHEF;H9B?;DJH;I;HL;7II;JIJEF7O:;C7D:I?<J>;H;

 M7I7SHKDEDJ>;87DA T#D:;;: 7JJ>;J?C;9H;:?JEH:;FEI?J;:>;HH7H;:?=?J7B7II;JI 

 BE9A ?M7IB?A;BO?DIEBL;DJ O;J:?:DEJFK8B?9BO:?I9BEI;IK9> 7IJ>;OM;H;7JJ;CFJ?D=

 JE =;D;H7J; CEH; 9E?D :;FEI?JI JE 9EL;H ?DJ;H;IJ F7OC;DJI 8;?D= C7:; JE ;N?IJ?D=

 9KIJEC;HI #D:;;: 7IE<J>7JFE?DJ?DJ?C; BE9A ?B?A;BOM7IEF;H7J?D=DE:?<<;H;DJBOJ>7D

 7 JH7:?J?ED7B *EDP? I9>;C;  M>;H; D;M 7II;JI CKIJ 9EDIJ7DJBO 8; E8J7?D;: JE <;;:

 ;N?IJ?D=:?L?:;D:E8B?=7J?EDI 

        #D$7DK7HO BE9A ?H;=?IJ;H;:?JIEMD?J9E?DJHKIJM?J>J>;/ - -;9KH?J?;I

 7D:N9>7D=;ECC?II?ED E<<;H?D=BEM;H<;;IJ>7D!H7OI97B;UI?J9E?D.HKIJ JJ>7J

 J?C; BE9A ?:?:DEJH;L;7BJE?JI9KIJEC;HIJ>;C7II?L;BEII;I?J>7:?D9KHH;: 8KJM7I

 >?:?D= 
        #D'7H9> BE9A ?H7?I;:C?BB?ED FHEL?:?D=J>;9ECF7DOM?J>7L7BK7J?ED

 E<8?BB?ED 99EH:?D=JEBE9A ? ?J>;B:8?BB?ED?D7II;JI7D:>7: 9KIJEC;HI 

 KF<HEC ?DB7J; =7?D BE9A ?FHECEJ;:J>;9ED9;FJJ>7J?JM7II;9KH; 

 M>;D?JM7IDEJ 

        #DEH78EKJ$KBO BE9A ?97C;KD:;HH;=KB7JEHOI9HKJ?DO<HECCKBJ?FB;IJ7J;

 H;=KB7JEHI 9B7?C?D= J>7J BE9A ?UI # 799EKDJI 7CEKDJ;: JE I7B;I E< SKDH;=?IJ;H;:

 I;9KH?J?;IT (;M$;HI;O87DD;:J>;9H;7J?EDE<D;M799EKDJI M?J>EJ>;HIJ7J;I@E?D?D=?D

 H;=KB7JEHOI9HKJ?DOE<BE9A ? ?D9BK:?D=B787C7 %;DJK9AO .;N7I7D:0;HCEDJ 

        IE<;9;C8;H  BE9A ?UI<7BI;H;FH;I;DJ7J?EDI78EKJ#99EKDJI 7D:


                                                                                              
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 EJ>;H <7BI; H;FH;I;DJ7J?EDI >7: 8;;D ;DEHCEKIBO IK99;II<KB  #D:;;:  BE9A ? >7:

  #799EKDJI 7IM;BB7I 8?BB?ED?D?DL;IJEH7II;JI 

        #D ;8HK7HO   BE9A ? I;JJB;: M?J> J>; - <EH  C?BB?ED EL;H J>; #

 799EKDJI  HECJ>7JFE?DJ<EHM7H: BE9A ?H;J7?D;:;N?IJ?D=9KIJEC;H#799EKDJI 8KJ

 FHE>?8?J;:D;M799EKDJI<HEC8;?D=EF;D;: 7IM;BB7IFHE>?8?J;:CED;OJ7A;DEKJE<J>;

 ?DJ;H;IJ 8;7H?D=799EKDJ<HEC8;?D=FB79;:879A?DJE?J JJ>7JJ?C; BE9A ?7BIECEL;:

 7BB#7II;JI<HECBE9A ?&;D:?D=JEBE9A ? #D9 

        IJ>;-<EKD: BE9A ?EF;H7J;:7I7DKDH;=?IJ;H;:I;9KH?JO9ECF7DO M>?B;

 7BIEC?IH;FH;I;DJ?D=J>;B;L;BE<H?IA?DJ>;#799EKDJI "EM;L;H :;IF?J;8;?D=<?D;:

 C?BB?ED7D:8;?D=I7D9J?ED;:H;B7J;:JEJ>;#799EKDJI BE9A ?IJ?BB:?:DEJC7A;

 :?I9BEIKH;IH;=7H:?D=?JII?=D?<?97DJKD:;H97F?J7B?P7J?EDE<L?HJK7B7II;JIH;B7J?L;JE7II;JI

 >;B:?D#799EKDJI #D:;;: M>?B;BE9A ?>7:7:KJOJEH;L;7BJ>7J?<?JI#799EKDJ

 >EB:;HI7BBIEK=>JJECEL;CED;O<HECJ>;?H#799EKDJII?CFBO?DJEJ>;?HBE9A ?17BB;J

 799EKDJI J>7JBE9A ?MEKB:8;KD78B;JEC;;JIK9>H;GK;IJI 7D::;IF?J;ADEM?D=IK9>

 JE8;JHK; BE9A ?.3.78=C7A;IK9>:?I9BEIKH;I 
        #J?I<KHJ>;H8;B?;L;:J>7J:;IF?J;J>;-?DL;IJ?=7J?ED J>7JBE9A ?IK99;II<KBBO

 >?: <HEC J>; - J>7J ?JI # 99EKDJI M;H; =HEIIBO KD:;H97F?J7B?P;: 7D: J>7J  ?< ?JI

 9KIJEC;HI9EBB;9J?L;BO7JJ;CFJ;:JECEL;CED;O8;JM;;DJ>;?HBE9A ?#7D:17BB;J

 799EKDJI J>7JIK9>MEKB:97KI;J>;87DAJE8;?DIEBL;DJ?CC;:?7J;BO #D:;;: >7:?J

 8;;D H;L;7B;: JE J>; - 7J J>; J?C;  BE9A ? MEKB: >7L; B?A;BO 8;;D FB79;: ?DJE 7D

 ?CC;:?7J;H;9;?L;HI>?F 

        ;JM;;D7D:'7H9> BE9A ?>7:;NF;H?;D9;:H7F?:=HEMJ> =HEM?D=

 JH7:?D= LEBKC; <HEC  C?BB?ED JE CEH; J>7D  8?BB?ED  #D $KD;   BE9A ? H7?I;:

 7::?J?ED7B <KD:I ?D 7 S:EMD HEKD:T J>7J L7BK;: J>; 9ECF7DO 7J  8?BB?ED  J J>; J?C; 

 BE9A ?9B7?C;:J>7JIK9>M7IH;B7J;:JE79H7I>?DJ>;9HOFJEC7HA;JI 7IEFFEI;:JEJ>;

 <79JJ>7J?JM7IB?A;BO7BH;7:O?BB?GK?: >7L?D=?CFHEF;HBO:?II?F7J;:9KIJEC;H<KD:I>;B:?D

 JHKIJ8OJ>;IKFFEI;:87DA (EJBED=7<J;H ?D$KD; BE9A ?B?GK7J;:7B7H=;9B?;DJ 


                                                                                                   
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 .>H;;HHEMI7F?J7BM>;D?J<7?B;:JEC;;JC7H=?D97BBI #D9EDD;9J?EDJ>;H;M?J> )

 479*H?D9;JM;;J;:J>7JS1;<KBBO799;B;H7J;:J>;BE7D7D:<KBBOB?GK?:7J;:EH>;:=;:7BB

 J>; 7IIE9?7J;: 9EBB7J;H7B T ) *H?D9; 7BIE JM;;J;: SBE9A ?UI H?IA C7D7=;C;DJ

 FH79J?9;I7D:IOIJ;CI7BBEMKIJE79J:;9?I?L;BOJEC?J?=7J;H?IA?D799EH:7D9;M?J>EKH

 9EDJH79JI  .>;I; 79J?EDI C7O ?D9BK:; C7H=?D 97BBI 7D: 7II;J B?GK?:7J?ED M>;D

 7FFHEFH?7J; T=7?D IK9>IJ7J;C;DJIM;H;C?IB;7:?D= 

         )DEH78EKJ$KD;  BE9A ?DEJ;:J>7J?J>7:7 8?BB?EDBE7DFEHJ<EB?E 

 8KJJ>7J?J>7:;NFEIKH;E<C?BB?ED BE9A ?IJ7J;:S1;H;GK?H;C7DO 8KJDEJ7BB 

 8EHHEM;HIJEFEIJL7HO?D=B;L;BIE<9EBB7J;H7B:;F;D:?D=EDJ>;8EHHEM;HUI9H;:?JFHE<?B; T

 BJ>EK=>IK9>IJ7J;C;DJIM;H;C7:; BE9A ?:?:DEJC7A;7DOIJ7J;C;DJIJ>7JIK9>

 BE7DI?CF79J;:#799EKDJIRDEHJ>7JIK9>BEII;IM;H;EH9EKB:8;J?;:JE#799EKDJI 

 EHJ>7JIK9>BE7D;NFEIKH;H;B7J;:JE9KIJEC;HUI:?=?J7B7II;JI 

         #DB7J;$KD; BE9A ?JKHD;:JE .2<EH7C?BB?ED9H;:?J<79?B?JO BJ>EK=>

 BE9A ?D;;:;: .2UI9H;:?J<79?B?JOJEIKHL?L; BE9A ?C?IB;7:9KIJEC;HIJE8;B?;L;J>7J

 ?J :?: DEJ 7D: :?: DEJ FHEL?:; 7 9B;7H ;NFB7D7J?ED  7J J>; J?C;  <EH E8J7?D?D= J>; B?D; E<

 9H;:?J )D$KD;  )*H?D9;IJ7J;:?D7JM;;JJ>7JBE9A ?>7:I?=D;:7J;HC

 I>;;JM?J> .SJEI;9KH;7C?BB?EDH;LEBL?D=9H;:?J<79?B?JOFHEL?:?D=KIM?J>799;II

 JE97F?J7BJ>7J0>;=2/;,85<=/;<8>;,+5+7-/<2//=+7.95+=08;6<=;/71=2 T;CF>7I?I
 7::;:";7::;:J>7JSJ>;FHE9;;:IE<J>;9H;:?J<79?B?JO7H;?DJ;D:;:JE8;-87=;+-=>+55B

 <>,8;.37+=/ =8 +55 -53/7= ,+5+7-/< +-;8<< +55 +--8>7= =B9/<  #*  58+7

 -855+=/;+5+7.@355,/></.+<7//./.T;CF>7I?I7::;: "EM;L;H J>;IJ7J;C;DJI

 M;H;DEJJHK; 7IBE9A ?JH7DI<;HH;:9B?;DJ7II;JIJE .2 ?D9BK:?D=J>EI;H;B7J;:JE#

 799EKDJI 

         #D$KD;  BE9A ?7:L?I;:J>7J?J>7: 8?BB?ED?D9EC8?D;:7II;JI ?D9BK:?D=

 ?JIM7BB;J7D:#799EKDJI )D$KBO BE9A ?)*H?D9;IJ7J;:J>7JBE9A ?>7:DEJ

 :H7MDEDJ>;9H;:?JB?D;7D:J>7JEF;H7J?EDIM;H;9EDJ?DK?D=7IDEHC7B "EM;L;H BE9A ?

 ?D9H;7I;: ?JI 9H;:?J B?D; M?J> .2 JE  C?BB?ED  #D K=KIJ   :;7B J;HCI B;7A;:


                                                                                                         
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 IK==;IJ?D=J>7J .29EKB:8KOBE9A ?<EHEDBOC?BB?ED )*H?D9;J>;DJM;;J;:S#

 97D9ED<?HCJ>7JM;7H;DEJ8;?D=IEB:<EH' T

        )D(EL;C8;H  E?D:;IAFK8B?I>;:7D7HJ?9B;87I;:KFEDFH?L7J;<?D7D9?7B

 :E9KC;DJI J>7J FEA;: >EB;I ?D J>; 87B7D9; I>;;J E< .2UI I?IJ;H 9ECF7DO  B7C;:7

 ,;I;7H9>  #D:;;:  7BJ>EK=> DEJ H;L;7B;: JE 9KIJEC;HI  ?D ;7HBO (EL;C8;H  BE9A ?

 7JJ;CFJ;:JEC7A;78EHHEM?D=H;GK;IJED?JIBE7D7=H;;C;DJM?J> .2 M>?9>M7IDEJ

 >EDEH;: 

        )D(EL;C8;H  BE9A ?9E <EKD:;H7D:))'7HGK;PIJ7J;:?D7JM;;J

 M>?9>M7IH; JM;;J;:8OBE9A ?S.>;H;UI7BEJE<79J?ED?DJ>;9OFJEC7HA;JIJE:7OR

 IEC;J>?D= M; >7L; I;;D 8;<EH; 7D: 7H; KI;: JE C7D7=?D=  /98<3=< @3=2.;+@+5<

 =;+.371+7.5/7.371+;/+55>9+7.;>77371D;CF>7I?I7::;: ))'7HGK;P7BIE

 9B7?C;: J>7J S55 58-43 9;8.>-=< +;/ 0>55B 89/;+=387+5T 7D: J>7J BE9A ? MEKB:

 H;C7?D 7D ?D:;F;D:;DJ ;DJ?JO KDJ?B 7J B;7IJ $KBO   'EH;EL;H  '7HGK;P IJ7J;: J>7J

 BE9A ?M7IS9;8-/<<371+55@3=2.;+@+5<37537/@3=28>;&/;6<80%/;?3-/&8.+=/

 58-432+<+36/.=8./53?/;+55-53/7=@3=2.;+@+5<0+<=/;=2+78>;78;6+5&/;6<80

 %/;?3-/ T ;CF>7I?I 7::;:  KHJ>;H  '7HGK;P IJ7J;: J>7J BE9A ? M7I SEF;H7J?D= EKH

 8KI?D;II ?D B?D; M?J> EKH H?IA C7D7=;C;DJ <H7C;MEHA    1; HKD 7 FH7=C7J?9 7D:

 :?L;HI?<?;: B;D:?D= 8KI?D;II 7D: 285. ;3<4 -+93=+5 ;/</;?/< =8 2/59 9;8=/-= +1+37<=
 98=/7=3+558+7./0+>5=< T;CF>7I?I7::;:  ?D7BBO ED(EL;C8;H  '7HGK;P7BIE

 IJ7J;:S1;H;C7?D9ECC?JJ;:JEJH7DIF7H;D9O7D:I;HL?D=EKH9B?;DJI TBBE<'7HGK;PUI

 IJ7J;C;DJI M;H; C7J;H?7BBO 7D: M?BB<KBBO <7BI; :;IF?J; 8;?D= C7:; 7I )) E< BE9A ? 

 #D:;;: 7JJ>;J?D;'7HGK;PC7:;>;HIJ7J;C;DJI BE9A ?M7I7BH;7:O?BB?GK?: 

        )D(EL;C8;H 7JEH78EKJ7 C  BE9A ?JM;;J;:J>7J?JI/-87I;:

 87DA?D=F7HJD;H-?BL;H=7J;MEKB:8;E8I;HL?D=J>;0;J;H7DUI7O>EB?:7OED(EL;C8;H

   7D: J>7J H;IKBJ7DJBO  M?H; JH7DI<;HI MEKB: DEJ FHE9;II KDJ?B (EL;C8;H   #D
 9EDD;9J?EDJ>;H;M?J> BE9A ?7BIEJM;;J;:J>7JSHOFJEM?J>:H7M7BI7H;>7+00/-=/. BB

 9HOFJE M?J>:H7M7BI 9EDJ?DK; JE 8; FHE9;II;: ?D B?D; M?J> EKH J;HCI 7D: 9ED:?J?EDI T


                                                                                              
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 ;CF>7I?I?DJ>;EH?=?D7B BE9A ?7BIEJM;;J;:7JJ>7JJ?C;S1;H;9E=D?P; =?L;DJ>;

 9KHH;DJ C7HA;J 9ED:?J?EDI  J>7J J>?I :;B7O ?I B;II J>7D ?:;7B  58-43 @355 ;/6+37 0>55B

 89/;+=38787         +7.+55-;B9=8=;+7<+-=387<37-5>.371@3=2.;+@+5<@355-87=37>/

 +<78;6+5 T;CF>7I?I7::;: "EM;L;H B7J;ED(EL;C8;H 7JEH78EKJ

 *'-. BE9A ?7DDEKD9;:L?7JM;;JJ>7JS!?L;DJ>;B79AE<9B7H?JOEDJ>;IJ7JKI

 E< .2   M;7H;DEJ78B;JEEF;H7J;8KI?D;II7IKIK7B )KHFH?EH?JO>7I8;;D7D:M?BB

 9EDJ?DK; JE 8; JE FHEJ;9J EKH 9B?;DJI 7D: J>;?H ?DJ;H;IJI T KHJ>;H  BE9A ? IJ7J;: S/DJ?B

 J>;H; ?I <KHJ>;H 9B7H?JO  M; 7H; 5363=371 EKH FB7J<EHC 79J?L?JO  ?D9BK:?D= F7KI?D= 9B?;DJ

 M?J>:H7M7BI   1;H;GK;IJJ>7J9B?;DJIDEJ:;FEI?JJEBE9A ?17BB;JEH#DJ;H;IJ99EKDJI

 7JJ>?IJ?C; T;CF>7I?I7::;: (EIJ7J;C;DJM7IC7:;DEH7DOFHE>?8?J?ED?CFB;C;DJ;:

 J>7JFH;L;DJ;:9H;:?JEHI 9KIJEC;HI<HECJH7DI<;HH?D=J>;?HH7H;:?=?J7B7II;JI8;JM;;D

 J>;?H#S9>;9A?D=T799EKDJ7D:J>;?H17BB;J99EKDJSI7L?D=IT799EKDJ 

        BJ>EK=>?JM7IC7:;9B;7HJ>7JBE9A ?M7IDEJ>EDEH?D=M?J>:H7M7BIEKJE<J>;

 87DAEH799;FJ?D=CED;O?DJEJ>;87DA M>7JBE9A ?9EDJ?DK;:JEF;HC?JM7I37=/;7+5

 JH7DI<;HI <HEC ?JI # 799EKDJI ?DJE BE9A ? 17BB;J 799EKDJI  #D:;;:  87I;: KFED

 BE9A ?UI ?DIJ7DJ <?B?D=  ?J ?I 8;B?;L;: J>7J EL;H   9KIJEC;HI 7JJ;CFJ;: JE C7A;

 JH7DI<;HI<HEC#799EKDJIJEJ>;?H17BB;J99EKDJIEDEH78EKJ(EL;C8;H   

 J EH 78EKJ J>7J J?C;  BE9A ? 8;=7D FH;F7H?D= <EH 87DAHKFJ9O  BJ>EK=> ?J M7I DEJ
 :?I9BEI;:7JJ>;J?C; B7C;:7,;I;7H9>>7::;<7KBJ;:EDC?BB?EDMEHJ>E<BE7DIJE

 BE9A ?  #D:;;:  7I E< J>7J J?C;  BE9A ? 7BIE >;B: 7FFHEN?C7J;BO  C?BB?ED E<

 9KIJEC;HUI:?=?J7B7II;JI7J .2 7=7?DIJIEC;J>?D=J>7JM7IDEJFHEF;HBO:?I9BEI;: 

        ;97KI;BE9A ?>7:BEIJC?BB?EDEHCEH;JE .27D:EJ>;HI ?JM7I79JK7BBO

 KD78B;JE>EDEHJ>;J>EKI7D:IE<799EKDJJH7DI<;HH;GK;IJIED(EL;C8;H   

 O;JJ>;I;<79JIM;H;DEJH;L;7B;:JE?JI9KIJEC;HI #DIJ;7: BE9A ?9EDJ?DK;:JEC?IB;7: 

 #D:;;:  M>7J BE9A ? H;L;7B;: JE J>; 87DAHKFJ9O 9EKHJ <EH J>; <?HIJ J?C; ED EH 78EKJ

 ;9;C8;H     M7I J>7J ED (EL;C8;H   M>;D BE9A ? >7: F7KI;: ;NJ;HD7B

 M?J>:H7M7BI 7J  *'  J>7J M>7J ?J >7: 7BIE :ED; M7I FH;L;DJ ?JI 9KIJEC;HI <HEC


                                                                                                    
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 JH7DI<;HH?D=8;JM;;DJ>;?H#7D:17BB;J99EKDJI BE9A ?H;<;HIJEJ>?I<H7K:7IJ>;

 S*B7J<EHC *7KI;T  #D ?JI ;9;C8;H  87DAHKFJ9O <?B?D=  BE9A ? :;I9H?8;: IK9> 7I
 <EBBEMIM>?9>M7IKD:?I9BEI;:JE9KIJEC;HI7JJ>;J?C;

        
               .>; *B7J<EHC *7KI; JEEA ;<<;9J J>; CEC;DJ E< J>; *B7J<EHC
               *7KI;.?C;-J7CF .>;H;7<J;H 79B?;DJUI78?B?JOJE;<<;9JK7B7
               M?J>:H7M7B JH7DI<;H EHJH7:;EDJ>;FB7J<EHCM7IJ;HC?D7J;:
               ?D 7D ;<<EHJ JE C7?DJ7?D J>; IJ7JKI GKE <EH 7BB 9B?;DJIU :?=?J7B
               7II;JI >;B: ED J>; FB7J<EHC 7I E< J>; *B7J<EHC *7KI; .?C;
               -J7CF #D799EH:7D9;M?J>J>;*B7J<EHC*7KI; J>;;8JEHI
               ?CC;:?7J;BO 7 9;7I;: JE H;9EH: JH7DI79J?EDI ?D J>; / - 
               17BB;J &;:=;H 7D: #DJ;HD7J?ED7B 17BB;J &;:=;H 7D: 8
               :?I9EDJ?DK;: J>; ED=E?D= :7?BO JHK; KFI E< J>; 1&& )
               17BB;JI  J>; #DJ;HD7J?ED7B 07KBJ 17BB;JI  J>; / -  17BB;J
               &;:=;H 7D:J>;#DJ;HD7J?ED7B17BB;J&;:=;H;79>7I:;<?D;:
               8;BEM  7D: 9;7I;: C7A?D= :?=?J7B 7II;J JH7DI<;HI ?D
               9EDD;9J?ED J>;H;M?J>  -?CFBO FKJ  J>; ;8JEHIU 9B?;DJI M;H;
               KD78B; JE  7D: :?: DEJ  ;<<;9JK7J; 7DO JH7DI79J?EDI ED J>;
               BE9A ? FB7J<EHCI J>; CEC;DJ E< J>; *B7J<EHC *7KI; .?C;
               -J7CF 
               
        (EJ EDBO M7I IK9> DEJ :?I9BEI;: JE 9KIJEC;HI 7J J>; J?C;  8KJ JE J>; 9EDJH7HO 

 BE9A ?H;FH;I;DJ;:J>7J?JIM;8I?J;7D:7FFIM;H;EF;H7J?D=9EHH;9JBO7D:H;<B;9J?D=JHK;

 7D:799KH7J;799EKDJL7BK;I 

        II;J<EHJ>78EL; ED(EL;C8;H  9B7?C7DJ E8@;9JEHCEL;::?=?J7B7II;JI

 &?J;9E?D :;I9H?8;: 78EL; <HEC BE9A ?UI # 799EKDJ JE BE9A ?UI 17BB;J 799EKDJ 

 H;9;?L?D= 7 9ED<?HC?D= ;C7?B I>EHJBO J>;H;7<J;H J>7J IJ7J;: C*8>; +<</=< 2+?/ ,//7

 <>--/<<0>55B =;+7<0/;;/. 0;86 B8>; 58-43 7=/;/<= --8>7= 37=8 B8>; 58-43

 )+55/=D;CF>7I?I7::;: 'EH;EL;H J>;?DJ;HD7B799EKDJ?DJ;H<79;:?IFB7O;:J>7JIK9>

 >7:E99KHH;: 7BED=M?J>7H;=?IJ;H;DJHO?DJ>;BE9A ?9KIJEC;H799EKDJJ>7JI>EM;:
 J>7JIK9>>7:E99KHH;: .>KI                         8;B?;L;:J>7J>;H;DJ?H;87B7D9;E<:?=?J7B

 7II;JI ?D >;H #   &?J;9E?D 7D:   ?J9E?D >7: 8;;D I7<;JO

 CEL;:JE>;H17BB;J99EKDJ 3;J 7I78EL; J>7JM7I7BB 799EH:?D=JEBE9A ? 79ECFB;J;

 <7BI;>EE: 


                                                                                                  
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          )D(EL;C8;H  BE9A ?:;D?;:HKCEHIJ>7J7C7@EH?JOE<?JI7II;JIM;H;

 8;?D= 9KIJE:?;: 7J 9EBB7FI;: ;N9>7D=; .2  8KJ <?D7BBO H;L;7B;: FK8B?9BO J>7J ?J >7:

 SI?=D?<?97DJ;NFEIKH;JE .2T?D9BK:?D=J>7JL7H?EKI7II;JIM;H;S>;B:7J .2 9EC T)D

 (EL;C8;H BE9A ?<KHJ>;HIJ7J;:SJJ>?IJ?C; M?J>:H7M7BI<HECBE9A ?9EDJ?DK;JE

 8;F7KI;: )/+5<8-87=37>/=8+<4-53/7=<78==8<>,63=+7B./98<3=<=858-43

 )+55/=8;7=/;/<=--8>7=<D;CF>7I?I?DJ>;EH?=?D7B 

          #D:;;:  MEHA?D= JE FH;F7H; 7 87DAHKFJ9O <?B?D=  BE9A ? 9EDJ?DK;: JE C?IB;7: 

 9B7?C?D=
                 .>;H;7H;7DKC8;HE<I9;D7H?EIJ>7JC7O8;7L7?B78B;JEKI 
                 7D: M; 7H; :E?D= J>; MEHA DEM JE :;J;HC?D; J>; 8;IJ F7J>
                 <EHM7H:  BE9A ? >7I J>; D;9;II7HO B?GK?:?JO JE ;NFBEH; 7BB
                 EFJ?EDI7D:M;>7L;;D=7=;:;NF;HJEKJI?:;7:L?IEHIJ>7J7H;
                 >;BF?D=KID7L?=7J;BE9A ?UID;NJIJ;FI "7OD;I7D:EED;
                 9EDJ?DK;IJEI;HL;7IEKHFH?C7HOEKJI?:;9EKDI;B 7D:,!
                 >7I8;;D;D=7=;:7IEKH<?D7D9?7B7:L?IEH 
                 
          ;IF?J;ADEM?D=J>7J?J>7:DEJC7:;9B?;DJJH7DI<;HI7IH;GK;IJ;:ED(EL;C8;H

   8;JM;;D # 7D: 17BB;J 799EKDJI  BE9A ? 9EDJ?DK;: DEJ JE H;L;7B IK9> JE ?JI
 9KIJEC;HI 

          )D (EL;C8;H     BE9A ? H;L;7B;: <EH J>; <?HIJ J?C; FK8B?9BO J>7J ?J M7I

 FH;F7H?D=7FEJ;DJ?7B87DAHKFJ9O<?B?D=8;97KI;E<?JISI?=D?<?97DJ;NFEIKH;TJE87DAHKFJ
     .2 L;DJ>;D BE9A ?I7?:DEJ>?D=78EKJ>7L?D=DEJC7:;?DJ;HD7BJH7DI<;HI8;JM;;D

 #7D:17BB;J799EKDJI 7IC7DOE<IK9>7II;JI>7:8;;DJH7DI<;HH;:8OBE9A ?JE

     .2M?J>EKJFHEF;H:?I9BEIKH;I )D(EL;C8;H 0#-I;DJBE9A ?7B;JJ;HJ;HC?D7J?D=

 ?JIH;B7J?EDI>?FM?J>J>;87DA 7D:;<<;9J?L;BO;D:?D=        KI;E<J>;BE9A ?9HOFJE

 H;M7H:I9H;:?J97H: 

          )D(EL;C8;H  BE9A ?C7:;7D;MFEIJL?7.M?JJ;H7BED=M?J>7 +

 S1;ADEMJ>7JEKH9B?;DJ9ECCKD?JO>7I7BEJE<GK;IJ?EDI 1;7H;<E9KI;:ED:E?D=J>;

 KJCEIJJE8;JH7DIF7H;DJ7HEKD::;9?I?EDIH;B7J;:JEEKHF7KI; FHE:K9JI 7D:FB7J<EHC

 79J?L?JO T .>;H;?D  BE9A ? IJ7J;: J>7J ?J >7: F7KI;: S6+7B E< EKH FB7J<EHC 79J?L?J?;I T



                                                                                                 
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 "EM;L;H 7IJE9KIJEC;H799EKDJI BE9A ?:?:DEJH;L;7BJE9KIJEC;HIJ>7J?J>7:DEJ

 JH7DI<;HH;: 7II;JI ?DJ;HD7BBO 8;JM;;D # 7D: 17BB;J 799EKDJI  #D:;;:  BE9A ? M7I

 >?:?D= J>; <79J J>7J ?J M7I =HEIIBO KD:;H97F?J7B?P;: ?D9BK:?D= 8O JH7DI<;HH?D= 7II;JI JE

     .2 B;7:?D=JE?JI?D78?B?JOJE>EDEHJH7DI<;HI JH7DI<;H7II;JI8;JM;;D#7D:17BB;J

 799EKDJI  KHJ>;H  BE9A ? 7:L?I;: J>7J ?JI 9KIJEC;HI 9EKB: C-87=37>/ =8 -2/-4 =2/

 58-43 +99 08; +-->;+=/ 3708;6+=387 +,8>= B8>; +--8>7= ,+5+7-/D ;CF>7I?I
 7::;: 

          )D (EL;C8;H     7J  7 C  BE9A ? C7:; CKBJ?FB; JM;;JI ?D<EHC?D=

 J>7J ?J >7: <?B;: <EH 87DAHKFJ9O  D:  ?D 7DEJ>;H +  IJ7J;: J>7J ?J >7: F7KI;: SCEIJ

 79J?L?J?;IEDEKHFB7J<EHC TL;D7<J;H<?B?D=<EH87DAHKFJ9O BE9A ?9EDJ?DK;:JEC?IB;7:

 7D: 8; :;9;FJ?L; 7D: DEJ H;L;7B JE ?JI 9KIJEC;HI J>7J ?J >7: DEJ 8;;D 78B; JE >EDEH

 JH7DI<;H H;GK;IJI 8;JM;;D (EL;C8;H   8;JM;;D # 7D: 17BB;J 799EKDJI  )D

 (EL;C8;H  BE9A ?<?B;:<EH87DAHKFJ9O?DJ>?I9EKHJ 

          )D EH 78EKJ ;8HK7HO     BE9A ? 7JJ;CFJ;: JE C?IB;7: 9KIJEC;HI ?DJE

 ?CFHEF;HBO IK8C?JJ?D= 9B7?C <EHCI 7:EFJ?D= ?JI S*B7J<EHC *7KI;T :7J; 7I J>; :7J; E<

 L7BK?D=79KIJEC;HUI:?=?J7B7II;JI  ?HIJ BE9A ?<?BB;:EKJ?D9EHH;9J9B7?C<EHCI87I;:

 KFED?JII;B;9J;:S*B7J<EHC*7KI;T ? ; J>;ED;?J>7:D;L;H:?I9BEI;:?CF79J;:?DJ;H

 87DA799EKDJJH7DI<;HI8;JM;;D#7D:17BB;J799EKDJI 

          -;9ED:  BE9A ? ;D9EKH7=;: 9KIJEC;HI JE KJ?B?P; J>; *B7J<EHC *7KI; :7J; E<

 (EL;C8;H  JE L7BK; J>;?H :?=?J7B 7II;JI ED J>;?H 9B7?C <EHCI  "EM;L;H  ?D EJ>;H

 C7J;H?7BIDEJFH;F7H;:8OBE9A ? ?D9BK:?D=J>;9B7?C<EHCIJ>;CI;BL;I 9KIJEC;HIM;H;

 7IA;:JE?:;DJ?<OJ>;?H9B7?CI87I;:KFEDJ>;?H# 17BB;J799EKDJ87B7D9;I7IE<J>;

 :7J;E<BE9A ?UI87DAHKFJ9OED(EL;C8;H  

          ,;IKBJ7DJBO  H;:?JEH FHEF;HBO C7:; 9B7?CI 7=7?DIJ BE9A ? 17BB;J && <EH J>;?H

 7II;JI?D<KBB799EH:M?J>J>;9B7?C<EHC DEJ7IE<J>;:7J;I;B;9J;:8OBE9A ? ? ; ?JI

 KD?B7J;H7BBO9>EI;DS*B7J<EHC*7KI;TJ?C; 

          )D '7O     7D EH:;H M7I I;9KH;: <HEC J>; 87DAHKFJ9O 9EKHJ DEJ EDBO


                                                                                                  
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 7KJ>EH?P?D= KD9EDJ;IJ;: M?J>:H7M7BI E< M7BB;J <KD:I  8KJ 7BIE F;HC?JJ?D= BE9A ? JE

 SKF:7J;J>;KI;H?DJ;H<79; T#D9EDD;9J?EDJ>;H;M?J> J>;9EKHJC7:;?J9B;7HJ>7J?JM7IDEJ

 C7A?D= S7 :;J;HC?D7J?ED  ?CFB?97J?ED  EH 7:C?II?ED 7I JE J>; IJ7JKI E< FHEF;HJO E< J>;

 ;IJ7J;E<7DO7II;JI>;B:?D#    T

         )D $KD;     BE9A ? H;L;7B;:  <EH J>; <?HIJ J?C; :?H;9JBO JE 9KIJEC;HI  J>;

 H;7IED?J>7:7JJ;CFJ;:JE8;IE:;9;FJ?L;M?J>H;=7H:JEJ>;9B7?C<EHCI IJ7J?D=?D7D

 ;C7?BJ>7J
                 )D(EL;C8;H  7J* ' .? ; (EL;C8;H 
                  7J  /.  BE9A ? ?D?J?7J;: 7 F7KI; ED FB7J<EHC
                 79J?L?JO J>; S*B7J<EHC *7KI;T  ?D9BK:?D= JH7DI<;HI 7D:
                 M?J>:H7M7BI JEFHEJ;9J9B?;DJIU?DJ;H;IJI7D:;DIKH;;GK7B?JO
                 E< JH;7JC;DJ 7CED= I?C?B7HBO I?JK7J;: 9B?;DJI  EBBEM?D= J>;
                 *B7J<EHC*7KI; ?JJEEABE9A ?7F;H?E:E<J?C;JE:?I78B;7
                 9B?;DJUI78?B?JOJEH;GK;IJJH7DI<;HI JH7:;I 7D:M?J>:H7M7BIED
                 J>; BE9A ? FB7J<EHC  0 + -53/7= ;/:>/<=/. 87/ 8; 68;/
                 =;+7<+-=387< 87 =2/ 58-43 95+=08;6 +0=/; =2/ #5+=08;6
                 #+></<>-2=;+7<+-=387<@/;/369;89/;5B.3<95+B/.87
                 =2/ ></; 37=/;0+-/ +< 30 <>-2 =;+7<+-=387 ;/:>/<=< 2+.
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       Case 22-19361-MBK                           Doc 2033 BlockFi
                                                             FiledObjection
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                                                                            Response Portal
                                                                                                                                                            Desc Main
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 BlockFi Objection Response Portal
 Introduction

  On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, "BlockFi") each filed a voluntary pe ition for relief under Chapter 11 of the United States Bankruptcy
  Code in the United States Bankruptcy Court for the District of New Jersey (the “Court”). Thereafter, the Bankruptcy Court set March 31, 2023, at 5:00 p m., as the deadline
  for all persons and entities that assert a claim against BlockFi, arising prior to November 28, 2022, to imely file a proof of claim.


  You previously filed a claim against BlockFi Wallet LLC for the return of funds held in your Wallet Account (“Wallet Proof of Claim”). Funds that you may have in your
  Wallet Account are available for withdrawal by you. For additional information on withdrawing your BlockFi Wallet funds, please click here.


  On November 14, 2023, BlockFi filed an objection (the “Objection”) to the claim you filed against BlockFi Wallet LLC. The purpose of the Objection is to expunge the claims
  register of this proof of claim. Neither the Objection nor the relief sought therein will affect your right to withdraw wallet funds. Moreover, any claim you have for
  funds related to BIA or retail loan collateral is not affected by the Objection, and the proposed expungement of your Wallet Proof of Claim does not affect the
  allowance of or distribution upon non-Wallet claims properly filed against the BlockFi estates or scheduled by BlockFi.


  In order to assist he Court with collecting responses to the Objection, Kroll Restructuring Administration LLC is collecting responses electronically through this portal or by
  hard copy at the address below. For your response to be timely, it must be received by Kroll on or before January 4, 2024 at 4:00 p.m. prevailing Eastern Time.




                                      First Class Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      Grand Central Station, PO Box 4850
                                      New York, NY 10163-4850


                                      Overnight Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      850 Third Avenue, Suite 412
                                      Brooklyn, NY 11232


  Please follow the steps below to logon to this portal and to submit your response to he Objection. If you have any questions on this portal please feel free to reach out to
  Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Authorization

  On November 20, 2023, Kroll sent you an email regarding BlockFi’s objection to your BlockFi proof of claim. This email contains a 16-digit Unique ID number. Please enter
  the Unique ID number in the field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used only once.


  Please enter your Unique ID here

   738F-706P-297N-563X


      Where can I find my Unique ID?




 Claim Information

  Claim Number

   8250

  Claim Name




  Claimant Address on File




BlockFi Objection Response Portal                                                         1/3
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                                                       FiledObjection
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                                                                      Response Portal
                                                                                                                                            Desc Main
                                                    Document        Page 80 of 233
  To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
  where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.

  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




  To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
  settle, or otherwise resolve the Objection on your behalf.
  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




BlockFi Objection Response Portal                                               2/3
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      Case 22-19361-MBK              Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17                            Desc Main
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                                                  Debtor: BlockFi Inc et al.
                                     Relevant Case Numbers: BlockFi Wallet LLC 22-19366
                                                 Twelfth Omnibus Objection

Any funds held in your Wallet are NOT impacted by the expungement of the BlockFi Wallet LLC claim amounts below.

To view and withdraw your Wallet balance, login to BlockFi.com. For more information on Wallet withdrawals, view the FAQs
at https://blockfi.com/wallet-withdrawal-faqs/. For more information on the claims process, view the FAQs at https://
blockfi.com/proof-of-claim-faqs/.

Any claims you may have related to your BlockFi Interest Account (BIA) or your retail loan collateral are also NOT affected by
the expungement of the claims below. Any proof of claims you may have filed regarding your BIA or retail loan collateral claims
will be handled separately. If you did not file any other proofs of claim, you will receive a pro-rata distribution based on your
scheduled amounts according to the Debtors' books and records.




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                      ůĂŝŵ EŽ͘           Entity
                                                                        Wallet balances are already available for
                                                                        withdrawal at BlockFi.com and are not affected by
                                      BlockFi Wallet                    this objection because those funds are not
                         8250                              Expunge      property of the estate; any claims for funds you
                                           LLC
                                                                        may have related to BIA or retail loan collateral are
                                                                        not impacted by this objection.
       Case 22-19361-MBK                           Doc 2033 BlockFi
                                                             FiledObjection
                                                                    01/08/24       Entered 01/08/24 15:34:17
                                                                            Response Portal
                                                                                                                                                            Desc Main
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 BlockFi Objection Response Portal
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  On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, "BlockFi") each filed a voluntary pe ition for relief under Chapter 11 of the United States Bankruptcy
  Code in the United States Bankruptcy Court for the District of New Jersey (the “Court”). Thereafter, the Bankruptcy Court set March 31, 2023, at 5:00 p m., as the deadline
  for all persons and entities that assert a claim against BlockFi, arising prior to November 28, 2022, to imely file a proof of claim.


  You previously filed a claim against BlockFi Wallet LLC for the return of funds held in your Wallet Account (“Wallet Proof of Claim”). Funds that you may have in your
  Wallet Account are available for withdrawal by you. For additional information on withdrawing your BlockFi Wallet funds, please click here.


  On November 14, 2023, BlockFi filed an objection (the “Objection”) to the claim you filed against BlockFi Wallet LLC. The purpose of the Objection is to expunge the claims
  register of this proof of claim. Neither the Objection nor the relief sought therein will affect your right to withdraw wallet funds. Moreover, any claim you have for
  funds related to BIA or retail loan collateral is not affected by the Objection, and the proposed expungement of your Wallet Proof of Claim does not affect the
  allowance of or distribution upon non-Wallet claims properly filed against the BlockFi estates or scheduled by BlockFi.


  In order to assist he Court with collecting responses to the Objection, Kroll Restructuring Administration LLC is collecting responses electronically through this portal or by
  hard copy at the address below. For your response to be timely, it must be received by Kroll on or before January 4, 2024 at 4:00 p.m. prevailing Eastern Time.




                                      First Class Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      Grand Central Station, PO Box 4850
                                      New York, NY 10163-4850


                                      Overnight Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      850 Third Avenue, Suite 412
                                      Brooklyn, NY 11232


  Please follow the steps below to logon to this portal and to submit your response to he Objection. If you have any questions on this portal please feel free to reach out to
  Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Authorization

  On November 20, 2023, Kroll sent you an email regarding BlockFi’s objection to your BlockFi proof of claim. This email contains a 16-digit Unique ID number. Please enter
  the Unique ID number in the field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used only once.


  Please enter your Unique ID here

   495P-672K-995A-733Y


      Where can I find my Unique ID?




 Claim Information

  Claim Number

   9943

  Claim Name




  Claimant Address on File




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                                                       FiledObjection
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                                                                      Response Portal
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                                                    Document        Page 84 of 233
  To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
  where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.

  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




  To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
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  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




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                                                                                             11/22/2023




 To the court:


         I successfully performed a transfer in my BlockFi account from my BIA wallet to my Wallet on
 11/11/2022 in the amount of $11,081.19. I then iniƟated a transfer of those funds to my bank account
 via ACH withdrawal.

           Both of these acƟons were done well in advance of the Bankruptcy filing of 11/28/2022 by
 BlockFi. I should be enƟtled to the full amount of the funds in my wallet at the Ɵme of the Bankruptcy
 filing just like other claimants in this case.
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Cryptocurrency   Amount        TransactionType   ConfirmedAt
GUSD                 Ͳ11081.19 AchWithdrawal
GUSD              11081.19825 BIAWithdraw        11/11/202219:19
GUSD              67.85156713 InterestPayment    10/31/202223:59   Thisisadownloadofmytransactionhistory
GUSD               65.2736382 InterestPayment     9/30/202223:59    whichclearlyshowsthetransferfrommy
GUSD              67.03642461 InterestPayment     8/31/202223:59     BIAaccounttomywalleton11/11well
GUSD              66.62595237 InterestPayment     7/31/202223:59     beforethe11/28bankruptcyfilingdate
GUSD               59.9741775 InterestPayment     6/30/202223:59
GUSD              61.61823655 InterestPayment     5/31/202223:59
GUSD               61.3394586 InterestPayment     4/30/202223:59
GUSD              69.26092354 InterestPayment     3/31/202223:59
GUSD              67.76568288 InterestPayment     2/28/202223:59
GUSD              76.52546571 InterestPayment     1/31/202223:59
GUSD              75.96744246 InterestPayment    12/31/202123:59
GUSD               72.9979665 InterestPayment    11/30/202123:59
GUSD              68.90254246 InterestPayment    10/31/202123:59
GUSD               64.3200096 InterestPayment     9/30/202123:59
GUSD              62.00970975 InterestPayment     8/31/202123:59
GUSD                     20.51 BonusPayment       8/13/202123:59
GUSD               51.5112242 InterestPayment     7/31/202123:59
GUSD                     2000 AchDeposit            7/8/20218:50
GUSD                     5000 AchDeposit           7/7/202111:46
GUSD                       Ͳ20 AchWithdrawal        7/7/20217:04
GUSD               20.3516616 InterestPayment     6/30/202123:59
GUSD               1.35616438 InterestPayment     5/31/202123:59
GUSD                     3000 AchDeposit          5/29/202113:18
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 BlockFi Objection Response Portal
 Introduction

  On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, "BlockFi") each filed a voluntary pe ition for relief under Chapter 11 of the United States Bankruptcy
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 Authorization

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  Please enter your Unique ID here

   204D-942V-883E-216B


      Where can I find my Unique ID?




 Claim Information

  Claim Number

   9962

  Claim Name




  Claimant Address on File




BlockFi Objection Response Portal                                                         1/3
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  To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
  where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.

  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




  To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
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  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




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 BlockFi Inc. Objection Response Processing Center

 c/o Kroll Restructuring Administration LLC

 Grand Central Station, PO Box 4850

 New York, NY 10163-4850



 Sir or Ma’am:



 I paid off my loan with BlockFi on 11/6/22. Collateral consisting of 1.1 BTC has yet to be returned to my
 wallet. I filed claims to no avail. I have received no correspondence. See all attached documentation in
 regards to my loan initiation and payoff. Loan ID:             . Please call, text or email to help me
 resolve this issue. NOTE: My physical address when I had the loan is different than that listed above. My
 previous address when loan was active was:



 Best Regards,
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 BlockFi Objection Response Portal
 Introduction



 Claim Information

  Claim Number

   14072

  Claim Name




  Claimant Address on File




  To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
  where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.

  Name:




  Street1




  Street2




  City




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  Email Address




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  Name:




  Street1




  Street2




  City




BlockFi Objection Response Portal                                               1/3
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      I certify that I have completed my E-registra ion form on the Kroll Restructuring Administration Forms Portal. I hereby agree that my electronic signature herein complies
   with the U.S. federal ESIGN Act of 2000, and accordingly shall have he same legal effect as my original signature.
  If you have any questions on this portal please feel free to reach out to Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at
  blockfiinfo@ra kroll.com.




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                                          January 4, 2024

 Re:    Wind-Down Debtors’ Twelfth Omnibus Objection to Claims Filed Against BlockFi Wallet
        LLC (WALLET ACCOUNT FUNDS ARE NOT PROPERTY OF THE ESTATE AND ARE AVAILABLE
        FOR WITHDRAWAL IN FULL) [Docket No. 1878

        Claim Number: 14072
        Claimant Name:
        Unique ID: 473Y-208K-901Q-343K

 To who it may concern:

               files this Response to the above referenced objection and would respectfully show
 as follows:

        1.     To the extent any funds of                     is in the possession of, or in any
 account maintained by, any of the debtors attributable to the attached Exchange Agreement
 are funds owned and/or belonging to                                   (which is misnamed as
             ” in the Exchange Agreement).

 Respectfully submitted,




 Attorney for
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                                                       EXCHANGE AGREEMENT
                                                          April 28, 2022


            This Exchange Agreement (“Agreement”) is entered into effective as of the date first written above, by
            and between                    , a Texas limited liability company (“Exchanger”) and                 ,
            a Texas limited liability company (“Intermediary” or “                 ”).

            RECITALS

                A. Exchanger owns certain real property (the “Relinquished Property” or “RQ”) as described in the
                   attached Exhibit “A”;

                B. Exchanger desires and intends to exchange the Relinquished Property for other like-kind property
                   (the “Replacement Property” or “RP”) that Exchanger will designate in accordance with this
                   Agreement, and in compliance with the provisions Section 1031 of the Internal Revenue Code of
                   1986, as amended (“Code”).

                C. Exchanger has entered into a purchase and sale agreement (“RQ Sale Agreement”) to sell the
                   Relinquished Property to the buyer listed in the RQ Sale Agreement (the “Buyer”), and a written
                   Assignment of Seller’s Interest in RQ Sale Agreement to Deferred 1031 attached in Exhibit “B”
                   (“Sale Assignment”);

                D. Exchanger intends to acquire the Replacement Property from a seller or sellers (the “Seller”), who
                   will transfer the Replacement Property under a written purchase agreement (“RP Purchase
                   Agreement”) which will be assigned to               (“Purchase Assignment”);

                E. Intermediary will facilitate the Exchange, as defined below, in accordance with the terms,
                   covenants and conditions of this Agreement; and

                F. It is the intent of the Exchanger to effectuate a tax-deferred exchange according to the Code.
                   Intermediary shall act in the capacity of qualified intermediary, as defined in the Treasury
                   Regulation 1.1031(k)-1(g)(4).

                G. Intermediary agrees to facilitate the like-kind exchange by 1) acquiring the Relinquished Property
                   from Exchanger, 2) immediately transferring the Relinquished Property to Buyer and 3) depositing
                   all net proceeds of the sale into an account for the benefit of Exchanger (“Exchange Funds”),
                   subsequently 4) acquiring the Replacement Property from Seller with Exchanger’s Funds, and 5)
                   transferring the Replacement Property to Exchanger or to an entity specified by Exchanger which
                   is disregarded for Federal income tax purposes and which is treated as the same taxpayer as
                   Exchanger, (together, all steps defined as the “Exchange”).

                H. It is the intention of the parties that the transaction contemplated by this Agreement should
                   qualify for like-kind exchange treatment pursuant to IRC §1031 and Treasury Regulation
                   1.1031(k)-1(g)(4). If any provision of this Agreement is inconsistent with this intention, it shall be



            Exchange Agreement –                                                                               Page 1 of 12
            Exchanger
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                     modified to the extent necessary to comply with the requirements of IRC §1031 and related
                     Treasury Regulations.



                                                            AGREEMENT

            THEREFORE, for good and valuable consideration, the parties hereby agree to the following terms and
            conditions:



            ARTICLE I - DEFINITIONS

            1.1    Relinquished Property. “Relinquished Property” is defined in Recital A and means the real
            property owned by Exchanger and used for productive use in a trade or business or held for investment.

            1.2     Replacement Property. “Replacement Property” is defined in Recital B and means the real
            property that Exchanger will identify during Exchange Period (as defined below) and that Exchanger will
            either use for productive use in a trade or business or hold for investment.

            1.3     Exchange Account and Exchange Funds. Intermediary will deposit proceeds from the Relinquished
            Property closing of Exchange Funds into an account (the “Exchange Account”) in accordance with Section
            5 and 6 of this Agreement. Exchange Funds shall be (i) reduced by or used to fund all closing costs,
            including, without limitation, all fees, title transfer costs, documentary transfer fees and taxes, real estate
            and other brokerage commissions, auction fees, registration fees, sales and use taxes, prorations, closing
            costs and any other amounts otherwise chargeable to Exchanger under the RQ Sale Agreement, to the
            extent such costs are paid by the Intermediary at or prior to the closing of the RQ Sale Agreement, or are
            customarily incurred in connection with the disposition of such type of Relinquished Property and (ii)
            increased by any principal payments and accrued interest that Intermediary receives on any note, contract
            or deed of trust arising from the RQ Sale Agreement, (iii) increased by any additional cash received by
            Intermediary from Exchanger for credit to the Exchange Account, and (iv) reduced by the total costs and
            expenses that Intermediary incurs relating to the acquisition and the conveyance of the Replacement
            Property to Exchanger, including, without limitation, the aggregate of all deposits and expenditures made
            by Intermediary and attributable to the acquisition of the Replacement Property, real estate and other
            brokerage commissions, registration fees, proration of expenses (including interest on encumbrances,
            real property taxes, transfer and withholding taxes, documentary transfer fees and taxes, ad valorem
            taxes, sales and use taxes, etc.), improvement expenses, escrow fees, closing costs, title insurance
            premiums and any other costs or charges incurred by Intermediary in connection with the acquisition or
            transfer of the Replacement Property. Exchange Funds shall exclude any amount of existing mortgage,
            trust deed or other secured or unsecured loans that Exchanger assumes.

            1.4      Identification Period. The “Identification Period” shall be calculated beginning on the date of
            closing of the Relinquished Property (“Relinquished Property Closing”) and end at midnight on (i) the 45th
            day after the Relinquished Property Closing or (ii) such later date as allowed pursuant to a federally
            declared disaster according to guidance published by the Internal Revenue Service pursuant to Section
            7508A of the Internal Revenue Code, as amended, and as stated in Rev. Proc. 2007-56 (a “Natural Disaster
            Date”). Exchanger shall be solely responsible for completing its 45-day identification in a timely manner.


            Exchange Agreement –                                                                                 Page 2 of 12
            Exchanger
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            1.5      Identification Notice. “Identification Notice” shall mean a written identification of Replacement
            Property in compliance with the Code. Exchanger shall provide the Identification Notice to Intermediary
            in the form of a written document signed by Exchanger that is hand delivered, mailed, electronically
            mailed, or otherwise sent before the end of the Identification Period to either (i) the Intermediary, (ii) the
            Seller of the Replacement Property to Exchanger.

            1.6     Exchange Period. “Exchange Period” shall be calculated beginning on the date of closing of the
            Relinquished Property Closing and end at midnight on the earlier of (i) the 180th day after that date or (ii)
            the due date (including extensions) for Exchanger’s federal income tax return for the same taxable year
            as the transfer of the Relinquished Property occurred, or (iii) such later date as allowed pursuant to a
            Natural Disaster Date.



            ARTICLE II - ASSIGNMENT AND CONVEYANCE OF RELINQUISHED PROPERTY

            2.1     Agreement to Assign and Convey Relinquished Property. Exchanger shall provide Intermediary
            with a copy of the RQ Sale Agreement and assign the RQ Sale Agreement to Intermediary by executing
            the Sale Assignment before closing, in the form attached. Subject to Buyer’s performance of its obligations
            to acquire the Relinquished Property in accordance with the RQ Sale Agreement, and subject to the terms
            and conditions of this Agreement, Intermediary shall acquire the Relinquished Property from Exchanger
            and cause the Relinquished Property to be conveyed to Buyer at closing, to be executed as a successive
            transfer of the Relinquished Property.

            2.2      Closing of Relinquished Property Sale. The RQ Sale Assignment shall authorize Exchanger to
            execute the deed to the Relinquished Property directly to the Buyer. The Sale Assignment shall also
            provide that upon Closing Intermediary shall deliver Exchange Funds to the Exchange Account.
            Intermediary will not be obligated to close the sale of the Relinquished Property and complete the
            Exchange as provided in this Agreement until it has received 1) the fully executed Sale Assignment, 2) a
            copy of the RQ Sale Agreement, 3) a closing statement signed as “read and approved” by Exchanger, and
            4) a notice and acknowledgement of assignment of the RQ Sale Agreement signed by Buyer. Intermediary
            will sign the closing statement for the Sale and effectuate the closing only after Intermediary receives a
            copy of the Settlement Statement executed by Exchanger.

            2.3      Partial Exchange Payment. If Exchanger is executing a partial exchange and receiving a payment
            of a portion of cash from the Relinquished Property Sale, the amount of cash received shall be listed as a
            line item in the closing statement signed by Exchanger and Intermediary. Exchanger hereby acknowledges
            that such funds shall potentially be subject to income tax and not qualify for deferred tax treatment.
            Exchanger is advised to consult its independent tax advisors to determine the tax consequences.

            2.4    Intermediary Shall Not Assume Liabilities. Intermediary will not be obligated to sign any
            promissory note or any type of security instrument, or to sign or assume any lease or agreement, or to
            undertake any other obligation or liability in connection with the Sale of the Relinquished Property, unless
            otherwise agreed to in writing.




            Exchange Agreement –                                                                                Page 3 of 12
            Exchanger
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            ARTICLE III - IDENTIFICATION OF REPLACEMENT PROPERTY

            3.1     Identification of Replacement Property. Exchanger may identify one or more Replacement
            Properties by delivering an Identification Notice within the Identification Period. Exchanger’s designation
            of the Replacement Property must:

                     3.1.1 Be made by one or more written Identification Notices signed by Exchanger that are
                     delivered in accordance with the Code; and

                     3.1.2 Provide an unambiguous description of the Replacement Property, such as a street
                     address or legal description; and

                     3.1.3 If applicable, include a legal description of the underlying land and as much detail
                     regarding construction of improvements to be built as is practicable when the identification is
                     made.

                     3.1.4 Must be made using one of the three methods for identifying property: (i) the three-
                     property rule, whereby you may identify any three properties of any value, (ii) the 200% rule,
                     whereby you may identify Replacement Properties with a maximum value of 200% of the sale
                     price of your Relinquished Property, or (iii) using the 95% rule, whereby you can identify
                     Replacement Properties of any value and any number, but you must acquire 95% of the identified
                     properties to complete your exchange. If you have any questions regarding your identification,
                     you should consult with your independent tax advisors.

            3.2     Multiple Relinquished Properties in Same Exchange. If Exchanger transfers more than one
            Relinquished Property as part of the same Exchange and the Relinquished Properties are transferred on
            different dates, the commencement date of both the Identification Period and the Exchange Period will
            be the date of the first Relinquished Property closing. Exchanger has sole responsibility to accurately
            determine the last day of the Identification Period pursuant to the Code. You are advised to consult with
            your independent tax advisors.



            ARTICLE IV - ACQUISITION AND CONVEYANCE OF REPLACEMENT PROPERTY

            4.1     RP Purchase Agreement to Acquire Replacement Property. Exchanger shall negotiate and enter
            into a purchase agreement for the Replacement Property or Properties, the RP Purchase Agreement(s).
            Exchanger shall provide Intermediary with a copy of each RP Purchase Agreement and assign the RP
            Purchase Agreement to Intermediary by executing the Purchase Assignment before closing.

            4.2     Closing of Replacement Property. The Purchase Assignment shall authorize Buyer to direct the
            deeding of the Replacement Property directly to the Exchanger. The Purchase Assignment shall also
            provide that upon closing Intermediary shall deliver Exchange Funds to the escrow agent. Intermediary
            will not be obligated to close the sale of the Replacement Property and complete the Exchange as
            provided in this Agreement until it has received 1) the fully executed Purchase Assignment, 2) a copy of
            the RP Purchase Agreement, 3) a closing statement signed as “read and approved” by Exchanger, and 4)
            an notice and assignment of the RP Purchase Agreement to Intermediary signed by the Seller.
            Intermediary will sign the closing statement for the sale and effectuate the closing only after Intermediary
            receives a copy of the closing statement executed by Exchanger.

            Exchange Agreement –                                                                              Page 4 of 12
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            4.3      Conveyance of Replacement Property. Subject to Seller’s performance of its obligations to sell the
            Replacement Property in accordance with the RP Purchase Agreement, and subject to the terms and
            conditions of this Agreement, Intermediary shall acquire the Replacement Property from Seller with
            Exchange Funds, and subsequently cause the Replacement Property to be conveyed to Exchanger after
            closing, subject to all liens, encumbrances and other title matters in effect as of the closing date that
            Intermediary acquired the Replacement Property, to be executed as a successive transfer of the
            Relinquished Property. Intermediary shall not be required to take title to the Replacement Property
            before it is conveyed to Exchanger or provide any funds other than Exchanger’s funds to purchase the
            Replacement Property.

            4.4      Payment Not to Exceed the Exchange Account Balance. Exchanger shall deliver cash or
            consideration required to for purposes of closing the RP Purchase Agreement in the amount in excess of
            the balance of the Exchange Account, either to the Exchange Account or directly to the Seller, with written
            instructions to apply that amount to acquire the Replacement Property.



            ARTICLE V – INDEMNIFICATION

            5.1      Indemnification and Intermediary Fault. Exchanger releases Intermediary from any liability to
            Exchanger if Intermediary fails to acquire the Replacement Property for any reason except to the extent
            caused by an act by Intermediary that is directly attributable to an Intermediary Fault. “Intermediary
            Fault” means a direct breach by the Intermediary of its duties or responsibilities under this Agreement, or
            the gross negligence of Intermediary of duties specifically stated in this Agreement, or the willful
            misconduct of Intermediary. Intermediary Fault does not include mistakes caused by third party closing
            agents, escrow companies or title insurance companies, financial institutions, or incorrect or incomplete
            information provided by attorneys, accountants or other representatives of Exchanger or directly by
            Exchanger, including errors in the calculation of the amount of exchange proceeds by Exchanger of the
            beginning and end dates of the Identification Period and the Exchange Period. Intermediary Fault does
            not include any loss arising out of impairment of Exchange Funds in the course of collection by
            Intermediary, investment losses or market price fluctuations of the funds held in any investment vehicle,
            the insolvency, bankruptcy, or freezing of funds resulting in the loss of funds by a third party facilitating
            investment in the investment vehicle, or while on deposit with a financial institution due to such financial
            institution’s insolvency, bankruptcy, suspension, closure, error or omission, acts of cyber fraud by a third
            party, or breaches in security caused by any financial institution, title company, Intermediary, or
            Exchanger. Exchanger acknowledges that Intermediary is acting as an independent third party to complete
            an Exchange and duties are purely ministerial in nature as set forth in this Agreement. It is the express
            intent of parties that Intermediary may transfer and hold funds in accounts selected by Intermediary.
            Intermediary shall not be liable to Exchanger for losses in investment accounts, including investments
            made in treasury bonds, state and municipal bonds, corporate bonds, stablecoins equivalent in value to
            the US dollars, or other liquid securities or cash equivalents such as a money market investment account.
            By signing this agreement, Exchanger specifically agrees to release, indemnify, and hold harmless
            Intermediary and its officers, directors, members, employees, and agents (“Stakeholders”), from any loss
            suffered by you as a result of any event that is not an Intermediary Fault, and covenant not to sue
            Intermediary and its Stakeholders for any event not an Intermediary Fault.



            Exchange Agreement –                                                                               Page 5 of 12
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            5.2      Indemnification from Claims. Exchanger shall defend, indemnify and hold harmless Intermediary,
            and its Stakeholders, from and against any claim, demand, liability, loss, cost, damage or expense
            (collectively, “Claim”) Exchanger or Intermediary may incur resulting from this Agreement, including any
            loss resulting from the RQ Sale Agreement, the RP Purchase Agreement, including, without limitation, any
            claim or liability arising from any covenant, condition, agreement, purchase instruction, lease, tenant,
            loan or security instrument except to the extent such Claim is the sole result of Intermediary Fault.
            Stakeholders shall not be personally liable for the debts, obligations, losses, liabilities, or expenses of
            Intermediary.



            ARTICLE VI - EXCHANGE ACCOUNT

            6.1    Limitations on Exchanger’s Right to Exchange Funds. Exchanger has no rights to receive, pledge,
            borrow, or obtain the benefits of Exchange funds during the Exchange Period, except as provided in this
            Agreement or specifically listed in the Code.

            6.2     Additional Contributions to Exchange Account. Exchanger may deposit additional contributions to
            the Exchange Funds, which shall be subject to the same limitations on Exchanger’s right to the Exchange
            Account as provided in this Agreement.

            6.3      Exchange Account. Intermediary shall hold the Exchange Funds of Exchanger at a financial
            institution selected by Intermediary. Exchanger agrees to provide information required, including current
            W9 as required by such financial institution. In the event Exchange Funds are held pursuant to a qualified
            escrow agreement with a third-party bank or financial institution, Exchanger consents to terms and
            conditions of any agreement executed by Intermediary required to hold funds at the third-party bank or
            financial institution and agrees to be bound by their terms as if Exchanger had executed the documents.

            6.4      Disbursements from Exchange Account. Intermediary shall make disbursements from Exchange
            Account 1) as provided for in this Exchange Agreement, and 2) by federal wire transfer or by check, and
            3) upon receipt of written payment instructions signed by Exchanger. Such written consent shall be signed
            by Exchanger and shall indicate the amount of transfer and (i) in the case of a check, the name of the
            payee and the amount payable to such payee and mailing address; or (ii) in the case of a wire transfer,
            the name, account number and address of the recipient, the name and ABA routing number of the
            recipient's bank. Intermediary is authorized to rely on any written instructions which it believes to be
            genuine, as the authorized instructions of Exchanger, and on the accuracy of the content of such
            instructions provided by Exchanger. Notwithstanding the foregoing, Intermediary may transfer funds
            between accounts held by Intermediary or its wholly owned subsidiary at different institutions without
            Exchanger’s approval.

            6.5      Agency. Subject to the terms and limitations described in Sections 5 and 6, Intermediary is acting
            as Exchanger’s agent solely with respect to the Exchange Funds for all purposes other than Federal and
            State income tax laws. It is the express intention of Intermediary and Exchanger that any and all funds
            from this Exchange Agreement or in the Exchange Account shall not be subject to claims of creditors of
            Intermediary. Exchanger expressly releases, indemnifies, and agrees to hold harmless Intermediary and
            its Stakeholders from any losses suffered by Exchanger as the result of Intermediary being an agent of
            taxpayer or being deemed a disqualified person under Treas. Reg. §1.1031(k)-1(k)(2).


            Exchange Agreement –                                                                             Page 6 of 12
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            6.6     Termination of Exchange and Close of Escrow Account. Intermediary shall deliver the balance of
            Exchange Funds to Exchanger, including notes and contracts in the Exchange Account, if any, after
            Intermediary has been reimbursed for all costs it has incurred, and upon the first of the following events
            in accordance with Section 1.1031(k)-1(g)(6) of the Code:

                     After the expiration of the Identification Period, if Exchanger has failed to provide an Identification
                     Notice per the requirements of this Agreement, and Exchanger has notified Intermediary in
                     writing that the Identification Notice requirements were not met; or

                     a) If Exchanger has acquired all the Replacement Property identified during the Identification
                     Period under this Agreement; or

                     b) After the expiration of the Exchange Period, if Exchange Funds are remaining; or

                     c) Exchanger may receive payment of items described in Section 1.031(k) – 1(g)(7) of the Code.

            6.7   Termination of Obligations. Upon zero balance of the Exchange Account, the Exchange under this
            Agreement shall terminate and obligations of Intermediary will expire.



            ARTICLE VII – REPRESENTATIONS AND WARRANTIES

            7.1      Risk of Loss. Exchanger assumes all risk of loss or damage adversely affecting the value of the
            Relinquished Property, the Replacement Property and any other property conveyed to or by Intermediary
            or an entity selected by Intermediary in connection with this Agreement, including any loss of value of the
            Exchange Funds or other assets held as part of the Exchange Account or in investments, whether resulting
            from fluctuations in the price of investments, fire or other casualty, natural event or disaster,
            condemnation or any other physical, legal, economic or other circumstances including impairment of
            Exchange Funds in the course of collection by Intermediary, investment or market fluctuation of the funds
            in any investment vehicle, or while on deposit with or held at a financial institution, due to such financial
            institution’s or investment vehicle’s insolvency, suspension, closure, error or omission. Exchanger’s
            assumption of risk excludes loss or damage to the extent directly caused by an Intermediary Fault.

            7.2     Responsibility for Tax Consequences. Any federal tax advice contained in any document or
            communication between representatives of                   and Exchanger or Exchanger’s representatives
            was not intended by the author to be used, and it shall not be used, by Exchanger for the purpose of
            avoiding taxes or penalties other than the non-recognition of gain or loss allowed by the Code. Taxpayer
            should seek advice from its an independent tax advisor or tax attorney.

                            makes no representations or warranty, nor shall                 bear any responsibility or
            liability concerning the federal or state tax consequences to Exchanger of the transaction contemplated
            herein, including, without limitation, the qualification of this transaction as a tax-deferred exchange
            pursuant to Section 1031 of the Internal Revenue Code, the Treasury Regulations promulgated
            thereunder, or applicable state tax laws.

            Exchanger hereby certifies under penalties of perjury:

                1) That Exchanger is not a “foreign person” as defined by Sec. 1445 of the Internal Revenue Code
                   and related promulgated regulations;

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                2) That Exchanger’s United States taxpayer identification number is: __________
                3) That Exchanger is not subject to backup withholding.

            7.3     Liquidated Damages. Intermediary shall not be liable to Exchanger for punitive, exemplary, or
            consequential damages, or damages measured by any income taxes payable by Exchanger, or for any
            damages, losses, costs or expenses incurred by Exchanger if the transactions described herein fail to afford
            Exchanger the benefits of Section 1031. Intermediary’s damages shall be strictly limited to the following
            liquidated damages: the amount of the fees received by Intermediary from Exchanger under this
            Agreement, and any quantifiable financial benefit received by Intermediary from the financial institutions
            related to the deposit or investment of the Exchange Funds.

            7.4     Attorney’s Fees. The prevailing party in any legal action proceeding against the other party shall
            be entitled to recover reasonable attorney’s fees and costs in connection with litigating this Agreement.

            7.5     Exchanger’s Responsibilities. Without prejudice to any other limitation of Intermediary’s duties,
            responsibilities or obligations under this Agreement, Exchanger is solely responsible for the form of any
            document signed by Exchanger, timely and accurate tax reporting of any transaction related to this
            Agreement (including state and federal taxes), the identity and authority of any person signing on behalf
            of Exchanger, any risk of loss or damage to Relinquished Property or Replacement Property, and the
            accurate determination of the Identification Period and Exchange Period in compliance with the Code.
            Exchanger is also solely responsible for the terms, financing, and acquisition of the Replacement Property
            within the statutory exchange period.

            7.6     Reimbursement for Expenses. If Intermediary makes any advances or incurs any expenses (other
            than those overhead expenses incurred in acting as a qualified intermediary) under this Agreement or
            Exchanger shall pay to Intermediary the amount of all those expenses, advances, or payments due.



            ARTICLE VII MISCELLANEOUS PROVISIONS

            8.1      Survival of Warranties. All representations, warranties, indemnities and limitations on the liability
            of Intermediary set forth in or otherwise made pursuant to this Agreement will survive and remain in
            effect after the closing and the delivery and/or recording of any deeds or conveyance documents, and will
            not be merged into those deeds or conveyance documents, and will survive the termination of this
            Agreement.

            8.2     Entire Agreement. This Agreement constitutes the entire agreement between the parties and
            supersedes any contemporaneous or previous written or oral agreements or representations concerning
            this Agreement. No supplement, modification or amendment to this Agreement will be binding unless in
            writing and signed by all parties. A waiver of any provision of this Agreement shall not be considered a
            waiver of any other provision of this Agreement.

            8.3      Notices. Any request, notice or other communication to be given under this Agreement must be
            in writing and delivered, unless otherwise specified in this Agreement, personally or by messenger, private
            mail courier service, facsimile, email or other agreed upon electronic method, or sent by certified mail,
            return receipt requested, with proper postage prepaid, as follows:



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                                                            EXHIBIT A

                                                        Legal Description




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                                                            EXHIBIT B


                                      Assignment of Seller’s Interest in RQ Sale Agreement



                                                            Attached




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 BlockFi Objection Response Portal
 Introduction

  On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, "BlockFi") each filed a voluntary pe ition for relief under Chapter 11 of the United States Bankruptcy
  Code in the United States Bankruptcy Court for the District of New Jersey (the “Court”). Thereafter, the Bankruptcy Court set March 31, 2023, at 5:00 p m., as the deadline
  for all persons and entities that assert a claim against BlockFi, arising prior to November 28, 2022, to imely file a proof of claim.


  You previously filed a claim against BlockFi Wallet LLC for the return of funds held in your Wallet Account (“Wallet Proof of Claim”). Funds that you may have in your
  Wallet Account are available for withdrawal by you. For additional information on withdrawing your BlockFi Wallet funds, please click here.


  On November 14, 2023, BlockFi filed an objection (the “Objection”) to the claim you filed against BlockFi Wallet LLC. The purpose of the Objection is to expunge the claims
  register of this proof of claim. Neither the Objection nor the relief sought therein will affect your right to withdraw wallet funds. Moreover, any claim you have for
  funds related to BIA or retail loan collateral is not affected by the Objection, and the proposed expungement of your Wallet Proof of Claim does not affect the
  allowance of or distribution upon non-Wallet claims properly filed against the BlockFi estates or scheduled by BlockFi.


  In order to assist he Court with collecting responses to the Objection, Kroll Restructuring Administration LLC is collecting responses electronically through this portal or by
  hard copy at the address below. For your response to be timely, it must be received by Kroll on or before January 4, 2024 at 4:00 p.m. prevailing Eastern Time.




                                      First Class Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      Grand Central Station, PO Box 4850
                                      New York, NY 10163-4850


                                      Overnight Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      850 Third Avenue, Suite 412
                                      Brooklyn, NY 11232


  Please follow the steps below to logon to this portal and to submit your response to he Objection. If you have any questions on this portal please feel free to reach out to
  Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Authorization

  On November 20, 2023, Kroll sent you an email regarding BlockFi’s objection to your BlockFi proof of claim. This email contains a 16-digit Unique ID number. Please enter
  the Unique ID number in the field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used only once.


  Please enter your Unique ID here

   120U-970Q-526N-608R


      Where can I find my Unique ID?




 Claim Information

  Claim Number

   15134

  Claim Name




  Claimant Address on File




BlockFi Objection Response Portal                                                         1/3
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  To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
  where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.

  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




  To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
  settle, or otherwise resolve the Objection on your behalf.
  Name:




  Street1




  Street2




  City




  State




  Zip




  Country

              s

  Telephone Number




  Email Address




BlockFi Objection Response Portal                                               2/3
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                                                <699G:HH:H
          'D
          2:H

   D:HHI=>HH8A6>B
                     B6B:C9
                           9DC:
                               :6AG:69NN;>A:9
          'D
          2:H




   D
      DNDJ
          J@CDL
               L>;;6CNDC:
                          ::AH:
                               :=6HH;>A:9
                                          96
                                            6EGDD;;D;;8A6>B
                                                             B;DGGI=>HH8A6>B
          'D
          2:H

   D
      DNDJ
          J=6K:
               :6CNNCJB7:GGNDJ
                                JJH:
                                    :ID
                                       D>9:CI>;NNI=:
                                                     :9:7IDG
          'D
          2:H




 A6>BBDJCI

  6 -D
         DI=:
             ::MI:CIII=6IINDJ
                               J6HH:GII6
                                         68A6>B
                                               BI=6II>HH9:CDB>C6I:9
                                                                     9>C
                                                                        C.,
                                                                           ,DAA6GHA>HIII=:
                                                                                               :K6AJ:
                                                                                                     :D;;I=:
                                                                                                             :8A6>B
                                                                                                                   B>C
                                                                                                                      C.,
                                                                                                                         ,DAA6GH
                                                                                                                                 H6H
                                                                                                                                    HD;;I=:
                                                                                                                                            :96I:
                                                                                                                                                 :I=:
                                                                                                                                                     :86H:
                                                                                                                                                          :L6H
                                                                                                                                                              H;>A:9
                                                                                                                                                                    9'DK:B7:GG 

  AD8@>06AA:I%%6H:'D  

     


  7 Q%>HIII=:
                :CJB7:GGD;;:68=
                                 =INE:
                                      :D;;8D>C
                                               C=:A9
                                                    9>C
                                                       CNDJGG06AA:II688DJCIH6H
                                                                                    HD;;I=:
                                                                                            :96I:
                                                                                                 :I=:
                                                                                                     :86H:
                                                                                                          :L6H
                                                                                                              H;>A:9
                                                                                                                    9'DK:B7:GG > : A>HIII=:
                                                                                                                                                            :"'
                                                                                                                                                               '$"'
                                                                                                                                                                    ("'
                                                                                                                                                                         '%'
                                                                                                                                                                                 >C
                                                                                                                                                                                    CNDJGG
  06AA:II688DJCIH6HHD;;I=:
                                :96I:
                                     :I=:
                                         :86H:
                                              :L6HH;>A:9


  )A:6H:JH:DCANCJB:G6AH6C99:8>B6AH>CI=:06AA:I;>:A9JEID6B6M>BJBD; 9><>IHDG 9><>IH6C9 9:8>B6A

  D>C                                            )G>8:6HD;'DK:B7:G 6I                                       06AA:I
                                                  E B .-

   >I8D>C-                                       




AD8@>"C8 06AA:I88DJCI!DA9:G)GDD;D;A6>BDGB                                       
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                                                   AD8@>"C8 06AA:I88DJCI!DA9:G)GDD;D;A6>BDGB
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  D>C                                  )G>8:6HD;'DK:B7:G 6I                      06AA:I
  Q                                     E B .-                                                    Q

      I=:G:JB-!                                                           Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I                      06AA:I
  Q                                     E B .-                                                    Q

       :B>C>DAA6G .,                                                               


  D>C                                  )G>8:6HD;'DK:B7:G 6I                      06AA:I
  Q                                     E B .-                                                    Q

      .,D>C.,                                                                    


  D>C                                  )G>8:6HD;'DK:B7:G 6I                      06AA:I
  Q                                     E B .-                                                    Q

       >C8=':ILDG@ "'!                                                       Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I                      06AA:I
  Q                                     E B .-                                                    Q

      6K:/                                                                 Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I                      06AA:I
  Q                                     E B .-                                                    Q

      A<DG6C9% (                                                           Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I                      06AA:I
  Q                                     E B .-                                                    Q

      K6A6C8=:/1                                                           Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I                      06AA:I
  Q                                     E B .-                                                    Q

      M>:"C;>C>IN1,                                                        Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I                      06AA:I
  Q                                     E B .-                                                    Q

      6H>8II:CI>DC-D@:C-                                              Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I                      06AA:I
  Q                                     E B .-                                                    Q

      >C6C8:D>C'                                                     Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I                      06AA:I
  Q                                     E B .-                                                    Q

      >I8D>C6H=!                                                          Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I                      06AA:I
  Q                                     E B .-                                                    Q

      >C6C8:.,.,                                                            Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I                      06AA:I
  Q                                     E B .-                                                    Q

      6G96CD                                                              Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I                      06AA:I
  Q                                     E B .-                                                    Q

      =6>CA>C@%"'$                                                           Q




AD8@>"C8 06AA:I88DJCI!DA9:G)GDD;D;A6>BDGB                          
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                                                   AD8@>"C8 06AA:I88DJCI!DA9:G)GDD;D;A6>BDGB
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  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      :AD%(                                                                 Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      =>A>O!3                                                               Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      DBEDJC9(&)                                                            Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      DHBDH-(&                                                             Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      JGK:(-D@:C+/                                                      Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      :8:CIG6A6C9&'                                                       Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      D<:D>C(                                                             Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      929121                                                                Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      AGDC9 %                                                             Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      C?>CD>C'#                                                           Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      (,(,                                                                  Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      6CIDB-&                                                               Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      >A:8D>C"%                                                            Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      -1-D@:C--                                                        Q




AD8@>"C8 06AA:I88DJCI!DA9:G)GDD;D;A6>BDGB                          
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                                                   AD8@>"C8 06AA:I88DJCI!DA9:G)GDD;D;A6>BDGB
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  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

       6A6 %                                                               Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      !:9:G6!6H=<G6E=!+                                                    Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      $JH6B6$,&                                                              Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      %>I:8D>C%-                                                            Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      %DDEG>C<%+                                                            Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      &6@:G&$+                                                               Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      &JAI>DAA6I:G6A6>"                                                Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      ':6G'+                                                                 Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      (& ':ILDG@(&                                                            Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      (C:D>C('                                                              Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      )1 DA9)1                                                           Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      )6MDH,I6C96G9-D@:C)1                                                    Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      )DA@69DI(-                                                             Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      )DAN<DC&-"                                                            Q




AD8@>"C8 06AA:I88DJCI!DA9:G)GDD;D;A6>BDGB                          
          Case 22-19361-MBK                   Doc 2033        Filed 01/08/24 Entered 01/08/24 15:34:17
                                                   AD8@>"C8 06AA:I88DJCI!DA9:G)GDD;D;A6>BDGB
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  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      *J6CI*'-                                                                 Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      +:C9:G-D@:C+'+                                                       Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      ,:GJB,+&                                                                Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      ,DA6C6,(%                                                               Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      ,I:AA6G1%&                                                             Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      ,JH=>,L6E,.,!"                                                         Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      ,NCI=:I>M,'1                                                            Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      -:GG6 %.'                                                            Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      -:I=:G.,-                                                             Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      -:ODH1-3                                                                Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      -=: G6E= +-                                                            Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      -=:,6C97DM,'                                                         Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      -!(+8=6>C+.'                                                            Q


  D>C                                  )G>8:6HD;'DK:B7:G 6I            06AA:I
  Q                                     E B .-                                          Q

      -GDC-+1                                                               Q




AD8@>"C8 06AA:I88DJCI!DA9:G)GDD;D;A6>BDGB                          
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  D>C                                              )G>8:6HD;'DK:B7:G 6I                                        06AA:I
                                                    E B .-

   -GJ:.,-.,                                        


  D>C                                              )G>8:6HD;'DK:B7:G 6I                                        06AA:I
                                                    E B .-

   .C>HL6E.'"                                         


  D>C                                              )G>8:6HD;'DK:B7:G 6I                                        06AA:I
                                                    E B .-

   06K:H0/,                                         


  D>C                                              )G>8:6HD;'DK:B7:G 6I                                        06AA:I
                                                    E B .-

   2:6GC >C6C8:2"                                   


  DNDJ=DA9699>I>DC6A8D>CH>CNDJG688DJCICDIA>HI:967DK:
       'D
       2:H




 99>I>DC6AA6>B"C;DGB6I>DC

   0=6II>HHI=:
                 :76H>HHD;;I=:
                                :8A6>BA>B>I:9ID     8=6G68I:GH

   A>:CI88DJCI


   "H
      H6AAADGGE6GIID;;I=:
                             :8A6>B
                                   BH:8JG:9
       'D
       2:H -=:8A6>B>HH:8JG:97N6A>:CDCEGDE:GIN

  '6IJG:
       :D;;EGDE:GIN

      +:6A:HI6I:

      &DIDGK:=>8A:

      (I=:G

  6H>H
      H;DGGE:G;:8I>DC




  /6AJ:
      :D;;EGDE:GINN6AAA6BDJCIHH>C
                                      C.,
                                         ,
                                           9DAA6GH




  BDJCIID;;I=:
                :8A6>B
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                          Document    Page 130 of 233
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 As clearly shown in the attached, I had $31,364 in my BlockFi Wallet at the time of freezing, and
 yet BlockFi has removed that amount from my wallet, making it impossible for me to withdraw it.
 Please make this available to me immediately, as you have set this deadline of 12/31/23 for
 wallet withdrawals.

 Please explain how I am going to receive these funds from my wallet if you do not make them
 accessible before 12/31/23 as you should have done already.
       Case 22-19361-MBK                           Doc 2033 BlockFi
                                                             FiledObjection
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                                                         Document        Page 134 of 233
 BlockFi Objection Response Portal
 Introduction

  On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, "BlockFi") each filed a voluntary pe ition for relief under Chapter 11 of the United States Bankruptcy
  Code in the United States Bankruptcy Court for the District of New Jersey (the “Court”). Thereafter, the Bankruptcy Court set March 31, 2023, at 5:00 p m., as the deadline
  for all persons and entities that assert a claim against BlockFi, arising prior to November 28, 2022, to imely file a proof of claim.


  You previously filed a claim against BlockFi Wallet LLC for the return of funds held in your Wallet Account (“Wallet Proof of Claim”). Funds that you may have in your
  Wallet Account are available for withdrawal by you. For additional information on withdrawing your BlockFi Wallet funds, please click here.


  On November 14, 2023, BlockFi filed an objection (the “Objection”) to the claim you filed against BlockFi Wallet LLC. The purpose of the Objection is to expunge the claims
  register of this proof of claim. Neither the Objection nor the relief sought therein will affect your right to withdraw wallet funds. Moreover, any claim you have for
  funds related to BIA or retail loan collateral is not affected by the Objection, and the proposed expungement of your Wallet Proof of Claim does not affect the
  allowance of or distribution upon non-Wallet claims properly filed against the BlockFi estates or scheduled by BlockFi.


  In order to assist he Court with collecting responses to the Objection, Kroll Restructuring Administration LLC is collecting responses electronically through this portal or by
  hard copy at the address below. For your response to be timely, it must be received by Kroll on or before January 4, 2024 at 4:00 p.m. prevailing Eastern Time.




                                      First Class Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      Grand Central Station, PO Box 4850
                                      New York, NY 10163-4850


                                      Overnight Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      850 Third Avenue, Suite 412
                                      Brooklyn, NY 11232


  Please follow the steps below to logon to this portal and to submit your response to he Objection. If you have any questions on this portal please feel free to reach out to
  Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Authorization

  On November 20, 2023, Kroll sent you an email regarding BlockFi’s objection to your BlockFi proof of claim. This email contains a 16-digit Unique ID number. Please enter
  the Unique ID number in the field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used only once.


  Please enter your Unique ID here

   322X-825K-971M-429S


      Where can I find my Unique ID?




 Claim Information

  Claim Number

   15530

  Claim Name




  Claimant Address on File




BlockFi Objection Response Portal                                                         1/3
          Case 22-19361-MBK                  Doc 2033 BlockFi
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  To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
  where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.

  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




  To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
  settle, or otherwise resolve the Objection on your behalf.
  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




BlockFi Objection Response Portal                                               2/3
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                                                  Debtor: BlockFi Inc et al.
                                     Relevant Case Numbers: BlockFi Wallet LLC 22-19366
                                                 Twelfth Omnibus Objection

Any funds held in your Wallet are NOT impacted by the expungement of the BlockFi Wallet LLC claim amounts below.

To view and withdraw your Wallet balance, login to BlockFi.com. For more information on Wallet withdrawals, view the FAQs
at https://blockfi.com/wallet-withdrawal-faqs/. For more information on the claims process, view the FAQs at https://
blockfi.com/proof-of-claim-faqs/.

Any claims you may have related to your BlockFi Interest Account (BIA) or your retail loan collateral are also NOT affected by
the expungement of the claims below. Any proof of claims you may have filed regarding your BIA or retail loan collateral claims
will be handled separately. If you did not file any other proofs of claim, you will receive a pro-rata distribution based on your
scheduled amounts according to the Debtors' books and records.




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                                                                        Wallet balances are already available for
                                                                        withdrawal at BlockFi.com and are not affected by
                                      BlockFi Wallet                    this objection because those funds are not
                        15530                              Expunge      property of the estate; any claims for funds you
                                           LLC
                                                                        may have related to BIA or retail loan collateral are
                                                                        not impacted by this objection.
       Case 22-19361-MBK                           Doc 2033 BlockFi
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                                                                            Response Portal
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 BlockFi Objection Response Portal
 Introduction

  On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, "BlockFi") each filed a voluntary pe ition for relief under Chapter 11 of the United States Bankruptcy
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  You previously filed a claim against BlockFi Wallet LLC for the return of funds held in your Wallet Account (“Wallet Proof of Claim”). Funds that you may have in your
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  On November 14, 2023, BlockFi filed an objection (the “Objection”) to the claim you filed against BlockFi Wallet LLC. The purpose of the Objection is to expunge the claims
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  In order to assist he Court with collecting responses to the Objection, Kroll Restructuring Administration LLC is collecting responses electronically through this portal or by
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                                      First Class Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      Grand Central Station, PO Box 4850
                                      New York, NY 10163-4850


                                      Overnight Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      850 Third Avenue, Suite 412
                                      Brooklyn, NY 11232


  Please follow the steps below to logon to this portal and to submit your response to he Objection. If you have any questions on this portal please feel free to reach out to
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 Authorization

  On November 20, 2023, Kroll sent you an email regarding BlockFi’s objection to your BlockFi proof of claim. This email contains a 16-digit Unique ID number. Please enter
  the Unique ID number in the field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used only once.


  Please enter your Unique ID here

   649B-638Y-643E-830M


      Where can I find my Unique ID?

  Please review the bottom left side of the correspondence you received from Kroll to locate your 16 digit Unique ID.




BlockFi Objection Response Portal                                                         1/4
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          Case 22-19361-MBK                  Doc 2033 BlockFi
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                                                                      Response Portal
                                                                                                                                            Desc Main
                                                   Document        Page 140 of 233
  To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
  settle, or otherwise resolve the Objection on your behalf.
  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




 Document Upload

  Please upload your response to the Objection in the box below. You may upload up to 3 documents in either .PDF or .DOC format. Each document may be up to
  20 MBs or 30 MBs across all documents.
  Upload Here

        blockfi PDF letter.pdf                                                                                                                            104 KB




BlockFi Objection Response Portal                                               3/4
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                             Document    Page 142 of 233



    To: BlockFi Inc. Claims Processing Center
    c/o: Kroll Restructuring Administration LLC
    To: Presiding Judge



          As a wallet holder and Interest Account holder with BlockFi I am
    disputing the claim amount that BlockFi is wanting to pay out. I want to
    contest, object, dispute, protest, or whatever, the payout claim that Block-Fi is
    attempting to get away with.

           How Block-Fi being allowed to pay people back at the extreme rock bottom
    of the market? How is this legal? Crypto values are double if not triple now. This
    is criminal. Not to mention that Block-fi is recovering funds from FTX, this money
    should be returned to the account holders like me! Please do the right thing. I
    know I’m the little guy here and don’t have a legal team backing me, I just don’t
    want to be ripped off and screwed over. I need this money.

    I've invested $34,000.00 in my BlockFi account. I'm requesting that my money
    is paid back to me in the amount of $34,000.00. My BlockFi account was
    frozen throughout this process barring me from accessing my money. This
    subsequently precluded me from cashing out my money or reinvesting into
    other crypto exchanges. Having my accounts frozen due to events that were
    total out of my control are not my burden and I should not have to bear the
    brunt of BlockFi's mismanagement.

    I want my money back and want to move on from this. I'm a Firefighter and
    work hard for my money. I don't make that much money so this is a huge
    impact to me. So, through no fault of my own BlockFi's claim amount is
    pennies on the dollar.

    I'm asking for the right thing to be done here...Please refund my money>

    I've included a ledger of deposits into my BlockFi account. I have also included
    bank statements that back my claim up.
    -04/23/2021, $5000.00

    -04/26/2021, $5000.00

    -04/27/2021, $5000.00
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       Case 22-19361-MBK                           Doc 2033 BlockFi
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 BlockFi Objection Response Portal
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  hard copy at the address below. For your response to be timely, it must be received by Kroll on or before January 4, 2024 at 4:00 p.m. prevailing Eastern Time.




                                      First Class Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      Grand Central Station, PO Box 4850
                                      New York, NY 10163-4850


                                      Overnight Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      850 Third Avenue, Suite 412
                                      Brooklyn, NY 11232


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  Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Authorization

  On November 20, 2023, Kroll sent you an email regarding BlockFi’s objection to your BlockFi proof of claim. This email contains a 16-digit Unique ID number. Please enter
  the Unique ID number in the field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used only once.


  Please enter your Unique ID here

   482R-117G-880P-359C


      Where can I find my Unique ID?

  Please review the bottom left side of the correspondence you received from Kroll to locate your 16 digit Unique ID.




BlockFi Objection Response Portal                                                         1/4
Case 22-19361-MBK   Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17   Desc Main
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          Case 22-19361-MBK                  Doc 2033 BlockFi
                                                       FiledObjection
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                                                                                                                                            Desc Main
                                                   Document        Page 146 of 233
  To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
  settle, or otherwise resolve the Objection on your behalf.
  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




 Document Upload

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        Blockfi.pdf                                                                                                                                        22 KB




BlockFi Objection Response Portal                                               3/4
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 While wallet balances may be accessible for withdrawal on BlockFi.com, it's essential to
 highlight that my ability to access and withdraw my crypto funds remains restricted or impaired.
 The statement made does not address the specific issues hindering my withdrawal process.
 The concern revolves around the inability to withdraw crypto funds, which is crucial for my
 financial activities. Therefore, despite the assertion that these funds are not part of the estate or
 impacted by certain claims, the current issue of denied withdrawal access remains unresolved
 and requires attention for my financial well-being.

 Please advise before January 4th so I can avoid my lawyer reaching out directly.
       Case 22-19361-MBK                           Doc 2033 BlockFi
                                                             FiledObjection
                                                                    01/08/24       Entered 01/08/24 15:34:17
                                                                            Response Portal
                                                                                                                                                            Desc Main
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 BlockFi Objection Response Portal
 Introduction

  On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, "BlockFi") each filed a voluntary pe ition for relief under Chapter 11 of the United States Bankruptcy
  Code in the United States Bankruptcy Court for the District of New Jersey (the “Court”). Thereafter, the Bankruptcy Court set March 31, 2023, at 5:00 p m., as the deadline
  for all persons and entities that assert a claim against BlockFi, arising prior to November 28, 2022, to imely file a proof of claim.


  You previously filed a claim against BlockFi Wallet LLC for the return of funds held in your Wallet Account (“Wallet Proof of Claim”). Funds that you may have in your
  Wallet Account are available for withdrawal by you. For additional information on withdrawing your BlockFi Wallet funds, please click here.


  On November 14, 2023, BlockFi filed an objection (the “Objection”) to the claim you filed against BlockFi Wallet LLC. The purpose of the Objection is to expunge the claims
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                                      New York, NY 10163-4850


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  Please enter your Unique ID here

   380F-430I-662O-967T


      Where can I find my Unique ID?

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BlockFi Objection Response Portal                                                         1/4
          Case 22-19361-MBK                  Doc 2033 BlockFi
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                                                                                                                                         Desc Main
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 Claim Information

  Claim Number

   28396

  Claim Name




  Claimant Address on File




  To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
  where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.

  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




BlockFi Objection Response Portal                                               2/4
          Case 22-19361-MBK                  Doc 2033 BlockFi
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        BlockFi .pdf                                                                                                                                      227 KB




BlockFi Objection Response Portal                                               3/4
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Case 22-19361-MBK   Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17   Desc Main
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 BlockFi Objection Response Portal
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   809K-345K-975F-879W


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BlockFi Objection Response Portal                                                         1/4
          Case 22-19361-MBK                  Doc 2033 BlockFi
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 Claim Information

  Claim Number




  Claim Name




  Claimant Address on File




  To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
  where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.

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  State




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  Telephone Number




  Email Address




BlockFi Objection Response Portal                                               2/4
          Case 22-19361-MBK                  Doc 2033 BlockFi
                                                       FiledObjection
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                                                   Document        Page 156 of 233
  To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
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                 objec ion pdf                                                                                                                             37 KB




BlockFi Objection Response Portal                                               3/4
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Case 22-19361-MBK        Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17                   Desc Main
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 BlockFi Objection Response Portal
 Introduction



 Claim Information

  Claim Number

   29381

  Claim Name




  Claimant Address on File




  To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
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BlockFi Objection Response Portal                                               1/3
Case 22-19361-MBK   Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17   Desc Main
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       Case 22-19361-MBK                          Doc 2033 BlockFi
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      I certify that I have completed my E-registra ion form on the Kroll Restructuring Administration Forms Portal. I hereby agree that my electronic signature herein complies
   with the U.S. federal ESIGN Act of 2000, and accordingly shall have he same legal effect as my original signature.
  If you have any questions on this portal please feel free to reach out to Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at
  blockfiinfo@ra kroll.com.




BlockFi Objection Response Portal                                                        3/3
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  d              Ϭ͘Ϯϴϯϰϱϱ ƌǇƉƚŽdƌĂŶƐĨĞƌ        ϲͬϭϱͬϮϬϮϮϭϳ͗ϯϴ
  d              ͲϬ͘Ϭϱϯϲϭ >ŽĂŶŽůůĂƚĞƌĂů        ϲͬϭϱͬϮϬϮϮϭϳ͗Ϯϵ
  d              Ϭ͘Ϭϱϯϲϭϯ /tŝƚŚĚƌĂǁ           ϲͬϭϱͬϮϬϮϮϭϳ͗Ϯϴ
  d              ͲϬ͘Ϭϴϭϴϲ >ŽĂŶŽůůĂƚĞƌĂů        ϲͬϭϯͬϮϬϮϮϭϱ͗Ϯϳ
  Wy'             Ͳϭ͘Ϭϰϵϱϳ dƌĂĚĞ                  ϲͬϭϯͬϮϬϮϮϭϱ͗Ϯϲ
  d              Ϭ͘Ϭϴϭϴϲϰ dƌĂĚĞ                  ϲͬϭϯͬϮϬϮϮϭϱ͗Ϯϲ
  Wy'             ϭ͘Ϭϰϵϱϲϵ /tŝƚŚĚƌĂǁ           ϲͬϭϯͬϮϬϮϮϭϱ͗Ϯϲ
  d              ͲϬ͘Ϭϰϳϳϲ >ŽĂŶŽůůĂƚĞƌĂů        ϲͬϭϯͬϮϬϮϮϭϱ͗Ϯϰ
  d                  Ϭ͘Ϭϰϱ /tŝƚŚĚƌĂǁ          ϲͬϭϯͬϮϬϮϮϭϱ͗Ϯϯ
  d,                 Ͳϭ͘ϰϵϳ >ŽĂŶŽůůĂƚĞƌĂů       ϲͬϭϭͬϮϬϮϮϭϰ͗ϭϱ
  d,              ϭ͘ϰϵϳϬϬϱ /tŝƚŚĚƌĂǁ           ϲͬϭϭͬϮϬϮϮϭϰ͗ϭϱ
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  d              Ϭ͘ϬϬϬϭϰϳ ZĞĚĞŵƉƚŝŽŶ             ϲͬϭϬͬϮϬϮϮϭϱ͗Ϭϵ
  d,               Ϭ͘ϬϭϬϳϮ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϱͬϯϭͬϮϬϮϮϮϯ͗ϱϵ
  d,              Ͳϭ͘ϯϳϰϵϰ >ŽĂŶŽůůĂƚĞƌĂů         ϱͬϮϳͬϮϬϮϮϮ͗Ϯϯ
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  d,                    Ͳϭ͘Ϯ >ŽĂŶŽůůĂƚĞƌĂů      ϱͬϭϭͬϮϬϮϮϮϭ͗ϭϯ
  d              ͲϬ͘ϭϱϮϲϰ >ŽĂŶŽůůĂƚĞƌĂů        ϱͬϭϭͬϮϬϮϮϮϭ͗ϭϮ
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  d,                 ͲϬ͘Ϭϭϱ tŝƚŚĚƌĂǁĂů&ĞĞ         ϱͬϭϬͬϮϬϮϮϳ͗ϰϱ
  d,                ͲϮϵ͘ϵϴϱ tŝƚŚĚƌĂǁĂů             ϱͬϭϬͬϮϬϮϮϳ͗ϰϱ
  d                   ͲϬ͘ϬϮ >ŽĂŶŽůůĂƚĞƌĂů       ϱͬϵͬϮϬϮϮϭϴ͗Ϯϳ
  d,              Ϭ͘Ϭϭϯϯϵϰ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϰͬϯϬͬϮϬϮϮϮϯ͗ϱϵ
  h^             ͲϰϱϮϰ͘ϳϮ ĐŚtŝƚŚĚƌĂǁĂů          ϰͬϭϵͬϮϬϮϮϳ͗Ϭϳ
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                                  >ŽĂŶŽůůĂƚĞƌĂů
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  h^                ϮϱϲϱϬ     ƌǇƉƚŽdƌĂŶƐĨĞƌ    ϰͬϭϰͬϮϬϮϮϭϵ͗ϰϵ
  d,                ͲϬ͘Ϭϭϱ     tŝƚŚĚƌĂǁĂů&ĞĞ     ϰͬϭϰͬϮϬϮϮϭϳ͗ϱϴ
  d,               Ͳϱϲ͘ϵϴϱ     tŝƚŚĚƌĂǁĂů         ϰͬϭϰͬϮϬϮϮϭϳ͗ϱϴ
  h^             ͲϯϬϴϰϬ͘ϳ     tŝƚŚĚƌĂǁĂů         ϰͬϭϯͬϮϬϮϮϭϵ͗ϭϳ
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  d,                    Ϯϱ     ZĞůĞĂƐĞ            ϰͬϭϯͬϮϬϮϮϭϵ͗ϭϳ
  h^                ϯϬϴϭϬ     ƌǇƉƚŽdƌĂŶƐĨĞƌ    ϰͬϭϯͬϮϬϮϮϭϴ͗ϱϲ
  d,                  ͲϯϬ͘ϲ    >ŽĂŶŽůůĂƚĞƌĂů    ϰͬϭϯͬϮϬϮϮϭϲ͗ϮϮ
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  d,               ϭϵ͘ϴϲϰϮ     ZĞůĞĂƐĞ            ϰͬϭϯͬϮϬϮϮϭϲ͗Ϯϭ
  h^             ͲϮϬϱϰϰ͘ϰ     tŝƚŚĚƌĂǁĂů         ϰͬϭϯͬϮϬϮϮϭϲ͗ϮϬ
  h^             ͲϯϬϲϭϲ͘ϲ     tŝƚŚĚƌĂǁĂů         ϰͬϭϯͬϮϬϮϮϭϲ͗ϮϬ
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  d,                   ϱ͘ϲ     /tŝƚŚĚƌĂǁ       ϰͬϭϮͬϮϬϮϮϮϯ͗ϭϯ
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  d,              Ϭ͘ϬϭϴϴϮϲ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϯͬϯϭͬϮϬϮϮϮϯ͗ϱϵ
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  h^                 ͲϭϱϬϬ    ĐŚtŝƚŚĚƌĂǁĂů       ϯͬϰͬϮϬϮϮϴ͗ϭϭ
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  d                    Ϭ͘ϵϱ   /tŝƚŚĚƌĂǁ        ϯͬϭͬϮϬϮϮϮϭ͗Ϯϴ
  d,              Ϭ͘ϬϮϮϬϵϮ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϮͬϮϴͬϮϬϮϮϮϯ͗ϱϵ
  h^                Ͳϰϴϱ͘ϰ    ĐŚtŝƚŚĚƌĂǁĂů      ϮͬϮϱͬϮϬϮϮϴ͗Ϭϲ
  d                   ͲϬ͘ϵϭ   tŝƚŚĚƌĂǁĂů         ϮͬϮϰͬϮϬϮϮϭϰ͗ϰϰ
  >d                 ͲϬ͘ϬϬϭ    tŝƚŚĚƌĂǁĂů&ĞĞ     ϮͬϮϰͬϮϬϮϮϭϯ͗ϰϱ
  >d              Ͳϭϯϯ͘ϵϵϵ     tŝƚŚĚƌĂǁĂů         ϮͬϮϰͬϮϬϮϮϭϯ͗ϰϱ
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                                 >ŽĂŶŽůůĂƚĞƌĂů
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  h^             ͲϵϮϱϰ͘ϯϲ    tŝƚŚĚƌĂǁĂů          ϮͬϭϴͬϮϬϮϮϭϳ͗Ϯϴ
  h^             ͲϭϬϮϱϴ͘ϴ    tŝƚŚĚƌĂǁĂů          ϮͬϭϴͬϮϬϮϮϭϳ͗Ϯϴ
  h^             ͲϭϬϮϱϬ͘ϳ    tŝƚŚĚƌĂǁĂů          ϮͬϭϴͬϮϬϮϮϭϳ͗Ϯϴ
  h^                ϰϬϱϬϬ    ƌǇƉƚŽdƌĂŶƐĨĞƌ     ϮͬϭϴͬϮϬϮϮϭϱ͗ϰϮ
  >/E<                    ͲϮ   tŝƚŚĚƌĂǁĂů&ĞĞ      ϮͬϭϳͬϮϬϮϮϭϯ͗ϯϴ
  >/E<             ͲϭϭϯϮ͘ϴϲ    tŝƚŚĚƌĂǁĂů          ϮͬϭϳͬϮϬϮϮϭϯ͗ϯϴ
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  d,              Ϭ͘ϬϮϯϯϴϯ    /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ    ϭͬϯϭͬϮϬϮϮϮϯ͗ϱϵ
  >d                     Ͳϯ   >ŽĂŶŽůůĂƚĞƌĂů      ϭͬϮϯͬϮϬϮϮϬ͗ϯϮ
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  >d                 ͲϬ͘ϬϬϭ   tŝƚŚĚƌĂǁĂů&ĞĞ     ϭϮͬϮϴͬϮϬϮϭϭϳ͗ϱϯ
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  d,              Ϭ͘ϬϮϳϵϲϯ    /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϭϬͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  'h^             ͲϰϰϬϵ͘ϳϵ    ĐŚtŝƚŚĚƌĂǁĂů      ϭϬͬϮϬͬϮϬϮϭϳ͗Ϭϲ
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  d,              Ϭ͘ϬϱϲϬϳϮ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϵͬϯϬͬϮϬϮϭϮϯ͗ϱϵ
  h^             ͲϰϯϬϱ͘ϴϰ dƌĂĚĞ                  ϵͬϯϬͬϮϬϮϭϮϬ͗ϬϮ
  'h^              ϰϯϬϱ͘ϴϰ dƌĂĚĞ                  ϵͬϯϬͬϮϬϮϭϮϬ͗ϬϮ
                               >ŽĂŶŽůůĂƚĞƌĂů
  d,              ϭϳ͘ϬϮϭϰϵ ZĞůĞĂƐĞ                ϵͬϮϳͬϮϬϮϭϮϭ͗Ϯϱ
                               ĐZĞǁĂƌĚƐ
  d              Ϭ͘ϬϬϭϵϬϯ ZĞĚĞŵƉƚŝŽŶ             ϵͬϭϬͬϮϬϮϭϭϵ͗ϰϱ
  d                     Ͳϭ tŝƚŚĚƌĂǁĂů             ϵͬϵͬϮϬϮϭϭϵ͗ϱϭ
                               >ŽĂŶŽůůĂƚĞƌĂů
  d,              Ϯϭ͘Ϯϳϲϴϲ ZĞůĞĂƐĞ                 ϵͬϳͬϮϬϮϭϮϬ͗ϰϱ
                               >ŽĂŶŽůůĂƚĞƌĂů
  d                ϭ͘Ϯϳϭϰ ZĞůĞĂƐĞ                 ϵͬϳͬϮϬϮϭϮϬ͗ϰϱ
  d              ϭ͘ϳϯϴϱϱϯ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϴͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  hE/              Ϭ͘Ϭϰϭϱϭϴ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϴͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  Wy'             Ϭ͘ϬϬϭϳϲϰ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϴͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  d              Ϭ͘ϬϬϬϭϬϲ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϴͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  d,               Ϭ͘ϬϬϵϭϯ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϴͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  h^             Ϯϲ͘ϯϲϱϭϵ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϴͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  'h^             Ϭ͘ϰϴϳϰϭϱ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϴͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  >/E<             Ϯ͘Ϭϴϵϳϵϰ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϴͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  >d              Ϭ͘ϬϱϳϵϮϰ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϴͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  'h^                ϱϴ͘Ϭϳ ŽŶƵƐWĂǇŵĞŶƚ          ϴͬϭϯͬϮϬϮϭϮϯ͗ϱϵ
  hE/              Ϭ͘ϬϵϮϵϴϯ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϳͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  d              Ϭ͘ϬϬϬϭϬϲ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϳͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  >d              Ϭ͘ϭϱϴϴϭϯ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϳͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  h^             Ϯϲ͘ϮϬϯϳϱ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϳͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  d,              Ϭ͘ϬϬϵϬϵϵ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϳͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  >/E<              Ϯ͘Ϭϴϴϵϭ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϳͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  Wy'              Ϭ͘ϬϬϭϳϲ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϳͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  d              ϰ͘ϬϰϮϲϮϱ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϳͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  'h^             Ϭ͘Ϯϳϳϵϳϭ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϳͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  >d                     Ͳϱ >ŽĂŶŽůůĂƚĞƌĂů        ϳͬϮϬͬϮϬϮϭϰ͗ϬϬ
  >d                    ͲϮϬ >ŽĂŶŽůůĂƚĞƌĂů        ϳͬϮϬͬϮϬϮϭϯ͗ϱϵ
  >d                    ͲϭϬ >ŽĂŶŽůůĂƚĞƌĂů        ϳͬϭϳͬϮϬϮϭϯ͗ϮϮ
  >d                    ͲϭϬ >ŽĂŶŽůůĂƚĞƌĂů        ϳͬϭϳͬϮϬϮϭϯ͗ϮϮ
  hE/              ϯϬ͘ϲϴϯϯϭ ƌǇƉƚŽdƌĂŶƐĨĞƌ          ϳͬϭͬϮϬϮϭϰ͗ϮϬ
  d              ϭϯϳϬ͘Ϭϲϯ ƌǇƉƚŽdƌĂŶƐĨĞƌ          ϳͬϭͬϮϬϮϭϰ͗ϭϳ
  >/E<             ϯ͘ϭϰϴϬϲϲ /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ       ϲͬϯϬͬϮϬϮϭϮϯ͗ϱϵ
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  h^             ϭϳϵ͘Ϭϭϵϵ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϲͬϯϬͬϮϬϮϭϮϯ͗ϱϵ
  d,              Ϭ͘ϬϬϯϰϴϰ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϲͬϯϬͬϮϬϮϭϮϯ͗ϱϵ
  Wy'             Ϭ͘ϬϬϯϯϲϴ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϲͬϯϬͬϮϬϮϭϮϯ͗ϱϵ
  >d              Ϭ͘ϬϳϮϲϲϱ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϲͬϯϬͬϮϬϮϭϮϯ͗ϱϵ
  'h^             Ϭ͘ϯϬϯϴϴϯ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϲͬϯϬͬϮϬϮϭϮϯ͗ϱϵ
  d              Ϭ͘ϬϬϬϭϮϲ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϲͬϯϬͬϮϬϮϭϮϯ͗ϱϵ
  h^                 ͲϭϬϬϬ    dƌĂĚĞ              ϲͬϮϲͬϮϬϮϭϮϬ͗Ϭϱ
  d              Ϭ͘ϬϯϭϲϬϯ     dƌĂĚĞ              ϲͬϮϲͬϮϬϮϭϮϬ͗Ϭϱ
  h^                 ͲϭϬϬϬ    dƌĂĚĞ              ϲͬϮϲͬϮϬϮϭϮϬ͗Ϭϱ
  d,              Ϭ͘ϱϱϳϴϱϭ     dƌĂĚĞ              ϲͬϮϲͬϮϬϮϭϮϬ͗Ϭϱ
  d,                      Ͳϭ   >ŽĂŶŽůůĂƚĞƌĂů    ϲͬϮϮͬϮϬϮϭϭϱ͗ϭϭ
  >d                     ͲϮϭ   >ŽĂŶŽůůĂƚĞƌĂů    ϲͬϮϮͬϮϬϮϭϭϱ͗Ϭϵ
  h^                 ͲϰϵϬϬ    dƌĂĚĞ              ϲͬϮϮͬϮϬϮϭϭϱ͗Ϭϴ
  >d               ϰϮ͘ϱϮϰϲ     dƌĂĚĞ              ϲͬϮϮͬϮϬϮϭϭϱ͗Ϭϴ
  h^                 ͲϱϬϬϬ    dƌĂĚĞ              ϲͬϮϮͬϮϬϮϭϭϱ͗Ϭϳ
  d,              Ϯ͘ϳϰϰϯϲϰ     dƌĂĚĞ              ϲͬϮϮͬϮϬϮϭϭϱ͗Ϭϳ
  h^                 ͲϱϬϬϬ    dƌĂĚĞ               ϲͬϮϮͬϮϬϮϭϰ͗ϰϰ
  >/E<             Ϯϳϭ͘ϯϲϰϮ     dƌĂĚĞ               ϲͬϮϮͬϮϬϮϭϰ͗ϰϰ
  h^                 ͲϱϬϬϬ    dƌĂĚĞ               ϲͬϮϮͬϮϬϮϭϰ͗ϰϯ
  >d              ϯϴ͘ϭϲϯϯϲ     dƌĂĚĞ               ϲͬϮϮͬϮϬϮϭϰ͗ϰϯ
  h^                 ͲϱϬϬϬ    ĐŚtŝƚŚĚƌĂǁĂů      ϲͬϭϳͬϮϬϮϭϳ͗ϬϮ
  h^                 ͲϱϬϬϬ    tŝƚŚĚƌĂǁĂů         ϲͬϭϬͬϮϬϮϭϭϳ͗ϱϰ
  h^                 ͲϱϬϬϬ    dƌĂĚĞ               ϲͬϵͬϮϬϮϭϭϵ͗ϰϳ
  >/E<             ϮϬϬ͘Ϭϰϲϭ     dƌĂĚĞ               ϲͬϵͬϮϬϮϭϭϵ͗ϰϳ
  d                ͲϬ͘ϭϬϭϰ    >ŽĂŶŽůůĂƚĞƌĂů     ϲͬϴͬϮϬϮϭϭϮ͗ϰϲ
  >d              Ϭ͘ϱϰϲϳϯϲ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϱͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  d,              Ϭ͘Ϭϱϳϵϰϱ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϱͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  >/E<             ϭ͘ϳϯϲϬϵϵ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϱͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  'h^             ϰϰ͘ϴϬϴϵϭ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϱͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  Wy'             Ϭ͘ϬϬϯϰϲϵ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϱͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  d              Ϭ͘ϬϬϮϱϴϮ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϱͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  h^             ϴϰ͘ϳϯϮϬϮ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϱͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  'h^             ͲϴϬϬϴ͘ϳϲ     dƌĂĚĞ              ϱͬϮϴͬϮϬϮϭϭϴ͗ϭϭ
  h^              ϴϬϬϴ͘ϳϲ     dƌĂĚĞ              ϱͬϮϴͬϮϬϮϭϭϴ͗ϭϭ
  'h^                  ϭϬϬϬ    ĐŚĞƉŽƐŝƚ        ϱͬϮϴͬϮϬϮϭϭϴ͗ϭϬ
  h^             ϰϴϳϲ͘ϭϳϳ     ƌǇƉƚŽdƌĂŶƐĨĞƌ    ϱͬϮϱͬϮϬϮϭϭϵ͗ϱϴ
  'h^                  ϯϬϬϬ    ĐŚĞƉŽƐŝƚ        ϱͬϮϰͬϮϬϮϭϮϬ͗ϯϯ
  h^                 ϮϱϬϬϬ    ƌǇƉƚŽdƌĂŶƐĨĞƌ    ϱͬϮϰͬϮϬϮϭϮϬ͗ϭϴ
  'h^                  ϰϬϬϬ    ĐŚĞƉŽƐŝƚ         ϱͬϮϰͬϮϬϮϭϬ͗Ϯϵ
  d                   Ͳϭ͘ϰϯ   >ŽĂŶŽůůĂƚĞƌĂů     ϱͬϮϰͬϮϬϮϭϬ͗Ϯϳ
  d              Ϭ͘ϬϵϬϱϯϰ     ƌǇƉƚŽdƌĂŶƐĨĞƌ     ϱͬϮϰͬϮϬϮϭϬ͗ϭϬ
  >d              Ͳϭϯ͘ϳϵϱϭ     >ŽĂŶŽůůĂƚĞƌĂů    ϱͬϮϯͬϮϬϮϭϮϮ͗ϯϳ
  d,                      ͲϮ   >ŽĂŶŽůůĂƚĞƌĂů    ϱͬϮϯͬϮϬϮϭϮϮ͗ϯϳ
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  h^                  ͲϮϬϬϬ    dƌĂĚĞ             ϱͬϮϯͬϮϬϮϭϮϮ͗ϯϲ
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  h^                  ͲϱϬϬϬ    dƌĂĚĞ             ϱͬϮϯͬϮϬϮϭϮϮ͗ϯϱ
  d,              Ϯ͘ϯϲϯϱϴϴ      dƌĂĚĞ             ϱͬϮϯͬϮϬϮϭϮϮ͗ϯϱ
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  d,                Ͳϱ͘ϴϲϰϮ     >ŽĂŶŽůůĂƚĞƌĂů   ϱͬϮϭͬϮϬϮϭϮϯ͗ϯϰ
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  d,                       Ͳϭ   >ŽĂŶŽůůĂƚĞƌĂů    ϱͬϮϬͬϮϬϮϭϭ͗Ϯϱ
  d,                       ͲϮ   >ŽĂŶŽůůĂƚĞƌĂů    ϱͬϮϬͬϮϬϮϭϭ͗Ϯϰ
  d,                    Ͳϭ͘ϴϴ   >ŽĂŶŽůůĂƚĞƌĂů   ϱͬϭϵͬϮϬϮϭϭϱ͗ϭϰ
  >d              Ͳϳϳ͘ϴϮϴϴ      >ŽĂŶŽůůĂƚĞƌĂů   ϱͬϭϵͬϮϬϮϭϭϱ͗ϭϰ
  >d                      ͲϱϬ   >ŽĂŶŽůůĂƚĞƌĂů   ϱͬϭϵͬϮϬϮϭϭϰ͗ϰϯ
  d                    ͲϬ͘Ϭϲ   >ŽĂŶŽůůĂƚĞƌĂů    ϱͬϭϵͬϮϬϮϭϱ͗ϰϯ
  >d                      ͲϭϬ   >ŽĂŶŽůůĂƚĞƌĂů    ϱͬϭϵͬϮϬϮϭϱ͗ϯϴ
  >d                    Ͳϳ͘ϱϮ   >ŽĂŶŽůůĂƚĞƌĂů    ϱͬϭϵͬϮϬϮϭϱ͗ϯϭ
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  d,                    Ͳϰ͘ϰϰ   >ŽĂŶŽůůĂƚĞƌĂů    ϱͬϭϵͬϮϬϮϭϱ͗Ϯϴ
  h^                  ͲϱϬϬϬ    dƌĂĚĞ              ϱͬϭϵͬϮϬϮϭϱ͗Ϯϳ
  d              Ϭ͘ϭϮϰϲϮϮ      dƌĂĚĞ              ϱͬϭϵͬϮϬϮϭϱ͗Ϯϳ
  h^                  ͲϱϬϬϬ    dƌĂĚĞ              ϱͬϭϵͬϮϬϮϭϱ͗Ϯϳ
  d,              ϭ͘ϲϯϲϬϲϯ      dƌĂĚĞ              ϱͬϭϵͬϮϬϮϭϱ͗Ϯϳ
  h^                ͲϭϮϱϬϬ     ĐŚtŝƚŚĚƌĂǁĂů     ϱͬϭϴͬϮϬϮϭϳ͗Ϭϯ
  >d                      ͲϭϬ   >ŽĂŶŽůůĂƚĞƌĂů   ϱͬϭϳͬϮϬϮϭϭϴ͗Ϯϲ
  h^                  ͲϱϬϬϬ    dƌĂĚĞ             ϱͬϭϳͬϮϬϮϭϭϲ͗ϯϯ
  >/E<             ϭϯϰ͘Ϯϲϯϱ      dƌĂĚĞ             ϱͬϭϳͬϮϬϮϭϭϲ͗ϯϯ
  h^                  ͲϱϬϬϬ    dƌĂĚĞ             ϱͬϭϳͬϮϬϮϭϭϲ͗ϯϯ
  d              Ϭ͘ϭϭϰϮϮϴ      dƌĂĚĞ             ϱͬϭϳͬϮϬϮϭϭϲ͗ϯϯ
  h^                 ϮϬϬϬϬ     ƌǇƉƚŽdƌĂŶƐĨĞƌ   ϱͬϭϳͬϮϬϮϭϭϲ͗ϭϲ
  d,                  ͲϭϮ͘ϭϮ    >ŽĂŶŽůůĂƚĞƌĂů   ϱͬϭϲͬϮϬϮϭϮϭ͗ϮϮ
  h^                  ͲϭϬϬϬ    dƌĂĚĞ             ϱͬϭϲͬϮϬϮϭϮϭ͗ϭϳ
  d              Ϭ͘ϬϮϮϯϬϴ      dƌĂĚĞ             ϱͬϭϲͬϮϬϮϭϮϭ͗ϭϳ
  h^                  ͲϮϬϬϬ    dƌĂĚĞ             ϱͬϭϲͬϮϬϮϭϮϭ͗ϭϳ
  >d              ϲ͘ϵϵϵϴϯϰ      dƌĂĚĞ             ϱͬϭϲͬϮϬϮϭϮϭ͗ϭϳ
  h^                  ͲϮϬϬϬ    dƌĂĚĞ             ϱͬϭϲͬϮϬϮϭϮϭ͗ϭϳ
  >/E<             ϱϭ͘ϮϴϯϮϯ      dƌĂĚĞ             ϱͬϭϲͬϮϬϮϭϮϭ͗ϭϳ
  h^                  ͲϱϬϬϬ    dƌĂĚĞ             ϱͬϭϲͬϮϬϮϭϮϭ͗ϭϲ
  d,              ϭ͘ϰϲϮϴϱϰ      dƌĂĚĞ             ϱͬϭϲͬϮϬϮϭϮϭ͗ϭϲ
  d              Ϭ͘ϬϬϬϭϵϳ      ZĞĨĞƌƌĂůŽŶƵƐ    ϱͬϭϰͬϮϬϮϭϮϯ͗ϱϵ
  d              Ϭ͘ϬϬϬϮϰϳ      ŽŶƵƐWĂǇŵĞŶƚ     ϱͬϭϰͬϮϬϮϭϮϯ͗ϱϵ
  d,                    ͲϬ͘Ϯϱ   tŝƚŚĚƌĂǁĂů        ϱͬϭϰͬϮϬϮϭϭϳ͗ϭϳ
  h^                  ͲϮϱϬϬ    dƌĂĚĞ             ϱͬϭϯͬϮϬϮϭϮϭ͗ϬϮ
  >d              ϴ͘ϭϭϴϯϯϮ      dƌĂĚĞ             ϱͬϭϯͬϮϬϮϭϮϭ͗ϬϮ
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  h^                 ͲϱϬϬϬ    dƌĂĚĞ              ϱͬϭϯͬϮϬϮϭϮϭ͗ϬϮ
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  d,                 Ͳϭϱ͘ϱϲ    >ŽĂŶŽůůĂƚĞƌĂů     ϱͬϭϯͬϮϬϮϭϬ͗Ϯϰ
  'h^                 ͲϯϬϬϬ    dƌĂĚĞ               ϱͬϭϯͬϮϬϮϭϬ͗Ϭϴ
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  'h^                 ͲϱϬϬϬ    dƌĂĚĞ               ϱͬϭϯͬϮϬϮϭϬ͗Ϭϭ
  d              Ϭ͘ϭϬϭϭϱϭ     dƌĂĚĞ               ϱͬϭϯͬϮϬϮϭϬ͗Ϭϭ
  'h^                 ͲϱϬϬϬ    dƌĂĚĞ               ϱͬϭϯͬϮϬϮϭϬ͗Ϭϭ
  >d              ϭϱ͘ϳϵϬϮϵ     dƌĂĚĞ               ϱͬϭϯͬϮϬϮϭϬ͗Ϭϭ
  h^             ͲϭϬϬϬϰ͘ϲ     tŝƚŚĚƌĂǁĂů         ϱͬϭϮͬϮϬϮϭϮϬ͗Ϭϱ
  'h^                 ͲϱϬϬϬ    dƌĂĚĞ              ϱͬϭϮͬϮϬϮϭϭϱ͗ϱϮ
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  'h^               ͲϭϬϬϬϬ     dƌĂĚĞ              ϱͬϭϭͬϮϬϮϭϭϲ͗ϰϴ
  h^                ϭϬϬϬϬ     dƌĂĚĞ              ϱͬϭϭͬϮϬϮϭϭϲ͗ϰϴ
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  'h^                 ͲϱϬϬϬ    dƌĂĚĞ               ϱͬϭϭͬϮϬϮϭϮ͗ϯϵ
  d,              ϭ͘ϮϴϯϮϳϮ     dƌĂĚĞ               ϱͬϭϭͬϮϬϮϭϮ͗ϯϵ
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  d,               ϵ͘ϱϭϴϱϭ     ZĞůĞĂƐĞ            ϱͬϭϬͬϮϬϮϭϮϮ͗ϰϵ
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  d,              ϭϭ͘Ϭϯϯϭϰ     ZĞůĞĂƐĞ            ϱͬϭϬͬϮϬϮϭϮϮ͗ϰϵ
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  d,                 ϭϮ͘ϴϳϯ    ZĞůĞĂƐĞ            ϱͬϭϬͬϮϬϮϭϮϮ͗ϰϮ
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  'h^                  ͲϱϬϬϬ   dƌĂĚĞ              ϱͬϭϬͬϮϬϮϭϮϬ͗ϯϰ
  d,              ϭ͘ϮϱϰϵϰϮ     dƌĂĚĞ              ϱͬϭϬͬϮϬϮϭϮϬ͗ϯϰ
  'h^                  ͲϱϬϬϬ   dƌĂĚĞ              ϱͬϭϬͬϮϬϮϭϮϬ͗ϯϬ
  d              Ϭ͘Ϭϴϵϳϴϴ     dƌĂĚĞ              ϱͬϭϬͬϮϬϮϭϮϬ͗ϯϬ
  'h^                  ͲϱϬϬϬ   dƌĂĚĞ              ϱͬϭϬͬϮϬϮϭϮϬ͗Ϭϱ
  >/E<             ϭϭϳ͘ϲϮϬϰ     dƌĂĚĞ              ϱͬϭϬͬϮϬϮϭϮϬ͗Ϭϱ
  'h^                  ͲϱϬϬϬ   dƌĂĚĞ              ϱͬϭϬͬϮϬϮϭϭϳ͗ϯϵ
  >/E<             ϵϵ͘ϱϮϱϰϲ     dƌĂĚĞ              ϱͬϭϬͬϮϬϮϭϭϳ͗ϯϵ
  'h^                ͲϭϬϬϬϬ    dƌĂĚĞ               ϱͬϵͬϮϬϮϭϭϲ͗ϱϯ
  d              Ϭ͘ϭϳϭϵϮϱ     dƌĂĚĞ               ϱͬϵͬϮϬϮϭϭϲ͗ϱϯ
  'h^                 ϯϬϬϬϬ    ƌǇƉƚŽdƌĂŶƐĨĞƌ     ϱͬϳͬϮϬϮϭϭϲ͗ϭϲ
  >d                ͲϭϳϮ͘ϰϴ    >ŽĂŶŽůůĂƚĞƌĂů     ϱͬϳͬϮϬϮϭϭϰ͗ϯϰ
  d,                      Ͳϱ   tŝƚŚĚƌĂǁĂů          ϱͬϯͬϮϬϮϭϮϭ͗Ϯϵ
  h^             Ϭ͘ϬϯϬϴϲϴ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϰͬϯϬͬϮϬϮϭϮϯ͗ϱϵ
  'h^             Ϯ͘ϴϰϮϵϬϰ     /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϰͬϯϬͬϮϬϮϭϮϯ͗ϱϵ
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  d,              Ϭ͘ϬϴϵϮϱϴ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϰͬϯϬͬϮϬϮϭϮϯ͗ϱϵ
  d              Ϭ͘ϬϬϰϬϬϴ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϰͬϯϬͬϮϬϮϭϮϯ͗ϱϵ
  Wy'              Ϭ͘ϬϬϰϭϲ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϰͬϯϬͬϮϬϮϭϮϯ͗ϱϵ
  >d              Ϭ͘ϰϴϬϴϱϵ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϰͬϯϬͬϮϬϮϭϮϯ͗ϱϵ
  >/E<             Ϭ͘ϲϮϲϴϳϮ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϰͬϯϬͬϮϬϮϭϮϯ͗ϱϵ
  'h^                 ϱϬϬϬ   ĐŚĞƉŽƐŝƚ           ϰͬϮϴͬϮϬϮϭϰ͗ϰϯ
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  >d                ϮϮϮ͘ϲϳ   ZĞůĞĂƐĞ              ϰͬϮϳͬϮϬϮϭϮϮ͗ϭϱ
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  d,              ϭϬ͘ϱϴϭϮϮ   ZĞůĞĂƐĞ              ϰͬϮϲͬϮϬϮϭϮϮ͗ϱϬ
  'h^                ͲϭϭϬϬ   dƌĂĚĞ                 ϰͬϮϰͬϮϬϮϭϰ͗ϭϵ
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  'h^                ͲϭϬϬϬ   dƌĂĚĞ                 ϰͬϮϰͬϮϬϮϭϰ͗ϭϴ
  >d              ϰ͘ϮϮϮϱϯϳ   dƌĂĚĞ                 ϰͬϮϰͬϮϬϮϭϰ͗ϭϴ
  'h^                ͲϮϬϬϬ   dƌĂĚĞ                 ϰͬϮϰͬϮϬϮϭϰ͗ϭϴ
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  'h^                ͲϭϬϬϬ   dƌĂĚĞ                 ϰͬϮϰͬϮϬϮϭϰ͗ϭϳ
  d              Ϭ͘Ϭϭϵϲϲϴ   dƌĂĚĞ                 ϰͬϮϰͬϮϬϮϭϰ͗ϭϳ
  'h^                 ϱϬϬϬ   ĐŚĞƉŽƐŝƚ           ϰͬϮϰͬϮϬϮϭϰ͗ϭϲ
  d              Ϭ͘ϬϬϬϭϳϭ   ZĞĨĞƌƌĂůŽŶƵƐ        ϰͬϵͬϮϬϮϭϮϯ͗ϱϵ
  >/E<             ϭϲϵ͘ϲϳϮϳ   ƌǇƉƚŽdƌĂŶƐĨĞƌ       ϰͬϲͬϮϬϮϭϭϵ͗Ϯϴ
  'h^             Ϭ͘ϳϯϳϬϮϰ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϯͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  d              Ϭ͘ϬϬϯϵϬϵ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϯͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  Wy'             Ϭ͘ϬϬϰϮϴϭ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϯͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  >d              Ϭ͘ϯϰϲϭϯϭ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϯͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  d,               Ϭ͘ϭϭϮϵϲ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϯͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  h^             Ϭ͘Ϭϯϭϲϳϱ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϯͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
  'h^                ͲϭϬϬϬ   dƌĂĚĞ                ϯͬϮϱͬϮϬϮϭϭϲ͗Ϯϲ
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  d,              Ϭ͘ϵϯϮϱϳϵ   dƌĂĚĞ                ϯͬϮϱͬϮϬϮϭϭϲ͗Ϯϱ
  'h^                ͲϮϱϬϬ   dƌĂĚĞ                ϯͬϮϱͬϮϬϮϭϭϲ͗Ϯϱ
  d              Ϭ͘ϬϰϴϯϮϱ   dƌĂĚĞ                ϯͬϮϱͬϮϬϮϭϭϲ͗Ϯϱ
  'h^                 ϱϬϬϬ   ĐŚĞƉŽƐŝƚ          ϯͬϮϱͬϮϬϮϭϭϲ͗Ϯϯ
  d,                   ͲϭϬ   tŝƚŚĚƌĂǁĂů           ϯͬϮϮͬϮϬϮϭϭϵ͗Ϭϯ
  d,                    Ͳϯ   >ŽĂŶŽůůĂƚĞƌĂů        ϯͬϭͬϮϬϮϭϳ͗ϭϵ
  d,              Ϭ͘ϮϯϮϬϵϮ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϮͬϮϴͬϮϬϮϭϮϯ͗ϱϵ
  h^             ϰ͘ϱϮϬϱϰϴ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϮͬϮϴͬϮϬϮϭϮϯ͗ϱϵ
  'h^             ϯϬ͘ϵϴϯϯϭ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϮͬϮϴͬϮϬϮϭϮϯ͗ϱϵ
  d              Ϭ͘ϬϬϲϱϭϯ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϮͬϮϴͬϮϬϮϭϮϯ͗ϱϵ
  >d              Ϭ͘ϯϯϴϱϲϲ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϮͬϮϴͬϮϬϮϭϮϯ͗ϱϵ
  Wy'             Ϭ͘ϬϬϯϴϱϮ   /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ     ϮͬϮϴͬϮϬϮϭϮϯ͗ϱϵ
  'h^                ϭϬϬϬϬ   ƌǇƉƚŽdƌĂŶƐĨĞƌ      ϮͬϮϲͬϮϬϮϭϮϯ͗ϱϵ
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  'h^                 ϭϬϬϬϬ     ƌǇƉƚŽdƌĂŶƐĨĞƌ   ϮͬϮϲͬϮϬϮϭϮϯ͗ϱϵ
  'h^                ͲϭϬϬϬϬ     dƌĂĚĞ             ϮͬϮϲͬϮϬϮϭϭϳ͗ϭϳ
  >d              ϱϱ͘ϮϲϵϮϴ      dƌĂĚĞ             ϮͬϮϲͬϮϬϮϭϭϳ͗ϭϳ
  'h^                ͲϭϬϬϬϬ     dƌĂĚĞ             ϮͬϮϲͬϮϬϮϭϭϳ͗ϭϳ
  d,              ϲ͘ϯϵϬϴϰϭ      dƌĂĚĞ             ϮͬϮϲͬϮϬϮϭϭϳ͗ϭϳ
  'h^                ͲϭϬϬϬϬ     dƌĂĚĞ             ϮͬϮϲͬϮϬϮϭϭϳ͗ϭϲ
  d              Ϭ͘ϮϬϲϯϮϮ      dƌĂĚĞ             ϮͬϮϲͬϮϬϮϭϭϳ͗ϭϲ
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  >d                ͲϭϮϬ͘ϰϲ     >ŽĂŶŽůůĂƚĞƌĂů    ϮͬϮϲͬϮϬϮϭϲ͗ϭϭ
  d,                  Ͳϭϯ͘ϵϮ    >ŽĂŶŽůůĂƚĞƌĂů    ϮͬϮϲͬϮϬϮϭϲ͗ϭϬ
  'h^                 ϮϬϬϬϬ     ƌǇƉƚŽdƌĂŶƐĨĞƌ   ϮͬϮϯͬϮϬϮϭϮϯ͗ϱϵ
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  d                     ͲϬ͘Ϯ   tŝƚŚĚƌĂǁĂů         ϮͬϵͬϮϬϮϭϮϯ͗Ϭϯ
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  Wy'             Ϭ͘ϬϬϰϭϭϭ      /ŶƚĞƌĞƐƚWĂǇŵĞŶƚ   ϭͬϯϭͬϮϬϮϭϮϯ͗ϱϵ
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Case 22-19361-MBK   Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17    Desc Main
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                                                                                                                                                            Desc Main
                                                         Document        Page 177 of 233
 BlockFi Objection Response Portal
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                                      First Class Mail


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                                      c/o Kroll Restructuring Administration LLC
                                      Grand Central Station, PO Box 4850
                                      New York, NY 10163-4850


                                      Overnight Mail


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  Please enter your Unique ID here

   350S-785T-882G-734B


      Where can I find my Unique ID?




 Claim Information

  Claim Number

   29872

  Claim Name




  Claimant Address on File




BlockFi Objection Response Portal                                                         1/3
          Case 22-19361-MBK                  Doc 2033 BlockFi
                                                       FiledObjection
                                                              01/08/24       Entered 01/08/24 15:34:17
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  To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
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  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




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  Name:




  Street1




  Street2




  City




  State




  Zip




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BlockFi Objection Response Portal                                               2/3
Case 22-19361-MBK   Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17   Desc Main
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  Please enter your Unique ID here

   266L-956K-992N-162V


      Where can I find my Unique ID?




 Claim Information

  Claim Number

   31334

  Claim Name




  Claimant Address on File




BlockFi Objection Response Portal                                                         1/3
          Case 22-19361-MBK                  Doc 2033 BlockFi
                                                       FiledObjection
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                                                   Document        Page 182 of 233
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BlockFi Objection Response Portal                                               2/3
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                                                                                             11/22/2023




 To the court:


         I successfully performed a transfer in my BlockFi account from my BIA wallet to my Wallet on
 11/11/2022 in the amount of $11,081.19. I then iniƟated a transfer of those funds to my bank account
 via ACH withdrawal.

           Both of these acƟons were done well in advance of the Bankruptcy filing of 11/28/2022 by
 BlockFi. I should be enƟtled to the full amount of the funds in my wallet at the Ɵme of the Bankruptcy
 filing just like other claimants in this case.
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 Case 22-19361-MBK             Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17                 Desc Main
                                     Document    Page 186 of 233

Cryptocurrency   Amount        TransactionType   ConfirmedAt
GUSD                 Ͳ11081.19 AchWithdrawal
GUSD              11081.19825 BIAWithdraw        11/11/202219:19
GUSD              67.85156713 InterestPayment    10/31/202223:59   Thisisadownloadofmytransactionhistory
GUSD               65.2736382 InterestPayment     9/30/202223:59    whichclearlyshowsthetransferfrommy
GUSD              67.03642461 InterestPayment     8/31/202223:59     BIAaccounttomywalleton11/11well
GUSD              66.62595237 InterestPayment     7/31/202223:59     beforethe11/28bankruptcyfilingdate
GUSD               59.9741775 InterestPayment     6/30/202223:59
GUSD              61.61823655 InterestPayment     5/31/202223:59
GUSD               61.3394586 InterestPayment     4/30/202223:59
GUSD              69.26092354 InterestPayment     3/31/202223:59
GUSD              67.76568288 InterestPayment     2/28/202223:59
GUSD              76.52546571 InterestPayment     1/31/202223:59
GUSD              75.96744246 InterestPayment    12/31/202123:59
GUSD               72.9979665 InterestPayment    11/30/202123:59
GUSD              68.90254246 InterestPayment    10/31/202123:59
GUSD               64.3200096 InterestPayment     9/30/202123:59
GUSD              62.00970975 InterestPayment     8/31/202123:59
GUSD                     20.51 BonusPayment       8/13/202123:59
GUSD               51.5112242 InterestPayment     7/31/202123:59
GUSD                     2000 AchDeposit            7/8/20218:50
GUSD                     5000 AchDeposit           7/7/202111:46
GUSD                       Ͳ20 AchWithdrawal        7/7/20217:04
GUSD               20.3516616 InterestPayment     6/30/202123:59
GUSD               1.35616438 InterestPayment     5/31/202123:59
GUSD                     3000 AchDeposit          5/29/202113:18
       Case 22-19361-MBK                           Doc 2033 BlockFi
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 BlockFi Objection Response Portal
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  Please enter your Unique ID here

   515A-661T-290W-420I


      Where can I find my Unique ID?




 Claim Information

  Claim Number

   32934

  Claim Name




  Claimant Address on File




BlockFi Objection Response Portal                                                         1/3
          Case 22-19361-MBK                  Doc 2033 BlockFi
                                                       FiledObjection
                                                              01/08/24       Entered 01/08/24 15:34:17
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  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




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BlockFi Objection Response Portal                                               2/3
Case 22-19361-MBK   Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17   Desc Main
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Case 22-19361-MBK   Doc 2033 Filed 01/08/24 Entered 01/08/24 15:34:17   Desc Main
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       Case 22-19361-MBK                           Doc 2033 BlockFi
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  Please enter your Unique ID here

   792H-635L-243Q-118X


      Where can I find my Unique ID?




 Claim Information

  Claim Number

   33470

  Claim Name




  Claimant Address on File




BlockFi Objection Response Portal                                                         1/3
          Case 22-19361-MBK                  Doc 2033 BlockFi
                                                       FiledObjection
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BlockFi Objection Response Portal                                               2/3
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       Case 22-19361-MBK                           Doc 2033 BlockFi
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   829U-321C-134E-365T


      Where can I find my Unique ID?




 Claim Information

  Claim Number

   33555

  Claim Name




  Claimant Address on File




BlockFi Objection Response Portal                                                         1/3
          Case 22-19361-MBK                  Doc 2033 BlockFi
                                                       FiledObjection
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        Case 22-19361-MBK                           Doc 2033       Filed 01/08/24 Entered 01/08/24 15:34:17
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 (0521B92.;1+.992A!;3<?:.A6<;%C2?C62D

  On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, the "Debtors") each filed a voluntary petition for relief under Chapter 11 of the United States
  Bankruptcy Code in the United States Bankruptcy Court for the District of New Jersey (the “Court”). The cases are jointly administered under Case No. 22-19361.

  On January 30, 2023, the Court entered an Order setting March 31, 2023, at 5:00 p.m. (prevailing Eastern time) as the General Claims Bar Date in these cases
  (the “Bar Date Order”). To view the Bar Date Order, please click here.

  Prior to the entry of the Bar Date Order, on January 12, 2023, the Debtors filed their Schedules of Assets and Liabilities (“Schedules”) and Statements of Financial Affairs
  (“SOFA”). All known creditors of the Debtors, as of the November 28, 2022, petition date, are listed on the Debtors’ Schedules. In addition, the Debtors listed certain
  amounts held in wallet accounts on their SOFAs in response to Question 21. Note that c lient coin balances reflected in SOFA Question 21 are as of November 10, 2022,
  at 8:15 p.m. ET (i e., 1:15 UTC on November 11, 2022) (the “Platform Pause”). Coin values presented in SOFA Question 21 utilize market prices as of 11:59 UTC on
  November 28, 2022 (the “Petition Date”). Client coin balances are not impacted by the user interface updates that have been approved by he United States Bankruptcy
  Court for the District of New Jersey pursuant to the Wallet Order [Docket No. 923]. (This portal was updated on June 6, 2023, to reflect updates since the Petition to the
  wallet balances of certain clients in connection wi h certain post-Platform Pause deposits, ACH returns, and government seizures.)

  To protect the confidentiality of individual clients, he names and addresses of hese parties are not detailed on the publicly filed Schedules and Statements. If you are a
  client whose claim is scheduled by one or more of the Debtors, you were sent an email and/or first-class mail package from Kroll with information on the amount and
  nature of your scheduled claim.

  If you are unable to locate your personalized schedule claim information in your email or mailbox, the Debtors have set up this portal to assist you with locating this
  information. Please follow the instructions below to obtain information on (i) whether or how the Debtors have scheduled your claim and/or (ii) your wallet balance as of,
  or after, the November 28, 2022, petition date.

  For additional information on these cases or to submit a claim, please go to https://restructuring ra kroll.com/blockfi/Home-Index.




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  S                                     G D /.                                       S

      FJDFJ.)'                       


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      LIM<).FB<E,0               


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      <:<EKI8C8E;'(                 


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      F><F@E)!                         


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      ;3;232                         


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      CIFE;!&                       


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      EA@EF@E($                    


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      )-)-                            


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

       8EKFD .'                         


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

       @C<:F@E #&                      


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

       .2.FB<E ..                     




CF:B @#E: 18CC<K::FLEK"FC;<I*IFF=F=C8@D FID                         
          Case 22-19361-MBK                   Doc 2033        Filed 01/08/24 Entered 01/08/24 15:34:17
                                                   CF:B @#E: 18CC<K::FLEK"FC;<I*IFF=F=C8@D FID
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  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      !8C8!&                            


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      "<;<I8"8J?>I8G?",                


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      %LJ8D8%-'                        


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      &@K<:F@E&.                      


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      &FFGI@E>&,                      


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      '8B<I'%,                         


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      'LCK@FCC8K<I8C8@#          


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      (<8I(,                         


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      )'!(<KNFIB)'!                    


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      )E<F@E)(                         


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      *2!FC;*2!                      


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      *8OFJ-K8E;8I;.FB<E*2         


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      *FCB8;FK).                      


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      *FCP>FE'.#                      




CF:B @#E: 18CC<K::FLEK"FC;<I*IFF=F=C8@D FID                         
          Case 22-19361-MBK                   Doc 2033        Filed 01/08/24 Entered 01/08/24 15:34:17
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  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      +L8EK+(.                         


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      ,<E;<I.FB<E,(,                 


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      -<ILD-,'                         


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      -FC8E8-)&                        


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      -K<CC8I2&'                          


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      -LJ?@-N8G-/-"#                   


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      -PEK?<K@O-(2                     


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      .<II8 &/(                          


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      .<K?<I/-.                       


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      .<QFJ2.4                         


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      .?<!I8G?!,.                        


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      .?<-8E;9FO-(                  


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      ."),:?8@E,/(                    


  F@E                                  *I@:<8JF=(FM<D9<I   8K       18CC<K
  S                                     G D /.                                       S

      .IFE.,2                             




CF:B @#E: 18CC<K::FLEK"FC;<I*IFF=F=C8@D FID                         
         Case 22-19361-MBK                               Doc 2033        Filed 01/08/24 Entered 01/08/24 15:34:17
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  F@E                                              *I@:<8JF=(FM<D9<I   8K                                     18CC<K
                                                    G D /.

   .IL</-./-                                     


  F@E                                              *I@:<8JF=(FM<D9<I   8K                                     18CC<K
                                                    G D /.

   /E@JN8G/(#                                      


  F@E                                              *I@:<8JF=(FM<D9<I   8K                                     18CC<K
                                                    G D /.

   18M<J10-                                      


  F@E                                              *I@:<8JF=(FM<D9<I   8K                                     18CC<K
                                                    G D /.

   3<8IE @E8E:<3 #                                  


  FPFL?FC;8;;@K@FE8C:F@EJ@EPFLI8::FLEKEFKC@JK<;89FM<
       (F
       3<J




 ;;@K@FE8CC8@D#E=FID8K@FE

   1?8KK@JJK?<
                 <98J@JJF==K?<
                                <:C8@DC@D@K<;KF   :?8I8:K<IJ

   'PCF:B @@EK<I<JK8::FLEK8E;CF:B @18CC<K


   #J
      J8CCCFIIG8IKKF==K?<
                             <:C8@D
                                   DJ<:LI<;
       (F
       3<J .?<:C8@D@JJ<:LI<;9P8C@<EFEGIFG<IKP

  (8KLI<
       <F==GIFG<IKP

      ,<8C<JK8K<

      'FKFIM<?@:C<

      )K?<I

  8J@J
      J=FIIG<I=<:K@FE




  08CL<
      <F==GIFG<IKPP8CCC8DFLEKJJ@E
                                      E/-
                                         -
                                           ;FCC8IJ




  DFLEKKF==K?<
                <:C8@D
                      DK?8KK@JJJ<:LI<;
                                        ;8CCC8DFLEKJJ@E
                                                          E/-
                                                             -
                                                               ;FCC8IJ




  DFLEKKF==K?<
                <:C8@D
                      DK?8KK@JJLEJ<:LI<;
                                          ;8CCC8DFLEKJJ@E
                                                            E/-
                                                               -
                                                                 ;FCC8IJ




  DFLEKKE<:<JJ8IPPKF
                      F:LI<
                           <8EPP;<=8LCKK8JJF==K?<
                                                     <;8K<
                                                          <F==K?<
                                                                  <G<K@K@FE
                                                                           E8CCC8DFLEKJ
                                                                                         J@E
                                                                                            E/-
                                                                                               -
  ;FCC8IJ




  #EK<I<JKK,8K<
               <.PG<                                                                              EEL8CC#EK<I<JKK,8K<
                                                                                                                         <N?<E
                                                                                                                               E:8J<
                                                                                                                                    <N8J
                                                                                                                                        J=@C<;


         @O<;
       08I@89C<

   #J
      JK?@JJ:C8@D
                  D98J<;
                        ;FE
                           E8
                             8C<8J<
       (F
       3<J


CF:B @#E: 18CC<K::FLEK"FC;<I*IFF=F=C8@D FID                                         
        Case 22-19361-MBK                                 Doc 2033        Filed 01/08/24 Entered 01/08/24 15:34:17
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  DFLEKKE<:<JJ8IPPKF
                      F:LI<
                           <8EPP;<=8LCKK8JJF==K?<
                                                     <;8K<
                                                          <F==K?<
                                                                  <G<K@K@FE
                                                                           E8CCC8DFLEKJ
                                                                                         J@E
                                                                                            E/-
                                                                                               -
                                                                                                 ;FCC8IJ




   #J
       JK?@JJ:C8@D
                   DJL9A<:KKKF
                               F8
                                 8I@>?KKF==J<KF==
       (F
       3<J

  #;<EK@=PK?<GIFG<IKP




   #J
       J8CCCFIIG8IKKF==K?<
                              <:C8@D
                                    D<EK@KC<;
                                             ;KF
                                                FGI@FI@KPPLE;<II
                                                                    / -  T
                                                                             T 8
       (F
       3<J


       FD<JK@:JLGGFIKF9C@>8K@FEJ@E:CL;@E>8C@DFEP8E;:?@C;JLGGFIKLE;<I/
   -  T 8FI8

       /GKF  F=;<GFJ@KJKFN8I;GLI:?8J< C<8J< FII<EK8CF=GIFG<IKPFI
   J<IM@:<J=FIG<IJFE8C =8D@CP FI?FLJ<?FC;LJ< / -  T 8

       18><J J8C8I@<J FI:FDD@JJ@FEJLGKF  <8IE<;N@K?@E ;8PJ
   9<=FI<K?<98EBILGK:PG<K@K@FE@J=@C<;FIK?<;<9KFIUJ9LJ@E<JJ<E;J N?@:?<M<I@J
   <8IC@<I / -  T 8

       .8O<JFIG<E8CK@<JFN<;KF>FM<IED<EK8CLE@KJ / -  T 8

       FEKI@9LK@FEJKF8E<DGCFP<<9<E<=@KGC8E / -  T 8

       )K?<I




  -@>E

  .?<
    <G<IJFE
           E:FDGC<K@E>
                      >K?@JJGIFF==F==:C8@D
                                             DDLJKKJ@>E
                                                        E8E;
                                                            ;;8K<
                                                                 <@K  ,*
                                                                          * 9


  #=PFL=@C<K?@J:C8@D<C<:KIFE@:8CCP  ,*         88LK?FI@Q<J:FLIKJKF<JK89C@J?CF:8CILC<JJG<:@=P@E>N?8K8J@>E8KLI<@J 


  G<IJFE
         EN?F
             F=@C<JJ8
                      8=I8L;LC<EKK:C8@D
                                        D:FLC;
                                              ;9<
                                                 <=@E<;
                                                       ;LG
                                                          GKF
                                                             F               @DGI@JFE<;
                                                                                          ;=FIILG
                                                                                                  GKF
                                                                                                     F
                                                                                                       P<8IJ FII9FK? 
                                                                                                                           / -  TT
                                                                                                                                     T  8E;
                                                                                                                                                   ;

  ?<:BK?<8GGIFGI@8K<9FO
       #8DK?<:I<;@KFI
       #8DK?<:I<;@KFIUJ8KKFIE<PFI8LK?FI@Q<;8><EK
       #8DK?<KILJK<< FIK?<;<9KFI FIK?<@I8LK?FI@Q<;8><EK 8EBILGK:P,LC<            
       #8D8>L8I8EKFI JLI<KP <E;FIJ<I FIFK?<I:F;<9KFI 8EBILGK:P,LC<             

  #LE;<IJK8E;K?8K8E8LK?FI@Q<;J@>E8KLI<FEK?@J*IFF=F=C8@DJ<IM<J8J8E8:BEFNC<;>D<EKK?8KN?<E:8C:LC8K@E>K?<8DFLEKF=K?<:C8@D K?<:I<;@KFI>8M<K?<;<9KFI
  :I<;@K=FI8EPG8PD<EKJI<:<@M<;KFN8I;K?<;<9K


  #?8M<<O8D@E<;K?<@E=FID8K@FE@EK?@J*IFF=F=C8@D8E;?8M<8I<8JFE89C<9<C@<=K?8KK?<@E=FID8K@FE@JKIL<8E;:FII<:K


  #;<:C8I<LE;<IG<E8CKPF=G<IALIPK?8KK?<=FI<>F@E>@JKIL<8E;:FII<:K 


  O<:LK<;FE;8K<8C:LC8K<;@E/.

       




CF:B @#E: 18CC<K::FLEK"FC;<I*IFF=F=C8@D FID                                               
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           Case 22-19361-MBK                        Doc 2033        Filed 01/08/24 Entered 01/08/24 15:34:17
                                                         CF:B @#E: 18CC<K::FLEK"FC;<I*IFF=F=C8@D FID
                                                                                                                  Desc Main
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  @KP




  -K8K<FI*IFM@E:<LJ< C<KK<I899I<M@8K@FE@=/-FI8E8;8




  4@GF;<R*FJK8CF;<




  #JK?<8;;I<JJFLKJ@;<F=K?</-
          (F
          3<J

  FEK8:KG?FE<




  FEK8:K<D8@C




 KK8:?D<EKJ

  KK8:?
       ?-LGGFIKKF:LD<EK8K@FE
                              EC@D@K<;
                                       ;KF
                                          F8
                                            8J@E>C<
                                                   <* 8KK8:?D<EKKK?8KK@J
                                                                            JC<JJ
                                                                                 JK?8E
                                                                                      E
                                                                                        D<>89PK<J
                                                                                                  J@E
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 BlockFi Objection Response Portal
 Introduction

  On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, "BlockFi") each filed a voluntary pe ition for relief under Chapter 11 of the United States Bankruptcy
  Code in the United States Bankruptcy Court for the District of New Jersey (the “Court”). Thereafter, the Bankruptcy Court set March 31, 2023, at 5:00 p m., as the deadline
  for all persons and entities that assert a claim against BlockFi, arising prior to November 28, 2022, to imely file a proof of claim.


  You previously filed a claim against BlockFi Wallet LLC for the return of funds held in your Wallet Account (“Wallet Proof of Claim”). Funds that you may have in your
  Wallet Account are available for withdrawal by you. For additional information on withdrawing your BlockFi Wallet funds, please click here.


  On November 14, 2023, BlockFi filed an objection (the “Objection”) to the claim you filed against BlockFi Wallet LLC. The purpose of the Objection is to expunge the claims
  register of this proof of claim. Neither the Objection nor the relief sought therein will affect your right to withdraw wallet funds. Moreover, any claim you have for
  funds related to BIA or retail loan collateral is not affected by the Objection, and the proposed expungement of your Wallet Proof of Claim does not affect the
  allowance of or distribution upon non-Wallet claims properly filed against the BlockFi estates or scheduled by BlockFi.


  In order to assist he Court with collecting responses to the Objection, Kroll Restructuring Administration LLC is collecting responses electronically through this portal or by
  hard copy at the address below. For your response to be timely, it must be received by Kroll on or before January 4, 2024 at 4:00 p.m. prevailing Eastern Time.




                                      First Class Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      Grand Central Station, PO Box 4850
                                      New York, NY 10163-4850


                                      Overnight Mail


                                      BlockFi Inc. Objection Response Processing Center
                                      c/o Kroll Restructuring Administration LLC
                                      850 Third Avenue, Suite 412
                                      Brooklyn, NY 11232


  Please follow the steps below to logon to this portal and to submit your response to he Objection. If you have any questions on this portal please feel free to reach out to
  Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Authorization

  On November 20, 2023, Kroll sent you an email regarding BlockFi’s objection to your BlockFi proof of claim. This email contains a 16-digit Unique ID number. Please enter
  the Unique ID number in the field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used only once.


  Please enter your Unique ID here

   582X-537O-520J-539H


      Where can I find my Unique ID?




 Claim Information

  Claim Number

   2913

  Claim Name




  Claimant Address on File




BlockFi Objection Response Portal                                                         1/3
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  To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
  where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.

  Name:




  Street1




  Street2




  City




  State




  Zip




  Country




  Telephone Number




  Email Address




  To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
  settle, or otherwise resolve the Objection on your behalf.
  Name:




  Street1




  Street2




  City




  State




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  Email Address




BlockFi Objection Response Portal                                               2/3
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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1(b)

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    wusatine@coleschotz.com                                             by Clerk
                                                                        U.S. Bankruptcy Court
                                                                        District of New Jersey
    KIRKLAND & ELLIS LLP
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    Attorneys for Debtors and Debtors in Possession
    In re:                                                 Chapter 11

    BLOCKFI INC., et al.,                                  Case No. 22-19361 (MBK)

                                               Debtors.1   (Jointly Administered)



                ORDER (I) AUTHORIZING THE DEBTORS TO (A) HONOR
          WITHDRAWALS FROM WALLET ACCOUNTS, (B) UPDATE THE USER
          INTERFACE TO PROPERLY REFLECT TRANSACTIONS AND ASSETS
         AS OF THE PLATFORM PAUSE, AND (C) CONDUCT ORDINARY COURSE
        RECONCILIATION OF ACCOUNTS, AND (II) GRANTING RELATED RELIEF




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       The relief set forth on the following pages, numbered four (4) through seven (7), is

 ORDERED.
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                   ASSETS AS OF THE PLATFORM PAUSE, AND (C) CONDUCT
                   ORDINARY COURSE RECONCILIATION OF ACCOUNTS, AND (II)
                   GRANTING RELATED RELIEF

         Upon the Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors to (A) Honor

 Withdrawals from Wallet Accounts, (B) Update the User Interface to Properly Reflect

 Transactions and Assets as of the Platform Pause, and (C) Conduct Ordinary Course

 Reconciliation of Accounts, and (II) Granting Related Relief (the “Motion”),1 where the

 above-captioned debtors and debtors in possession (collectively, the “Debtors”), seek entry of an

 order (this “Order”) (a) authorizing the Debtors to (i) honor client withdrawals solely from the

 Wallet Accounts as of the Platform Pause Time Stamp, (ii) update the User Interface to properly

 reflect transactions and assets held in clients’ accounts as of the Platform Pause Time Stamp, and

 (iii) conduct ordinary course reconciliation of client accounts, and (b) granting related relief, all as

 more fully set forth in the Motion; and upon the First Day Declaration; and the declaration filed in

 support of the Motion; and the Court having jurisdiction to consider the Motion and the relief

 requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to

 the Bankruptcy Court Under Title 11 of the United States District Court for the District of New

 Jersey, entered July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this

 Court having found that venue of this proceeding and the Motion in this district is proper pursuant

 to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion

 is in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this

 Court having found that the Debtors’ notice of the Motion was appropriate under the circumstances



 1   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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                   ORDINARY COURSE RECONCILIATION OF ACCOUNTS, AND (II)
                   GRANTING RELATED RELIEF

 and no other notice need be provided; and this Court having reviewed the Motion and having heard

 the statements in support of the relief requested therein at a hearing before this Court on May 8,

 2023 (the “Hearing”); and this Court having determined and articulated on the record at a hearing

 on May 11, 2023, that the legal and factual bases set forth in the Motion, the Stipulated Facts (Dkt.

 No. 842), the Amended Declaration of Amit Cheela (Dkt. No. 822), and the exhibits to each,

 establish just cause for the relief granted herein; and upon all of the proceedings had before the

 Court and after due deliberation and sufficient cause appearing therefor IT IS HEREBY

 ORDERED THAT:

        1.      The Motion is GRANTED as set forth herein.

        2.      The digital assets held in the Custodial Omnibus Wallets as of the Platform Pause

 Time Stamp are not property of the Debtors’ estate.

        3.      The Debtors are authorized to take any actions to update the User Interface and

 Company-Facing Interface to accurately reflect the transactions and related balance of digital

 assets as of the Platform Pause Time Stamp, including those held in the Custodial Omnibus Wallets

 and represented in the Client Wallet Accounts. With respect to BlockFi International, the

 foregoing shall be carried out subject to entry of an order authorizing such relief in the parallel

 Bermuda JPL Proceedings currently pending in the Supreme Court of Bermuda.

        4.      The Debtors are authorized, but not directed, to distribute the digital assets

 contained in the Custodial Omnibus Wallets and represented in the Client Wallet Accounts as of

 the Platform Pause Time Stamp, subject to further order of the Court with respect to preference


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 claims under chapter 5 of the Bankruptcy Code and any setoff rights; provided, however, that

 distributions of the digital assets contained in the Custodial Omnibus Wallets and represented in

 the Client Wallet Accounts as of the Platform Pause Time Stamp to BlockFi International clients

 from the International Vault Wallets shall be honored subject to entry of an order authorizing such

 withdrawals in the parallel Bermuda JPL Proceedings currently pending in the Supreme Court of

 Bermuda.

        5.      For the avoidance of doubt, all complete or partial withdrawals or distributions from

 the Client Wallet Accounts shall be subject to the ordinary withdrawal fees provided for under the

 BlockFi Wallet Terms of Service and the cost of facilitating the withdrawals shall be mitigated

 insofar as reasonably practicable by the Debtors.

        6.      For the avoidance of doubt, nothing contained herein shall be construed (i) as a

 determination, implication, admission, or waiver of any rights or causes of action with respect to

 any potential preference or avoidance actions under chapter 5 of the Bankruptcy Code; (ii) to

 permit withdrawal from any Wallet Account owned or controlled by any (a) employee of the

 Debtors or (b) “insider” of the Debtors as such term is defined in the Bankruptcy Code, 11 U.S.C.

 § 101(31); or (iii) pending further order of the Court, to permit withdrawal from (x) any Wallet

 Account that received transfers from other non-Wallet BlockFi accounts during the ninety (90)

 days prior to the Petition Date, or (y) any Wallet Account belonging to any person that the Debtors

 reasonably believe may be subject to any avoidance actions under chapter 5 of the Bankruptcy

 Code or other rights of setoff belonging to the Debtors’ estates.


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        7.      The Debtors are authorized to conduct reconciliatory practices in the ordinary

 course consistent with prepetition practices. Reconciliatory practices for BlockFi International

 shall be carried out subject to entry of an order authorizing such relief in the parallel Bermuda JPL

 Proceedings currently pending in the Supreme Court of Bermuda.

        8.      Notwithstanding the actual or threatened suspension or termination of any

 transmission licenses by any U.S. state or governmental entity, any transfers or disbursements

 made pursuant to this Order shall not be deemed an implication, admission, or determination that

 the Debtors are operating with a suspended or terminated license, nor shall the Debtors or their

 insurance providers be liable for any associated fines or penalties, including, but not limited to,

 penalties related to the Arch Insurance Company money transmitter bonds or otherwise.

        9.      For the avoidance of doubt, the approximately $7,423,926 worth of digital assets

 that were requested to be transferred from clients’ Client Wallet Accounts to their BIAs or to their

 BlockFi private client accounts during the Platform Pause Period did not include any requests from

 BlockFi’s U.S. clients to transfer digital assets from Client Wallet Accounts to BIAs, which was

 prohibited on BlockFi’s platform as of February 14, 2022 in connection with BlockFi’s settlement

 agreement with the U.S. Securities and Exchange Commission.

        10.     Notwithstanding the relief granted in this Order and any actions taken pursuant to

 such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

 particular claim against the Debtors; (b) a waiver of the Debtors’ rights to dispute any particular

 claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an implication


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 or admission that any particular claim is of a type specified or defined in this Order or the Motion;

 (e) a determination, implication, or admission as to the status as property of the estate of any assets

 held in BIA; (f) a request or authorization to assume any agreement, contract, or lease pursuant to

 section 365 of the Bankruptcy Code; (g) a waiver or limitation of the Debtors’ rights under the

 Bankruptcy Code or any other applicable law; or (h) a concession by the Debtors that any liens

 (contractual, common law, statutory, or otherwise) satisfied pursuant to the Motion are valid, and

 the Debtors expressly reserve their rights to contest the extent, validity, or perfection or seek

 avoidance of all such liens. Any payment made pursuant to this Order is not intended and should

 not be construed as an admission as the validity of any particular claim or a waiver of the Debtors’

 rights to subsequently dispute such claim.

        11.     The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Motion.

        12.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

        13.     Notwithstanding anything to the contrary in the Motion, this Order, or any findings

 announced at the hearing, nothing in the Motion, this Order, or announced at the hearing constitutes

 a finding under the federal securities laws as to whether crypto tokens or transactions involving




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 crypto tokens are securities, and the right of the United States Securities and Exchange

 Commission to challenge transactions involving crypto tokens on any basis are expressly reserved.

        14.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.




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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)

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     Proposed Attorneys for Debtors and Debtors in Possession
     In re:                                                              Chapter 11

     BLOCKFI INC., et al.,                                               Case No. 22-19361 (MBK)

                                                  Debtors.1              (Jointly Administered)

                                                                         Hearing Date and Time:

                 ORDER (I) AUTHORIZING THE DEBTORS TO (A) HONOR
           WITHDRAWALS FROM WALLET ACCOUNTS, (B) UPDATE THE USER
           INTERFACE TO PROPERLY REFLECT TRANSACTIONS AND ASSETS
          AS OF THE PLATFORM PAUSE, AND (C) CONDUCT ORDINARY COURSE
         RECONCILIATION OF ACCOUNTS, AND (II) GRANTING RELATED RELIEF

 1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet
        LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC
        (2422); BlockFi Services, Inc. (5965); and BlockFi Lending II LLC (0154). The location of the Debtors’ service
        address is 201 Montgomery Street, Suite 263, Jersey City, NJ 07302.
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       The relief set forth on the following pages, numbered threefour (34) through sixseven (67),

 is ORDERED.




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         Upon the Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors to (A) Honor

 Withdrawals from Wallet Accounts, (B) Update the User Interface to Properly Reflect

 Transactions and Assets as of the Platform Pause, and (C) Conduct Ordinary Course

 Reconciliation of Accounts, and (II) Granting Related Relief (the “Motion”),1 ofwhere the

 above-captioned debtors and debtors in possession (collectively, the “Debtors”), forseek entry of

 an order (this “Order”) (a) authorizing the Debtors to (i) honor client withdrawals solely from the

 Wallet Accounts as of the Platform Pause Time Stamp, (ii) update the User Interface to properly

 reflect transactions and assets held in clients’ accounts as of the Platform Pause Time Stamp, and

 (iii) conduct ordinary course reconciliation of client accounts, and (b) granting related relief, all as

 more fully set forth in the Motion; and upon the First Day Declaration; and the declaration filed in

 support of the Motion; and the Court having jurisdiction to consider the Motion and the relief

 requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to

 the Bankruptcy Court Under Title 11 of the United States District Court for the District of New

 Jersey, entered July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this

 Court having found that venue of this proceeding and the Motion in this district is proper pursuant

 to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion

 is in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this

 Court having found that the Debtors’ notice of the Motion was appropriate under the circumstances

 and no other notice need be provided; and this Court having reviewed the Motion and having heard

 the statements in support of the relief requested therein at a hearing before this Court on May 8,

 2023 (the “Hearing”); and this Court having determined and articulated on the record at a hearing

 on May 11, 2023, that the legal and factual bases set forth in the Motion, the Stipulated Facts (Dkt.

 1   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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                   WITHDRAWALS FROM WALLET ACCOUNTS, (B) UPDATE THE
                   USER INTERFACE TO PROPERLY REFLECT TRANSACTIONS AND
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                   ORDINARY COURSE RECONCILIATION OF ACCOUNTS, AND (II)
                   GRANTING RELATED RELIEF

 No. 842), the Amended Declaration of Amit Cheela (Dkt. No. 822), and the exhibits to each,

 establish just cause for the relief granted herein; and upon all of the proceedings had before the

 Court and after due deliberation and sufficient cause appearing therefor IT IS HEREBY

 ORDERED THAT:

        1.      The Motion is GRANTED on a basis as set forth herein.

        2.      The digital assets held in the Custodial Omnibus Wallets as of the Platform Pause

 Time Stamp are not property of the Debtors’ estate.

        3.      The Debtors are authorized to take any actions to update the User Interface and

 Company-Facing Interface to accurately reflect the transactions and related balance of digital

 assets as of the Platform Pause Time Stamp, including those held in the Custodial Omnibus Wallets

 and represented in the Client Wallet Accounts. With respect to BlockFi International, the

 foregoing shall be carried out subject to entry of an order authorizing such relief in the parallel

 Bermuda JPL Proceedings currently pending in the Supreme Court of Bermuda.

        4.      2. The Debtors are authorized to honor client withdrawal requests solely from the,

 but not directed, to distribute the digital assets contained in the Custodial Omnibus Wallets and

 represented in the Client Wallet Accounts as of the Platform Pause Time Stamp in accordance with

 the BlockFi Wallet Terms of Service, subject to further order of the Court with respect to

 preference claims under chapter 5 of the Bankruptcy Code and any setoff rights; provided,

 however, that the withdrawal requests of thedistributions of the digital assets contained in the

 Custodial Omnibus Wallets and represented in the Client Wallet Accounts as of the Platform Pause


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 Time Stamp to BlockFi International clients from the International Vault Wallets shall be honored

 subject to entry of an order authorizing such withdrawals in the parallel Bermuda JPL Proceedings

 currently pending in the Supreme Court of Bermuda.

        5.      For the avoidance of doubt, all complete or partial withdrawals or distributions from

 the Client Wallet Accounts, including Trade Only Assets, shall be subject to the ordinary

 withdrawal fees provided for under the BlockFi Wallet Terms of Service and the cost of facilitating

 the withdrawals shall be mitigated insofar as reasonably practicable by the Debtors.

        6.      For the avoidance of doubt, nothing contained herein shall be construed (i) as a

 determination, implication, admission, or waiver of any rights or causes of action with respect to

 any potential preference or avoidance actions under chapter 5 of the Bankruptcy Code; (ii) to

 permit withdrawal from any Wallet Account owned or controlled by any (a) employee of the

 Debtors or (b) “insider” of the Debtors as such term is defined in the Bankruptcy Code, 11 U.S.C.

 § 101(31); or (iii) pending further order of the Court, to permit withdrawal from (x) any Wallet

 Account that received transfers from other non-Wallet BlockFi accounts during the ninety (90)

 days prior to the Petition Date, or (y) any Wallet Account belonging to any person that the Debtors

 reasonably believe may be subject to any avoidance actions under chapter 5 of the Bankruptcy

 Code or other rights of setoff belonging to the Debtors’ estates.


        3. The Debtors are authorized to dollarize the Trade Only Assets as soon as reasonably

 practicable after a client makes a withdrawal request of such Trade Only Assets. Withdrawal of



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 the Trade-Only Assets of BlockFi International shall be conducted subject to entry of an order

 authorizing such withdrawals in the parallel Bermuda JPL Proceedings currently pending in the

 Supreme Court of Bermuda.

        4. The Debtors are authorized to take any actions reasonably necessary to accurately reflect

 that the Attempted Platform Pause Transactions did not actually occur, so that the User Interface

 properly reflects the digital assets in the Wallet Accounts as of the Platform Pause Time Stamp.

 With respect to Attempted Platform Pause Transactions for BlockFi International, this shall be

 carried out subject to entry of an order authorizing such relief in the parallel Bermuda JPL

 Proceedings currently pending in the Supreme Court of Bermuda.


        7.      5. The Debtors are authorized to conduct reconciliatory practices in the ordinary

 course consistent with prepetition practices. Reconciliatory practices for BlockFi International

 shall be carried out subject to entry of an order authorizing such relief in the parallel Bermuda JPL

 Proceedings currently pending in the Supreme Court of Bermuda.

        8.      6. Notwithstanding the actual or threatened suspension or termination of any

 transmission licenses by any U.S. state or governmental entity, any transfers or disbursements

 made pursuant to this Order shall not be deemed an implication, admission, or determination that

 the Debtors are operating with a suspended or terminated license, nor shall the Debtors or their

 insurance providers be liable for any associated fines or penalties, including, but not limited to,

 penalties related to the Arch Insurance Company money transmitter bonds or otherwise.



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        9.      For the avoidance of doubt, the approximately $7,423,926 worth of digital assets

 that were requested to be transferred from clients’ Client Wallet Accounts to their BIAs or to their

 BlockFi private client accounts during the Platform Pause Period did not include any requests from

 BlockFi’s U.S. clients to transfer digital assets from Client Wallet Accounts to BIAs, which was

 prohibited on BlockFi’s platform as of February 14, 2022 in connection with BlockFi’s settlement

 agreement with the U.S. Securities and Exchange Commission.

        10.     7. Notwithstanding the relief granted in this Order and any actions taken pursuant

 to such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

 particular claim against the Debtors; (b) a waiver of the Debtors’ rights to dispute any particular

 claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an implication

 or admission that any particular claim is of a type specified or defined in this Order or the Motion;

 (e) a determination, implication, or admission as to the status as property of the estate of any assets

 held in BIA; (f) a request or authorization to assume any agreement, contract, or lease pursuant to

 section 365 of the Bankruptcy Code; (fg) a waiver or limitation of the Debtors’ rights under the

 Bankruptcy Code or any other applicable law; or (gh) a concession by the Debtors that any liens

 (contractual, common law, statutory, or otherwise) satisfied pursuant to the Motion are valid, and

 the Debtors expressly reserve their rights to contest the extent, validity, or perfection or seek

 avoidance of all such liens. Any payment made pursuant to this Order is not intended and should

 not be construed as an admission as the validity of any particular claim or a waiver of the Debtors’

 rights to subsequently dispute such claim.


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        11.     8. The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Motion.

        12.     9. The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

        13.     Notwithstanding anything to the contrary in the Motion, this Order, or any findings

 announced at the hearing, nothing in the Motion, this Order, or announced at the hearing constitutes

 a finding under the federal securities laws as to whether crypto tokens or transactions involving

 crypto tokens are securities, and the right of the United States Securities and Exchange

 Commission to challenge transactions involving crypto tokens on any basis are expressly reserved.

        14.     10. This Court retains exclusive jurisdiction with respect to all matters arising from

 or related to the implementation, interpretation, and enforcement of this Order.




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                                                  Debtor: BlockFi Inc et al.
                                     Relevant Case Numbers: BlockFi Wallet LLC 22-19366
                                                 Twelfth Omnibus Objection

Any funds held in your Wallet are NOT impacted by the expungement of the BlockFi Wallet LLC claim amounts below.

To view and withdraw your Wallet balance, login to BlockFi.com. For more information on Wallet withdrawals, view the FAQs
at https://blockfi.com/wallet-withdrawal-faqs/. For more information on the claims process, view the FAQs at https://
blockfi.com/proof-of-claim-faqs/.

Any claims you may have related to your BlockFi Interest Account (BIA) or your retail loan collateral are also NOT affected by
the expungement of the claims below. Any proof of claims you may have filed regarding your BIA or retail loan collateral claims
will be handled separately. If you did not file any other proofs of claim, you will receive a pro-rata distribution based on your
scheduled amounts according to the Debtors' books and records.




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                                                                        Wallet balances are already available for
                                                                        withdrawal at BlockFi.com and are not affected by
                                      BlockFi Wallet                    this objection because those funds are not
                         2913                              Expunge      property of the estate; any claims for funds you
                                           LLC
                                                                        may have related to BIA or retail loan collateral are
                                                                        not impacted by this objection.
